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                     EXHIBIT 2
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                                                                     Hilary Term
                                                                   [2021] UKSC 1
                                         On appeal from: [2020] EWHC 2448 (Comm)




                                JUDGMENT

       The Financial Conduct Authority (Appellant) v
       Arch Insurance (UK) Ltd and others (Respondents)
       Hiscox Action Group (Appellant) v Arch Insurance
       (UK) Ltd and others (Respondents)
       Argenta Syndicate Management Ltd (Appellant) v
       The Financial Conduct Authority and others
       (Respondents)
       Royal & Sun Alliance Insurance Plc (Appellant) v
       The Financial Conduct Authority and others
       (Respondents)
       MS Amlin Underwriting Ltd (Appellant) v The
       Financial Conduct Authority and others
       (Respondents)
       Hiscox Insurance Company Ltd (Appellant) v The
       Financial Conduct Authority and others
       (Respondents)
       QBE UK Ltd (Appellant) v The Financial Conduct
       Authority and others (Respondents)
       Arch Insurance (UK) Ltd (Appellant) v The
       Financial Conduct Authority and others
       (Respondents)



                                      before
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                            Lord Reed, President
                        Lord Hodge, Deputy President
                                Lord Briggs
                              Lord Hamblen
                               Lord Leggatt



                          JUDGMENT GIVEN ON


                               15 January 2021


                    Heard on 16, 17, 18 and 19 November 2020
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       The Financial Conduct Authority                  Arch Insurance (UK) Ltd
            (Appellant/Respondent)                      (Respondent/Appellant)
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                Peter Ratcliffe                               Jeremy Brier
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                  Max Evans
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       Hiscox Insurance Company Ltd                       Zurich Insurance Plc
           (Respondent/Appellant)                             (Respondent)
            Jonathan Gaisman QC                               Craig Orr QC
              Adam Fenton QC                              Andrew Rigney QC
                 Miles Harris                              Caroline McColgan
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       Argenta Syndicate Management                       Hiscox Action Group
         Ltd (Respondent/Appellant)                       (Hiscox Interveners)
             Simon Salzedo QC                                Ben Lynch QC
              Michael Bolding                                  Simon Paul
                                                              Nathalie Koh
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         MS Amlin Underwriting Ltd                          Royal & Sun Alliance
          (Respondent/Appellant)                                Insurance Plc
                                                          (Respondent/Appellant)
              Gavin Kealey QC                                 David Turner QC
              Andrew Wales QC                                    Clare Dixon
               Sushma Ananda                                      Shail Patel
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           (Respondent/Appellant)
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               Sarah Bousfield
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                  (London))
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         LORD HAMBLEN AND LORD LEGGATT: (with whom Lord Reed agrees)


         I      Introduction


         1.     COVID-19 and the resulting public health measures taken by the UK
         Government have caused heavy financial losses to businesses around the country.
         Many businesses have insurance policies which cover them against loss arising from
         interruption of the business due to various causes. Thousands of claims have been
         made under such policies which the insurers have declined to pay on the ground that
         the policies do not cover effects (or certain effects) of the pandemic. This appeal has
         been heard urgently in a test case brought to clarify whether or not there is cover in
         principle for COVID-19 related losses under a variety of different standard
         insurance policy wordings.


         2.     The case has been brought by the Financial Conduct Authority (“FCA”)
         under the Financial Markets Test Case Scheme. This is a scheme which enables a
         claim raising issues of general importance to financial markets to be determined in
         a test case without the need for a specific dispute between the parties where
         immediately relevant and authoritative English law guidance is needed.


         3.      The FCA has brought the proceedings for the benefit of policyholders, many
         of whom are small and medium enterprises (“SMEs”). The defendants are eight
         insurers who are leading providers of business interruption insurance. As set out in
         a Framework Agreement between the parties, the aim of the proceedings is to
         achieve the maximum clarity possible for the maximum number of policyholders
         and their insurers, consistent with the need for expedition and proportionality. The
         approach taken has been to consider a representative sample of standard form
         business interruption policies in the light of agreed and assumed facts. It is estimated
         that, in addition to the particular policies chosen for the test case, some 700 types of
         policies across over 60 different insurers and 370,000 policyholders could
         potentially be affected by the outcome of this litigation.


         4.     In issue on this appeal is the proper interpretation of four types of clauses
         which are to be found in many of the relevant policy wordings. These have been
         referred to for convenience as:


                i)     “Disease clauses” (clauses which, in general, provide cover for
                business interruption losses resulting from the occurrence of a notifiable
                disease, such as COVID-19, at or within a specified distance of the business
                premises);



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                ii)    “Prevention of access clauses” (clauses which, in general, provide
                cover for business interruption losses resulting from public authority
                intervention preventing or hindering access to, or use of, the business
                premises);


                iii)   “Hybrid clauses” (clauses which combine the main elements of the
                disease and prevention of access clauses); and


                iv)    “Trends clauses” (clauses which, in general, provide for business
                interruption loss to be quantified by reference to what the performance of the
                business would have been had the insured peril not occurred).


         5.     The appeal also raises issues of causation. In particular, the insurers argue
         that policyholders would have suffered the same or similar business interruption
         losses even if the insured risk or peril had not occurred, so that the claims fail
         because it cannot be said that the loss was caused by the insured peril and/or because
         of how the trends clauses require the loss to be quantified. In this regard there is a
         dispute between the parties about how the trends clauses operate. In support of their
         case, the insurers place considerable reliance upon the decision of the Commercial
         Court in Orient-Express Hotels Ltd v Assicurazioni Generali SpA (trading as
         Generali Global Risk) [2010] EWHC 1186 (Comm); [2010] Lloyd’s Rep IR 531.
         This was an appeal from an arbitration award. As it happens, one of us was a member
         of the arbitral tribunal in that case (which comprised Sir Gordon Langley, Mr
         George Leggatt QC and Mr John O’Neill FCII) and the other of us (then Hamblen
         J) was the judge who decided the appeal. It will be necessary in the course of this
         judgment to consider whether that case was rightly decided.


         II     The factual background


         6.     The factual background to the case was essentially agreed between the parties
         and is set out fully in the judgment of the court below at paras 10-52. Rather than
         repeat that account, we will focus on the matters which are of most relevance to the
         issues on this appeal, and in particular on the guidance and restrictions introduced
         by the UK Government in March 2020.


         The emergence of COVID-19 and initial Government response


         7.     On 12 January 2020, the World Health Organization (“WHO”) announced
         that a novel coronavirus had been identified in samples obtained from cases in
         China. This announcement was subsequently recorded by Public Health England


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         (“PHE”). The virus was named severe acute respiratory syndrome coronavirus 2, or
         “SARS-CoV-2”, and the associated disease was named “COVID-19”.


         8.    On 30 January 2020, the WHO declared the outbreak of COVID-19 a “Public
         Health Emergency of International Concern”.


         9.     On 31 January 2020, the Chief Medical Officer for England confirmed that
         two patients had tested positive for COVID-19 in England. The first case confirmed
         in Northern Ireland was on 27 February 2020, the first in Wales on 28 February 2020
         and the first in Scotland on 1 March 2020.


         10.    On 10 February 2020, the Health Protection (Coronavirus) Regulations 2020
         (SI 2020/129) were made by the Secretary of State for Health and Social Care,
         pursuant to powers under the Public Health (Control of Disease) Act 1984 (“the
         1984 Act”). In broad terms, these Regulations provided for the detention and
         screening of persons reasonably suspected to have been infected or contaminated
         with the new strain of coronavirus. The Regulations were subsequently repealed on
         25 March 2020 by the Coronavirus Act 2020 (“the 2020 Act”).


         11.    On 2 March 2020, the first death of a person who had tested positive for
         COVID-19 was recorded in the UK, although the first death from COVID-19 was
         publicly announced by the Chief Medical Officer for England on 5 March 2020.


         12.    On 4 March 2020, the UK Government published guidance titled
         “Coronavirus (COVID-19): What is social distancing?”. It referred to the
         Government’s action plan from the previous day, which discussed four phases of
         response: “contain”, “delay”, “research” and “mitigate”. It also referred to the
         possibility of introducing social distancing measures and asked people to think about
         how they could minimise contact with others.


         13.    On 5 March 2020, COVID-19 was made a “notifiable disease”, and SARS-
         CoV-2 made a “causative agent”, in England by amendment to the Health Protection
         (Notification) Regulations 2010 (SI 2010/659) (“the 2010 Regulations”). Under the
         2010 Regulations, a registered medical practitioner has a duty to notify the local
         authority where the practitioner has reasonable grounds for suspecting that a patient
         has a “notifiable disease”, defined as a disease listed in Schedule 1, or an infection
         which presents or could present significant harm to human health. The local
         authority must report any such notification which it receives to, amongst others,
         PHE. Schedule 1 to the 2010 Regulations contained a list of 31 notifiable diseases
         before the addition of COVID-19. On 6 March 2020, similar amendments were
         made to the Health Protection (Notification) (Wales) Regulations 2010 (SI


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         2010/1546). COVID-19 had been made a notifiable disease in Scotland on 22
         February 2020 and in Northern Ireland on 29 February 2020.


         14.    On 11 March 2020, the WHO declared COVID-19 to be a pandemic.


         15.    On 12 March 2020, the UK Government announced that it was moving from
         the “contain” phase to the “delay” phase of its action plan and raised the risk level
         from “moderate” to “high”.


         16.    On 16 March 2020, the UK Government published guidance on social
         distancing. The guidance advised vulnerable people to avoid social mixing and to
         work from home where possible. The guidance included advice that large gatherings
         should not take place.


         17.    Also on 16 March 2020, the Prime Minister, the Rt Hon Boris Johnson MP,
         made a statement to the British public, the main text of which is set out in Appendix
         1 to this judgment. In the statement he said that “now is the time for everyone to
         stop non-essential contact with others and to stop all unnecessary travel. We need
         people to start working from home where they possibly can. And you should avoid
         pubs, clubs, theatres and other such social venues.” He added that “as we advise
         against unnecessary social contact of all kinds, it is right that we should extend this
         advice to mass gatherings as well.”


         18.     On 18 March 2020, the Prime Minister made a further statement, the main
         text of which is set out in Appendix 1. The principal purpose of the statement was
         to announce the closure of schools from the end of Friday, 20 March 2020. In the
         statement he said: “I want to repeat that everyone - everyone - must follow the advice
         to protect themselves and their families, but also - more importantly - to protect the
         wider public.”


         19.    On 20 March 2020, the Prime Minister made a further statement, the main
         text of which is set out in Appendix 1. In this statement he thanked everyone for
         following the “guidance” issued on 16 March 2020 but said that further steps were
         now necessary. He said that across the UK cafes, pubs, bars and restaurants were
         being told to close as soon as they reasonably could and not open the following day.
         He added that: “We’re also telling nightclubs, theatres, cinemas, gyms and leisure
         centres to close on the same timescale.”




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         The 21 March Regulations


         20.    On 21 March 2020, the Health Protection (Coronavirus, Business Closure)
         (England) Regulations 2020 (SI 2020/327) (“the 21 March Regulations”) were made
         by the Secretary of State for Health and Social Care pursuant to powers under the
         1984 Act. Equivalent regulations for Wales were introduced on the same day.


         21.    The 21 March Regulations provided for the closure of businesses set out in
         the Schedule to the Regulations. Under regulation 2(1) the businesses listed in Part
         1 of the Schedule, which comprised restaurants, cafes, bars and public houses, were
         required to close or cease carrying on the business of selling food and drink other
         than for consumption off the premises. Regulation 2(4) required the businesses listed
         in Part 2 of the Schedule to close. These included cinemas, theatres, nightclubs,
         bingo halls, concert halls, museums, galleries, betting shops, spas, gyms and other
         indoor leisure centres. The full terms of regulation 2 are set out in Appendix 1.


         22.     Regulation 3 of the 21 March Regulations made contravention of regulation
         2 without reasonable excuse a criminal offence, punishable on summary conviction
         by a fine. Regulation 4(1) provided that a person designated by the Secretary of State
         may take action as necessary to enforce a closure or restriction imposed by
         regulation 2.


         Developments from 22 to 25 March


         23.    On 22 March 2020, the Prime Minister announced the next stage of the UK
         Government’s plan, which included “shielding” measures for vulnerable people and
         advising members of the public to stay two metres apart even when outdoors.


         24.    On 23 March 2020, the Prime Minister made a further announcement, the
         main text of which is set out in Appendix 1. He said that it was vital to slow the
         spread of the disease and “that’s why we have been asking people to stay at home
         during this pandemic”. The time had, however, come for “us all to do more”. From
         that evening he was therefore giving “the British people a very simple instruction -
         you must stay at home”. He said that people would only be “allowed to leave their
         home” for very limited purposes such as shopping for basic necessities and
         “travelling to and from work, but only where this is absolutely necessary and cannot
         be done from home”. He added that “if you don’t follow the rules the police will
         have the powers to enforce them, including through fines and dispersing
         gatherings.” In order to “ensure compliance with the Government’s instruction to
         stay at home” he stated that “we will immediately - close all shops selling non-
         essential goods … stop all gatherings of more than two people in public … and we’ll


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      stop all social events, including weddings, baptisms and other ceremonies, but
      excluding funerals.”


      25.    Also on 23 March 2020, the UK Government issued guidance to businesses
      about closures. This included advice that it would be an offence to operate in
      contravention of the 21 March Regulations and that businesses in breach of the 21
      March Regulations would be subject to prohibition notices and potentially unlimited
      fines.


      26.     On the same day PHE issued a document called “Keeping away from other
      people: new rules to follow from 23 March 2020.” It stated that there were three
      “important new rules everyone must follow to stop coronavirus spreading”. These
      were (i) “you must stay at home” and should only leave home “if you really need
      to” for one of the reasons stated; (ii) most shops should stay closed; and (iii) people
      must not meet in groups of more than two in public places.


      27.    On 24 March 2020, the UK Government issued guidance to providers of
      holiday accommodation to the effect that they should have taken steps to close for
      commercial use and should remain open only for limited prescribed purposes, for
      example to support key workers or homeless people.


      28.    On 25 March 2020, the 2020 Act was enacted. The 2020 Act applies across
      the UK, although different provisions have come into force in different nations at
      different times. In broad terms the 2020 Act established emergency arrangements in
      relation to health workers, food supply, inquests and other matters.


      The 26 March Regulations


      29.    On 26 March 2020, the Health Protection (Coronavirus, Restrictions)
      (England) Regulations 2020 (SI 2020/350) (“the 26 March Regulations”) were made
      by the Secretary of State for Health and Social Care exercising powers under the
      1984 Act. Similar regulations were introduced in Wales, Scotland and Northern
      Ireland.


      30.    The 26 March Regulations revoked most of the 21 March Regulations and
      replaced them with new rules which imposed more extensive restrictions.
      Regulation 4(1) was in similar terms to regulation 2(1) of the 21 March Regulations
      and required the businesses listed in Part 1 of Schedule 2 - which again comprised
      restaurants, cafes, bars and public houses - to close or cease selling any food or drink
      other than for consumption off its premises.


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      31.    Regulation 4(4) required businesses listed in Part 2 of Schedule 2 to close.
      These included all the businesses that had already been required to close by
      regulation 2(4) of the 21 March Regulations (see para 21 above) and a number of
      others, including nail, beauty and hair salons and barbers, tattoo and piercing
      parlours, playgrounds, outdoor markets and car showrooms. Further restrictions and
      closures were imposed by regulation 5 for retail shops, holiday accommodation and
      places of worship - with the exception of the businesses listed in Part 3 of Schedule
      2.


      32.   The full text of regulations 4 and 5 and of Schedule 2 to the 26 March
      Regulations is set out in Appendix 1.


      33.    Regulation 6 introduced a prohibition against people leaving the place where
      they were living “without reasonable excuse”. (A non-exhaustive list of reasonable
      excuses was set out in regulation 6(2).) Regulation 7 prohibited gatherings in public
      places of more than two people other than in limited circumstances. Regulation 9
      made any contravention of the 26 March Regulations without reasonable excuse a
      criminal offence punishable on summary conviction by a fine. There were several
      reports of enforcement action being taken under these provisions in the months after
      26 March 2020.


      34.    Regulation 3 of the 26 March Regulations required the Secretary of State to
      review the need for the restrictions at least once every 21 days, with the first review
      being carried out by 16 April 2020. The 26 March Regulations, and the equivalent
      regulations in Wales, Scotland and Northern Ireland, were amended on several
      occasions. For example, on 13 May 2020 garden centres and outdoor sports courts
      were added to the list of businesses in Part 3 of Schedule 2 which were allowed to
      stay open, as were outdoor markets and certain showrooms on 1 June 2020.


      35.    On 4 July 2020, the 26 March Regulations were revoked and replaced with
      more limited restrictions in the Health Protection (Coronavirus, Restrictions) (No 2)
      (England) Regulations 2020 (SI 2020/684) in England. Since then, there have been
      further legislative changes; but they have occurred since the trial and were therefore
      not considered by the court below.


      Categories of business


      36.   For the purposes of the proceedings, the parties adopted the following
      categorisation of businesses:




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            i)     Category 1: businesses such as cafes and restaurants listed in Part 1 of
            Schedule 2 to the 26 March Regulations. These businesses were required by
            regulation 2(1) of the 21 March Regulations and regulation 4(1) of the 26
            March Regulations to close or cease selling any food or drink for
            consumption on the premises.


            ii)    Category 2: businesses listed in Part 2 of Schedule 2 to the 26 March
            Regulations, such as cinemas, theatres, nightclubs, gyms and leisure centres.
            These businesses were required to close by regulation 4(4) of the 26 March
            Regulations (and some had already been required to close by regulation 2(4)
            of the 21 March Regulations).


            iii)   Category 3: businesses listed in Part 3 of Schedule 2 to the 26 March
            Regulations which were allowed to remain open, such as food retailers and
            pharmacies. This category was excluded from the scope of regulation 5(1) of
            the 26 March Regulations.


            iv)    Category 4: businesses (other than those listed in Part 3 of Schedule 2
            of the 26 March Regulations) offering goods for sale or for hire in a shop, or
            library services, which were required by regulation 5(1) not to admit any
            customers or users to their premises.


            v)     Category 5: businesses not mentioned in the 21 March Regulations or
            the 26 March Regulations at all, including professional service firms such as
            accountants and lawyers, as well as construction and manufacturing
            businesses.


            vi)   Category 6: businesses providing holiday accommodation, which
            were affected by regulation 5(3) of the 26 March Regulations.


            vii) Category 7: places of worship, which were affected by regulation 5(5)
            of the 26 March Regulations, together with nurseries and schools.


      III   The proceedings


      37.   The eight insurers who are parties to the Framework Agreement and to these
      proceedings are: (1) Arch Insurance (UK) Ltd (“Arch”); (2) Argenta Syndicate
      Management Ltd (“Argenta”); (3) Ecclesiastical Insurance Office Plc
      (“Ecclesiastical”); (4) Hiscox Insurance Company Ltd (“Hiscox”); (5) MS Amlin


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      Underwriting Ltd (“MS Amlin”); (6) QBE UK Ltd (“QBE”); (7) Royal & Sun
      Alliance Insurance Plc (“RSA”); and (8) Zurich Insurance Plc (“Zurich”).


      38.    The Framework Agreement took effect on 1 June 2020 and the FCA
      commenced these proceedings in the Commercial Court on 9 June 2020 by issuing
      a claim form asking the court to make declarations about the meaning and effect of
      the relevant policy wordings. On the same day the parties issued an application
      seeking directions for the claim to proceed under the Test Case Scheme and for an
      expedited trial. Such orders were made by Butcher J at a case management
      conference on 16 June 2020.


      39.    At a later case management conference Hiscox Action Group (“the Hiscox
      Interveners”) and the Hospitality Insurance Group Action were permitted to join the
      proceedings as interveners.


      40.     There were 21 “lead” policies considered by the court below: one issued by
      Arch; one issued by Argenta; two issued by Ecclesiastical (“Ecclesiastical 1.1” and
      “Ecclesiastical 1.2”); four issued by Hiscox (“Hiscox 1”, “Hiscox 2”, “Hiscox 3”
      and “Hiscox 4”); three issued by MS Amlin (“MSA 1”, “MSA 2” and “MSA 3”);
      three issued by QBE (“QBE 1”, “QBE 2” and “QBE 3”); five issued by RSA (“RSA
      1”, “RSA 2.1”, “RSA 2.2”, “RSA 3” and “RSA 4”); and two issued by Zurich
      (“Zurich 1” and “Zurich 2”).


      41.     The trial took place remotely over eight days between 20 and 30 July 2020.
      As is permitted under the Test Case Scheme and given the importance of the issues
      raised, the case was heard by a court of two judges. They were Flaux LJ, a judge of
      the Court of Appeal, and Butcher J, a High Court judge authorised to sit in the
      Financial List. Both judges have extensive knowledge and experience of insurance
      law.


      42.     The joint judgment of the court was given on 15 September 2020. It is a very
      thorough judgment running to 580 paragraphs. On 2 October 2020, the court gave
      all parties permission to appeal and also certified that the appeals were suitable for
      the “leapfrog” procedure which enables an appeal in exceptional circumstances to
      bypass the Court of Appeal and proceed directly to the Supreme Court. The Supreme
      Court gave permission to appeal on 2 November 2020 and the appeal was heard over
      four days between 16 and 19 November 2020.


      43.    It is a testament to the success of the Test Case Scheme procedure that it will
      have enabled the important legal issues raised in this case to be finally decided
      following a trial and an appeal to the Supreme Court in just over seven months. It is
      hoped that this determination will facilitate prompt settlement of many of the claims

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      and achieve very considerable savings in the time and cost of resolving individual
      claims.


      44.     To achieve this an immense amount of work has been done by the legal teams
      of all the parties to the proceedings. They have also conducted the proceedings in a
      co-operative and constructive manner. Despite the tight time frame, the quality of
      the written and oral submissions has been of the highest order and all involved are
      to be complimented. The very able assistance that we have received from counsel
      has brought the issues raised on the appeals into clear focus.


      IV     The issues on the appeals


      45.     At the trial the FCA was substantially successful in its claim. The main appeal
      is therefore that of the insurers. All the insurers apart from Ecclesiastical and Zurich
      appeal from the decision of the court below. In addition, the FCA appeals on four
      issues on which it did not succeed at the trial. Zurich is a respondent to the FCA’s
      appeal. The Hiscox Interveners have appealed on similar grounds (insofar as they
      relate to Hiscox) to those advanced by the FCA.


      46.   We propose to address the issues raised on the appeals under the following
      headings:


             i)     The disease clauses;


             ii)    The prevention of access and hybrid clauses;


             iii)   Causation;


             iv)    The trends clauses;


             v)     Pre-trigger losses;


             vi)    The Orient-Express Hotels decision.


      There is no appeal from the conclusions of the court below on the questions of
      prevalence and proof addressed in section H of the court’s judgment.



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      Principles of contractual interpretation


      47.     There is no doubt or dispute about the principles of English law that apply in
      interpreting the policies. They were most recently authoritatively discussed by this
      court in Wood v Capita Insurance Services Ltd [2017] UKSC 24; [2017] AC 1173
      in the judgment of Lord Hodge and are set out in the judgment of the court below at
      paras 62-66. The core principle is that an insurance policy, like any other contract,
      must be interpreted objectively by asking what a reasonable person, with all the
      background knowledge which would reasonably have been available to the parties
      when they entered into the contract, would have understood the language of the
      contract to mean. Evidence about what the parties subjectively intended or
      understood the contract to mean is not relevant to the court’s task.


      V      Disease clauses


      48.     We consider first the disease clauses. The general nature of these clauses is
      that they provide insurance cover for business interruption loss caused by occurrence
      of a notifiable disease at or within a specified distance of the policyholder’s business
      premises. The following policy wordings contain clauses of this kind: Argenta;
      MSA 1 and MSA 2; QBE 1, QBE 2 and QBE 3; and RSA 3. There are some
      variations among these wordings, though for reasons we will give none of the
      differences in our view materially alters the correct interpretation of the clauses.


      The RSA 3 policy wording


      49.    We will take as an exemplar RSA 3, as this was the wording which the court
      below thought it most convenient to consider first. RSA 3 is a form of Commercial
      Combined policy which covers a variety of risks and was taken out by the owners
      of various different businesses, including building contractors, landscape gardeners
      and manufacturers and wholesalers of electronics, fabrics and metal goods. The
      policy has nine sections which provide different types of insurance cover. Section 2
      provides cover for business interruption.


      50.     As is typical, the basic cover provided by this section is for business
      interruption which is a consequence of physical loss or destruction of or damage to
      property insured under the property damage section of the policy (section 1).
      However, section 2 also contains a series of “extensions” which provide cover for
      business interruption that is not consequent on physical damage to property. The
      critical extension for present purposes is Extension vii headed “Infectious Diseases”.
      This states (with the key words emphasised):



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                 “We shall indemnify You in respect of interruption or
                 interference with the Business during the Indemnity Period
                 following:


                       a.     any


                              i.     occurrence of a Notifiable Disease (as
                              defined below) at the Premises or attributable to
                              food or drink supplied from the Premises;


                              ii.     discovery of an organism at the Premises
                              likely to result in the occurrence of a Notifiable
                              Disease;


                              iii.   occurrence of a Notifiable Disease
                              within a radius of 25 miles of the Premises;


                       b.     the discovery of vermin or pests at the Premises
                       which causes restrictions on the use of the Premises on
                       the order or advice of the competent local authority;


                       c.     any accident causing defects in the drains or
                       other sanitary arrangements at the Premises which
                       causes restrictions on the use of the Premises on the
                       order or advice of the competent local authority; or


                       d.    any occurrence of murder or suicide at the
                       Premises.”


      51.  The term “Notifiable Disease” is defined as follows (again with our
      emphasis):


                 “1.   Notifiable Disease shall mean illness sustained by any
                 person resulting from:


                       i.     food or drink poisoning; or




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                           ii.    any human infectious or human contagious
                           disease excluding Acquired Immune Deficiency
                           Syndrome (AIDS) or an AIDS related condition an
                           outbreak of which the competent local authority has
                           stipulated shall be notified to them.”


      52.    In addition, the policy provides that for the purposes of this clause:


                    “Indemnity Period shall mean the period during which the
                    results of the Business shall be affected in consequence of the
                    occurrence discovery or accident beginning:


                           i.    in the case of a) and d) above with the date of the
                           occurrence or discovery; or


                           ii.    in the case of b) and c) above the date from which
                           the restrictions on the Premises applied;


                    and ending not later than the Maximum Indemnity Period
                    thereafter shown below.


                    …


                    We shall only be liable for the loss arising at those Premises
                    which are directly affected by the occurrence discovery or
                    accident.


                    Maximum Indemnity Period shall mean three months.”


      53.      Three preliminary points may be made about this wording which are not in
      dispute. First, it is agreed that by 6 March 2020 COVID-19 had been designated in
      all parts of the United Kingdom as a disease which fell within the description in limb
      (ii) of the definition of a “Notifiable Disease” quoted above. The obligation to notify
      cases or suspected cases of certain diseases to the relevant local authority is not in
      fact (as the wording of the definition would suggest) a matter of stipulation by the
      local authority but, as mentioned earlier, is imposed by legislation. Nevertheless, a
      reasonable reader of the insurance policy who wanted to know whether a particular
      disease fell within limb (ii) of the definition of a “Notifiable Disease” would
      understand it as intended to refer to those diseases which are classified as “notifiable
      diseases” by the 2010 Regulations (and equivalent legislation for other parts of the
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      UK). Second, in order for illness resulting from COVID-19 to be “sustained by any
      person” within the meaning of the “Notifiable Disease” definition, the court below
      found that it is not necessary for the person concerned to have been diagnosed as
      having the disease or to have manifested symptoms of illness: it is sufficient that the
      person should in fact have contracted the disease, whether or not the disease is
      symptomatic or has been diagnosed. The manifestation of symptoms and the making
      of a diagnosis are therefore relevant only to questions of proof. There is no challenge
      to that finding. Third, it is common ground that the word “following” at the end of
      the opening words of the insuring clause does not mean merely “later in time than”
      but requires there to be a causal connection between one of the perils specified in
      (a) to (d) and the interruption to the policyholder’s business. There is a dispute about
      the precise nature of the required causal connection, to which we will return later in
      this judgment when we address questions of causation.


      The two central issues


      54.      There are two main issues about how the disease clause in RSA 3 should be
      interpreted. The first is what is meant by the words in (a)(iii) of the insuring clause:
      “any … occurrence of a Notifiable Disease within a radius of 25 miles of the
      Premises”. What is the scope of the peril insured against by this provision? RSA
      contends that the clause only covers the business interruption consequences of any
      cases of a Notifiable Disease which occur within a radius of 25 miles of the premises
      insured under the policy; any cases of disease which occur outside that area do not
      form part of the insured peril. The FCA’s position, on the other hand, is that the
      clause should be read as covering the business interruption consequences of a
      Notifiable Disease wherever the disease occurs, provided it occurs (meaning that
      there is at least one case of illness caused by the disease) within the 25-mile radius.
      The second issue, which has to be approached in the light of the answer given to the
      first, is what causal link between the insured peril and interruption to the business is
      required in order to entitle the policyholder to be indemnified under this clause.


      The decision of the court below


      55.    The court below accepted the FCA’s case on the first issue and held that RSA
      3 provides cover for the business interruption consequences of a Notifiable Disease
      which has occurred, ie of which there has been at least one instance, within the
      specified radius, from the time of that occurrence (see para 102 of the judgment).


      56.    In reaching that conclusion, the court attached particular importance to two
      matters, which it described as fundamental. The first is that the words of the clause
      do not confine cover to a situation where the interruption to the business has resulted
      only from cases of a Notifiable Disease within the 25-mile radius, as opposed to
      other cases elsewhere.
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      57.     The second matter is the nature of a “Notifiable Disease”, as defined in the
      policy. The court noted that the list of notifiable diseases in Schedule 1 to the 2010
      Regulations includes diseases such as cholera, plague, typhus, yellow fever and
      SARS which are capable of spreading rapidly and widely. The list is also open-
      ended in that if at any time a new disease emerges as a threat to public health, it may
      be added to the list, as COVID-19 has been. An outbreak of such a disease could
      potentially affect a wide area and cause interruption to businesses over a wide area
      - a risk clearly contemplated by the policy, which recognises that the occurrence of
      a notifiable disease up to 25 miles away might lead to interruption of business at the
      insured premises. The parties must also have contemplated that the authorities would
      be likely to take action in response to an outbreak of a notifiable disease as a whole,
      and not to particular parts of an outbreak, and that it would be irrelevant to any action
      taken whether cases fell within or outside a line 25 miles away from the insured
      premises.


      58.     In the light of these matters, the court thought that it would not make sense
      for the cover in Extension vii(a)(iii) of RSA 3 to be confined to the effects only of
      the local occurrence of a Notifiable Disease. That would mean that there would be
      no effective cover if the local occurrence were a part of a wider outbreak and where,
      precisely because of the wider outbreak, it would be difficult or impossible to show
      that the local occurrence made a difference to the reaction of the authorities and/or
      the public. In the court’s view, a reasonable person would not understand the parties
      in using the words they did to intend such unreasonable results and would read the
      clause as intended to cover the effects of a Notifiable Disease of which there is an
      occurrence within the specified radius.


      59.    On this interpretation, as the court put it at para 110 of the judgment: “the
      issues as to causation largely answer themselves.” The court considered that,
      whatever the exact nature of the causal relation required by the word “following”,
      the requirement is satisfied in circumstances where there has been a national
      response to a widespread outbreak of a disease across the country. The court’s
      preferred analysis was that the cause of the business interruption “is the Notifiable
      Disease of which the individual outbreaks form indivisible parts” (see para 111 of
      the judgment). Alternatively, although the court regarded this analysis as less
      satisfactory, each of the individual occurrences of the disease was a separate but
      equally effective cause of the business interruption (para 112).


      60.   The court analysed the disease clauses in other policy wordings in a similar
      way, except for the clauses in QBE 2 and QBE 3 where (for reasons that we will
      come to) the court accepted the insurers’ interpretation of the clauses.




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      The meaning of the words used


      61.    The court below did not spell out in its judgment precisely how, as a matter
      of the English language, it considered that the words “any … occurrence of a
      Notifiable Disease within a radius of 25 miles of the Premises” can be read as
      meaning “a Notifiable Disease of which there is any occurrence within a radius of
      25 miles of the Premises” (our emphasis). It has not been suggested that this is one
      of those rare situations in which the court can be satisfied that, in Lord Hoffmann’s
      phrase, “something must have gone wrong with the language” and can engage in
      verbal rearrangement or correction of the words used in identifying what must have
      been meant: see Investors Compensation Scheme Ltd v West Bromwich Building
      Society [1998] 1 WLR 896, 913; Chartbrook Ltd v Persimmon Homes Ltd [2009]
      UKHL 38; [2009] AC 1101, para 25. If there were no obvious meaning of the words
      used and they were reasonably capable of bearing more than one possible meaning,
      the considerations mentioned at paras 56-57 above which influenced the court below
      would have been relevant in determining which meaning is to be preferred: see
      Rainy Sky SA v Kookmin Bank [2011] UKSC 50; [2011] 1 WLR 2900, paras 21-30.
      But we do not consider that there is any ambiguity in the description of the relevant
      insured peril. No reasonable reader of the policy would understand the words “any
      … occurrence of a Notifiable Disease within a radius of 25 miles …” to include any
      occurrence of a Notifiable Disease outside a radius of 25 miles. To seek to interpret
      the language of the policy as bearing such a meaning is to stand the clause on its
      head.


      62.   The cautionary words of Lord Mustill in Charter Reinsurance Co Ltd v
      Fagan [1997] AC 313, 388 are apt:


                    “There comes a point at which the court should remind itself
                    that … to force upon the words a meaning which they cannot
                    fairly bear is to substitute for the bargain actually made one
                    which the court believes could better have been made. This is
                    an illegitimate role for a court.”


      63.   The way in which Mr Colin Edelman QC on behalf of the FCA sought to
      defend the result reached by the court below involved interpreting the word
      “occurrence” to mean or be capable of meaning an “outbreak” of a Notifiable
      Disease. An outbreak might extend well beyond the 25-mile radius of the insured
      premises and potentially, as has happened with COVID-19, across the entire
      country. On this reading of the clause, provided the outbreak is present within the
      25-mile radius, the whole outbreak (or “occurrence”) is covered.


      64.    It should be said that this is in fact a different interpretation from the one
      accepted by the court below. On a fair reading of the judgment we think it clear that
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      the court regarded the insured peril as the disease itself - that is to say in this case
      COVID-19 - and not a particular outbreak of the disease. If there were any doubt
      about that, it is dispelled by the declarations made by the court in its formal order
      dated 2 October 2020. Thus, Declaration 29.2, which records the court’s decision as
      to the correct interpretation of the disease clause in RSA 3, states that:


                    “… there is cover under RSA 3 for any business interruption
                    which an insured can show resulted from COVID-19 … from
                    the date when the disease occurred in the relevant 25 mile
                    radius of the insured premises.”


      This does not treat the insured peril as limited to any occurrence or outbreak of
      COVID-19. It treats the insured peril simply as COVID-19, wherever and whenever
      the disease occurs without any geographical or temporal limits except for
      requirements (a) that there is an occurrence within the relevant 25 mile radius of the
      insured premises and (b) that the cover runs from the date of that local occurrence.


      65.     The interpretation for which the FCA contends has the advantage that it bears
      a closer relationship to what the policy actually says and recognises that what is
      covered is not a Notifiable Disease as such but an “occurrence” of a Notifiable
      Disease which satisfies the relevant description. Nevertheless, it still seems to us to
      involve an attempt to re-write the wording of the policy, as what the clause says is
      not that there is cover for an occurrence some part of which is within the specified
      25 mile radius but that there is cover for “any … occurrence of a Notifiable Disease
      within” that radius. In other words, it is only an occurrence within the specified area
      that is an insured peril and not anything that occurs outside that area.


      66.     Another reason why we are unable to accept the FCA’s argument is that the
      insuring clause does not use the word “outbreak”; it uses the word “occurrence”. If
      the clause had referred to any “outbreak” of a Notifiable Disease, that would have
      created obvious problems of deciding what constitutes an “outbreak” and by what
      criterion it is possible to judge whether a large number of cases of a disease are all
      part of one outbreak or are part of or constitute a number of different outbreaks.


      67.     The word “occurrence”, on the other hand, like its synonym “event”, has a
      widely recognised meaning in insurance law which accords with its ordinary
      meaning as “something which happens at a particular time, at a particular place, in
      a particular way”: see Axa Reinsurance (UK) plc v Field [1996] 1 WLR 1026, 1035
      (Lord Mustill); Kuwait Airways Corpn v Kuwait Insurance Co SAK [1996] 1 Lloyd’s
      Rep 664, 683-686 (and the discussion in that case of the Dawson’s Field Award);
      Mann v Lexington Insurance Co [2001] 1 Lloyd’s Rep 1 (CA).



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      68.     That the term “occurrence” where it appears in the disease clause in RSA 3
      refers to something happening at a particular time is in any case confirmed by the
      definition of the “Indemnity Period” (quoted at para 52 above) as the period during
      which the results of the business “shall be affected in consequence of the
      occurrence” beginning, in the case of the relevant sub-clause (a)(iii), with “the date
      of the occurrence” and ending not later than three months thereafter. It is implicit in
      this definition that an “occurrence” is something that happens on a particular date
      and not something capable of extending over more than one date.


      69.    A disease that spreads is not something that occurs at a particular time and
      place and in a particular way: it occurs at a multiplicity of different times and places
      and may occur in different ways involving differing symptoms of greater or less
      severity. Nor for that matter could an “outbreak” of disease be regarded as one
      occurrence, unless the individual cases of disease described as an “outbreak” have a
      sufficient degree of unity in relation to time, locality and cause. If several members
      of a household were all infected with COVID-19 when a carrier of the disease visited
      their home on a particular day, that might arguably be described as one occurrence.
      But the same could not be said of the contraction of the disease by different
      individuals on different days in different towns and from different sources. Still less
      could it be said that all the cases of COVID-19 in England (or in the United Kingdom
      or throughout the world) which had arisen by any given date in March 2020
      constituted one occurrence. On any reasonable or realistic view, those cases
      comprised thousands of separate occurrences of COVID-19. Some of those
      occurrences of the disease may have been within a radius of 25 miles of the insured
      premises whereas others undoubtedly will not have been. The interpretation which
      makes best sense of the clause, in our view, is to regard each case of illness sustained
      by an individual as a separate occurrence. On this basis there is no difficulty in
      principle and unlikely in most instances to be difficulty in practice in determining
      whether a particular occurrence was within or outside the specified geographical
      area.


      70.     The definition of a “Notifiable Disease” in the RSA 3 policy wording further
      confirms and reinforces the interpretation of the clause that we would reach even if
      the term had not been defined. The definition makes it clear that the term “Notifiable
      Disease” does not in fact, contrary to what might otherwise be supposed, refer to a
      disease in any general sense. Rather, it refers to “illness sustained by any person
      resulting from” a human infectious or human contagious disease provided that the
      disease is one “an outbreak of which the competent local authority has stipulated
      shall be notified to them”. This provides yet further demonstration that the insured
      peril is not the disease generally nor an “outbreak” of the disease. The reference to
      an “outbreak” functions only as part of the description which a disease must satisfy
      in order to fall within limb (ii) of the definition. Where a disease satisfies that
      description, it is not the outbreak nor the disease itself which constitutes a
      “Notifiable Disease”, but illness sustained by any person resulting from that disease.


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      71.     Once it is recognised that the words “occurrence of a Notifiable Disease”
      refer to an occurrence of illness sustained by a particular person at a particular time
      and place, it is apparent that the argument that the disease clause in RSA 3 applies
      to cases of illness resulting from COVID-19 that occur more than 25 miles away
      from the premises should be rejected. As a matter of plain language, the clause
      covers only cases of illness resulting from COVID-19 that occur within the 25-mile
      radius specified in the clause. That is consistent with the other sub-clauses of the
      extension. In each case they cover events (or the discovery of events) that occur “at
      the premises”, that is to say at a particular time and place. They include in (a)(i) any
      “occurrence of a Notifiable Disease (as defined below) at the Premises”. The FCA
      has not sought to suggest that this sub-clause provides cover for all the business
      interruption consequences of a Notifiable Disease, wherever in the country or the
      world it occurs, provided that (and from the time when) there is at least one case of
      the disease at the premises. The language of the policy is not reasonably capable of
      bearing that meaning. By the same token and for similar reasons, the interpretation
      which the FCA has sought to place on sub-clause (a)(iii) is not in our view a tenable
      reading of the policy wording.


      72.    Returning to the two matters seen by the court below as fundamental and
      which led the court to a different conclusion, it is right that the language of the
      disease clause in RSA 3 does not confine cover to business interruption which results
      only from cases of a notifiable disease within the 25 mile radius, as opposed to other
      cases elsewhere. That is an important point when considering questions of causation.
      But it does not follow that cases of a disease occurring outside the specified radius
      are themselves part of the peril insured against by the disease clause. On the
      contrary, it is clear from the words used that they are not.


      73.     Similarly, we think the court below was right to attach significance in
      interpreting the policy wording to the potential for a notifiable disease to affect a
      wide area and for an occurrence of such a disease within 25 miles of the insured
      premises to form part of a wider outbreak. But again, the significance of those
      matters, in our view, is in relation to questions of causation. They cannot justify
      extending the geographical scope of the cover beyond the area clearly specified in
      the policy. As discussed, that goes beyond interpretation and involves rewriting the
      clause.


      74.     We conclude that the disease clause in RSA 3 is properly interpreted as
      providing cover for business interruption caused by any cases of illness resulting
      from COVID-19 that occur within a radius of 25 miles of the premises from which
      the business is carried on. The clause does not cover interruption caused by cases of
      illness resulting from COVID-19 that occur outside that area.




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      General Exclusion L


      75.    Before leaving RSA 3, it is convenient to address an argument made by RSA
      that under this policy wording the disease clause does not provide any cover at all
      for business interruption resulting from COVID-19 because any loss caused by an
      occurrence of a notifiable disease is excluded from cover if the disease amounts to
      an epidemic. Beginning on p 91 of the RSA 3 wording, which runs in total to no
      fewer than 93 pages, are a number of “general exclusions”, said to apply to all
      sections of the policy unless stated otherwise. One of these, General Exclusion L,
      which appears on p 93 of 93, states as follows (again with our emphasis):


                   “Applicable to all sections other than section 5 - Employers’
                   Liability and section 6 - Public Liability Contamination or
                   Pollution Clause


                   a)      The insurance by this Policy does not cover any loss or
                   Damage due to contamination pollution soot deposition
                   impairment with dust chemical precipitation adulteration
                   poisoning impurity epidemic and disease or due to any
                   limitation or prevention of the use of objects because of hazards
                   to health.


                   b)     This exclusion does not apply if such loss or Damage
                   arises out of one or more of the following Perils:


                            •     Fire, Lightning, Explosion, Impact of Aircraft


                            •     Vehicle Impact Sonic Boom


                            •     Accidental Escape of Water from any tank
                            apparatus or pipe Riot, Civil Commotion, Malicious
                            Damage


                            •     Storm, Hail Flood Inundation Earthquake


                            •     Landslide Subsidence      Pressure    of   Snow,
                            Avalanche Volcanic Eruption




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                    a)(bis) If a Peril not excluded from this Policy arises directly
                    from Pollution and/or Contamination any loss or Damage
                    arising directly from that Peril shall be covered.


                    b)(bis) All other terms and conditions of this Policy shall be
                    unaltered and especially the exclusions shall not be superseded
                    by this clause.”


      76.     RSA contends that the words that we have emphasised in the first paragraph
      (a) of this clause which state that the policy does not cover loss due to (amongst
      other things) “epidemic and disease” should be read as cutting down the cover
      provided by the disease clause in the business interruption section of the policy.
      Counsel for RSA invoke the principle that a court, when confronted with two
      provisions in a contract that seem to be inconsistent with each other, should start
      from the premise that the parties intended that effect should be given to each of the
      two provisions and must do its best to reconcile them if that can conscientiously and
      fairly be achieved: see eg Pagnan SpA v Tradax Ocean Transportation SA [1986] 2
      Lloyd’s Rep 646, 653; [1987] 1 All ER 81, 89 (Steyn J), affirmed by the Court of
      Appeal at [1987] 2 Lloyd’s Rep 342; [1987] 3 All ER 565; Taylor v Rive Droite
      Music Ltd [2005] EWCA Civ 1300, paras 23, 27 and 40; and Geys v Société
      Générale [2012] UKSC 63; [2013] 1 AC 523, para 24 (Lord Hope of Craighead).
      On behalf of RSA, Mr David Turner QC submits that the disease extension in section
      2 and General Exclusion L should accordingly be interpreted, so far as possible, in
      a way which gives effect to both clauses. He accepts that this is not possible in the
      case of the reference in the general exclusion to “disease” in circumstances where,
      if read as applicable to the disease clause in the business interruption section of the
      policy, it would altogether negate the cover provided by that clause. He also accepts
      that the exclusion of “poisoning” in General Exclusion L cannot easily be reconciled
      with the provision of cover under the disease extension for “food or drink
      poisoning”. However, he submits that effect can and should be given to the word
      “epidemic” by construing the disease clause as providing cover for the consequences
      of any occurrence of a notifiable disease (within the specified radius) only if the
      occurrence is not part of an “epidemic”.


      77.    The court below saw no merit in this argument and nor do we. The
      assumption that the parties intended each of two seemingly inconsistent clauses in
      their agreement to have effect is a sound starting point where the parties to the
      contract would reasonably be expected to have had both clauses simultaneously in
      mind. The cases cited by RSA were all cases of this kind. But sometimes that is not
      a reasonable assumption - for example in the case of complex contractual documents
      which themselves contemplate and provide for the possibility of inconsistency. In
      any event, the overriding question is how the words of the contract would be
      understood by a reasonable person. In the case of an insurance policy of the present
      kind, sold principally to SMEs, the person to whom the document should be taken

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      to be addressed is not a pedantic lawyer who will subject the entire policy wording
      to a minute textual analysis (cf Jumbo King Ltd v Faithful Properties Ltd (1999) 2
      HKCFAR 279, para 59). It is an ordinary policyholder who, on entering into the
      contract, is taken to have read through the policy conscientiously in order to
      understand what cover they were getting.


      78.     The notion that such a policyholder who is presumed to have reached p 93 of
      the RSA 3 policy wording would understand the general exclusion of contamination
      or pollution and kindred risks on that page to be removing a substantial part of the
      cover for business interruption loss that was ostensibly conferred on p 38 is as
      unreasonable as it is unrealistic. The reasonable reader would naturally assume that,
      if the intention had been to put a further substantive limit on the risk of business
      interruption specifically insured by the extension for infectious diseases in addition
      to the geographical and temporal limits stated in the extension itself, this would have
      been done transparently as part of the wording of the extension and not buried away
      in the middle of a general exclusion of contamination and pollution risks at the back
      of the policy. The reference in the exclusion to “disease” would reinforce the
      understanding that the general exclusion could not have been intended to apply to
      the cover for business interruption caused by an infectious disease, as it would
      obliterate that cover. It could not sensibly be thought to make a difference that the
      word “disease” was part of a composite phrase “disease and epidemic”. No
      reasonable reader would suppose that, although one part of this phrase was not
      intended to apply to the business interruption cover, the other part was.


      79.   We would accordingly affirm the conclusion of the court below that General
      Exclusion L does not exclude claims arising out of the COVID-19 epidemic.


      80.     We add for completeness that we do not consider that any assistance on this
      issue is to be gained, as the FCA submits, from paragraphs (a)(bis) and (b)(bis) of
      the exclusion which do not seem to us to be in point.


      Other disease clauses


      81.   Our reasons for rejecting the interpretation of the disease clause in RSA 3 for
      which the FCA contends also lead us to reach a different conclusion from the court
      below about the correct interpretation of other sample disease clauses.


      82.    In the Argenta wording the relevant insured peril is described in almost
      identical terms to RSA 3 as “any occurrence of a Notifiable Human Disease within
      a radius of 25 miles of the Premises” and the definition of “Notifiable Human
      Disease” is also materially identical to the definition of “Notifiable Disease” in RSA
      3. In MSA 1 and MSA 2 the peril is described as “any notifiable disease within a

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      radius of 25 miles of the premises”. Although the word “occurrence” is not used in
      the MSA wordings, the term “notifiable disease” is so far as relevant defined in the
      same way as in RSA 3. That definition accordingly makes it clear that the insured
      peril is not a disease as such but individual cases of “illness sustained by any person
      resulting from” a relevant disease. There is no justification for interpreting any of
      these clauses differently from the disease clause in RSA 3; nor did we understand
      any party to contend that there is any relevant distinction between any of these
      wordings and that of RSA 3.


      83.    In QBE 1 the relevant clause covers:


                    “[loss resulting from] interruption of or interference with the
                    business arising from:


                           (a)    any human infectious or human contagious
                           disease (excluding Acquired Immune Deficiency
                           Syndrome (AIDS) or an AIDS related condition) an
                           outbreak of which the local authority has stipulated shall
                           be notified to them manifested by any person whilst in
                           the premises or within a twenty five (25) mile radius of
                           it;


                           (b)    actual or suspected murder, suicide or sexual
                           assault at the premises;


                           (c)    injury or illness sustained by any person arising
                           from or traceable to foreign or injurious matter in food
                           or drink provided in the premises;


                           (d)    vermin or pests in the premises;


                           (e)     the closing of the whole or part of the premises
                           by order of a competent public authority consequent
                           upon defect in the drains or other sanitary arrangements
                           at the premises.”


      The policy wording goes on to state that the insurance provided by this clause “shall
      only apply for the period beginning with the occurrence of the loss and ending not
      later than three (3) months thereafter during which the results of the business shall
      be affected in consequence of the damage”.

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      84.     It can be seen that what has been done in drafting sub-clause (a) of this
      wording is - rather than using the term “notifiable disease” and providing a separate
      definition of that term - to incorporate the definition into the body of the clause itself.
      Another difference from RSA 3 is that this wording refers not to “illness sustained
      by any person” but to a disease “manifested by any person”. The court below
      interpreted the word “manifested” to require that the person concerned must either
      have displayed symptoms of the disease or have been diagnosed as having the
      disease (for example by means of a test). That aspect of the court’s interpretation is
      not disputed. However, consistently with its interpretation of RSA 3, the court
      rejected QBE’s contention that the words “manifested by any person whilst in the
      premises or within a twenty five (25) mile radius of it” mean that the insured peril
      is limited to any cases of the disease which are manifested within the 25 mile radius.
      Instead, the court considered that those words are most naturally read, and should
      be construed, as “an adjectival clause limiting the class of notifiable diseases which,
      if they interfere with the business, will lead to coverage” (see para 226 of the
      judgment).


      85.    The wording of QBE 1 is something of an outlier in that, unlike the clauses
      we have considered so far, the clause has as its subject a disease, rather than an
      occurrence of illness sustained by a person resulting from a disease. Nevertheless,
      we think the wording makes it sufficiently clear that the insured peril is not any
      notifiable disease occurring anywhere in the world but only in so far as it is
      manifested by any person whilst in the premises or within a 25 mile radius of the
      premises. The words “manifested by any person” etc are indeed, as the court below
      described them “adjectival”. But that does not detract from the fact that they are an
      integral part of the description of the risk. They are adjectival but not conditional.
      We do not agree that the clause is naturally or reasonably read as if it said: “any
      human infectious or human contagious disease … on condition that and from the
      time when the disease is manifested by any person whilst in the premises or within
      a 25 mile radius of it.”


      86.    To read the clause as if it contained such words in our view involves
      unjustifiable manipulation of the language. It also involves treating the insured peril
      as subject to no geographical limit at all provided only that at least one person
      manifests the disease within the specified area. That seems to us an improbable form
      of cover for insurers to provide, as well as one which would be out of line with all
      the other limbs of the clause. Each of the other sub-clauses covers something
      happening at, or a consequence of something happening at, the insured premises: for
      example, injury or illness sustained by any person arising from food or drink
      provided in the premises; or the presence of vermin or pests in the premises. Sub-
      clause (a) is naturally understood as operating in a similar way. The only difference
      from the other sub-clauses is that the risk covered is not confined solely to something
      happening at the insured premises but extends to something happening within a
      specified distance away from the insured premises. Thus, it is not only disease


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      manifested by any person whilst in the premises that is covered, but also disease
      manifested by any person whilst within a 25-mile radius of the premises.


      QBE 2 and QBE 3


      87.    In the case of two wordings (QBE 2 and QBE 3) the court below accepted
      the insurers’ interpretation of the disease clause. The FCA has appealed against that
      decision, arguing that there is no significant difference between the disease clauses
      in these two wordings and the disease clauses in the other sample policy wordings.
      We agree. However, the logic of the argument in our view flows in the opposite
      direction, as we consider that the court correctly interpreted the disease clauses in
      QBE 2 and QBE 3.


      88.   The relevant clause in QBE 2 is clause 3.2.4 headed “Infectious disease,
      murder or suicide, food or drink or poisoning”. This covers (with our emphasis):


                    “Loss resulting from interruption of or interference with the
                    business in consequence of any of the following events:


                           a)     any occurrence of a notifiable disease at the
                           premises or attributable to food or drink supplied from
                           the premises;


                           b)      any discovery of any organism at the premises
                           likely to result in the occurrence of a notifiable disease;


                           c)     any occurrence of a notifiable disease within a
                           radius of 25 miles of the premises;


                           d)     the discovery of vermin or pests at the premises
                           which cause restrictions on the use of the premises on
                           the order or advice of the competent local authority;


                           e)     any accident causing defects in the drains or
                           other sanitary arrangements at the premises which
                           causes restrictions on the use of the premises on the
                           order of or advice of the competent local authority;




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                           f)    any occurrence of murder or suicide at the
                           premises;


                           provided that the


                           …


                           h)     insurer shall only be liable for loss arising at
                           those premises which are directly subject to the incident;


                           i)     insurer’s maximum liability under this cover
                           extension clause in respect of any one incident shall not
                           exceed GBP 100,000 or 15% of the total sum insured (or
                           limit of liability) for this insured section B, whichever is
                           the lesser, any one claim and GBP 250,000 any one
                           period of insurance.”


      89.    So far as relevant, the “indemnity period” is defined as:


                    “… the period during which the results of the business shall be
                    affected in consequence of the an [sic] event beginning in the
                    case of:


                           3.2.4(a) and (d) with the occurrence or discovery of the
                           incident,


                           3.2.4(b) and (c) above with the date from which the
                           restrictions on the premises are applied,


                    and ending not later than twelve (12) months thereafter.”


      90.    The definition of the term “notifiable disease” (in clause 18.67) is as follows
      (with emphasis added):


                    “Notifiable disease means illness sustained by any person
                    resulting from:


                           18.67.1 food or drink poisoning, or
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                            18.67.2 any human infectious or human contagious
                            disease, an outbreak of which the competent local
                            authority has stipulated shall be notified to them
                            excluding Acquired Immune Deficiency Syndrome
                            (AIDS), an AIDS related condition or avian influenza.”


      91.    It can be seen that this wording is virtually identical to the corresponding
      provisions of RSA 3, save in two respects. First, the list of insured perils in the clause
      is not preceded by the word “following” but by the words “in consequence of any
      of the following events” (and the word “event” is also used in the definition of the
      “indemnity period”). Second, the term “incident” is used in several places,
      apparently as a synonym for the term “event”.


      92.    The court below considered that these differences, and in particular the
      reference at the start of the clause to “events”, requires clause 3.2.4(c) of QBE 2 to
      be interpreted differently from the identically worded sub-clause in RSA 3. The
      court said (at para 231 of the judgment):


                    “Given the reference to ‘events’, and taken with the nature of
                    the other matters referred to in (a), (b) and (d) to (f), the
                    emphasis in (c) appears to us in this clause not to be on the fact
                    that the disease has occurred within 25 miles, but on the
                    particular occurrences of the disease within the 25 miles. It is
                    the ‘event’ which is constituted by the occurrence(s) of the
                    disease within the 25-mile radius which must have caused the
                    business interruption or interference.”


      The court also considered that uses of the word “incident” in (h) and (i) “reinforce
      the fact that the clause is concerned with specific events, limited in time and place”.


      93.     We agree with these observations but cannot accept that the terms “event”
      and “incident” are necessary to make it clear that what is covered by the clause is
      any occurrence(s) of a notifiable disease within the 25 miles. That is already plain
      from the description of the insured peril as “any occurrence of a notifiable disease
      within a radius of 25 miles of the premises”. We do not perceive any difference in
      meaning between the terms “occurrence” and “event”, and nothing significant is
      added by the use of the word “incident” as a compendious term instead of the phrase
      “occurrence discovery or accident” used, for example, in the definition of the
      indemnity period in RSA 3. Furthermore, the other matters referred to in (a), (b) and
      (d) to (f) in clause 3.2.4 of QBE 2 are exactly the same as those referred to in the
      corresponding sub-clauses in RSA 3, and the nature of those matters confirms
      equally in both cases that the clause is concerned with the consequences of particular
      events occurring at a particular time and place. Yet further, the definition of a
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      “notifiable disease” in QBE 2 is identical to the definition of that term in RSA 3 and,
      as discussed earlier, makes it clear that it is not the disease itself but particular cases
      of illness sustained by a person resulting from a relevant disease which constitutes
      the insured peril.


      94.    The disease clause in QBE 3 is in materially similar terms to the clause in
      QBE 2, except that in the key sub-clause (c) the radius specified is narrower, being
      only one mile instead of 25 miles. It has not been suggested by either party that this
      difference justifies adopting a different analysis of the clause. We agree with the
      conclusion of the court below that “this clause too is confining cover to the
      consequences of certain happenings, in particular specific occurrences of the disease
      within the radius, as opposed to other happenings or events, including instances of
      people contracting the disease outside the radius” (see para 237 of the judgment).


      Conclusion


      95.     For the reasons given, we consider that the court below correctly analysed
      the meaning of the disease clauses in QBE 2 and QBE 3 and was wrong not to
      interpret the other disease clauses in a similar way. On the correct interpretation of
      all the relevant clauses, they cover only relevant effects of cases of COVID-19 that
      occur at or within a specified radius of the insured premises. They do not cover
      effects of cases of COVID-19 that occur outside that geographical area.


      VI     The prevention of access and hybrid clauses


      96.    The prevention of access and hybrid clauses of principal relevance for the
      purposes of these appeals are contained in the policy wordings referred to as Arch,
      RSA 1 and Hiscox 1-4. Although the individual wordings differ, each insurer’s
      clauses are structured in a similar way, as set out in the following table:


                  Loss    In some cases:     Interference Public          Underlying
                          need for           in use of the authority      emergency/disease
                          interruption       premises       action
   Arch           “loss … resulting from … Prevention of access to the Premises due to the
   (prevention    actions or advice of a government or local authority due to an emergency
   of access      which is likely to endanger life or property”
   clause)        Loss -                     resulting      due to        due to an
                                             from           actions or    emergency which
                                             prevention advice of         is likely to
                                             of access      government    endanger life
                                                            or local
                                                            authority
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   RSA1          “loss as a result of closure or restrictions placed on the Premises as a
   (hybrid       result of a notifiable human disease manifesting itself at the Premises or
   clause)       within a radius of 25 miles of the Premises”
                 Loss -                      As a result -                  As a result of a
                                             of closure                     notifiable disease
                                             or                             manifesting within
                                             restrictions                   25 miles
                                             placed on
                                             the
                                             Premises

   Hiscox 1-4    “losses resulting solely and directly from an interruption to your activities
   (hybrid       caused by your inability to use the insured premises due to restrictions
   clause)       imposed by a public authority during the period of insurance following an
                 occurrence of any human infectious or human contagious disease, an
                 outbreak of which must be notified to the local authority”
                 Loss resulting solely caused by           Due to          Following an
                         and directly       inability to restrictions      occurrence of a
                         from               use the        imposed by a notifiable
                         interruption       premises       public          infectious or
                                                           authority       contagious disease
                                                                           Hiscox 4 only
                                                                           within one mile of
                                                                           the business
                                                                           premises



      97.     It can be seen that each of these clauses contains a series of elements which
      must all be satisfied to trigger the insurer’s obligation to indemnify the policyholder
      against loss. An issue common to the insurers’ appeals is how the question whether
      loss has been caused by an insured peril should be analysed and, in particular, how
      the causal connections between the different elements of the clause interact with
      each other in determining what loss is covered by the clause. This issue is addressed
      in the later sections of this judgment, where we also consider the effect of the trends
      clause.


      98.    In addition, a number of points arise on the appeals of the FCA, the Hiscox
      Interveners and Hiscox as to how particular elements of the prevention of access and
      hybrid clauses should be interpreted. We address those points now.




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      The disease elements


      99.    The hybrid clauses have been so called because one element of the peril
      insured against by these clauses is the occurrence of a notifiable disease: unlike the
      disease clauses, however, this element is combined with other elements which
      narrow the consequences of disease covered by the clause.


      100. The disease element of the hybrid clause in RSA 1 is “a notifiable human
      disease manifesting itself at the Premises or within a radius of 25 miles of the
      Premises”. This wording is materially similar to that of QBE 1, discussed at paras
      85-86 above, and is in our view to be interpreted in a similar way.


      101. In Hiscox 4 the disease element of the clause is “an occurrence of a notifiable
      human disease within one mile of the business premises”. This wording is materially
      similar to that of many of the disease clauses - in particular QBE 3, which refers to
      a radius of one mile of the premises - and again must be similarly interpreted.


      102. The wording of the disease element in the relevant clause of Hiscox 1-3
      differs from the sample disease clause wordings in that it does not impose any
      geographical limit on the occurrence of a notifiable disease. The relevant element of
      the peril insured against by these clauses is:


                    “an occurrence of any human infectious or human contagious
                    disease, an outbreak of which must be notified to the local
                    authority.”


      103. Hiscox has renewed on its appeal an argument rejected by the court below
      that, despite the absence of any radius provision or other words which require the
      occurrence of disease to be within a specified distance of the insured premises, the
      word “occurrence” in this wording means something limited, small-scale, local and
      specific to the policyholder or its business or premises and thus does not apply to
      the COVID-19 pandemic.


      104. As in other policy wordings, we consider that the word “occurrence” should
      be given its ordinary meaning of something which happens at a particular time, at a
      particular place and in a particular way. As discussed, each individual case of disease
      is in our view properly regarded as an occurrence. Accordingly, where there are
      multiple cases of disease, each is an “occurrence” within the meaning of the clause.
      If the intention had been to restrict the scope of the clause to any occurrence(s) of
      disease at or near the insured premises, the clause would have said so. Apart from
      the simple fact that the clause contains no such words of restriction, the

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      interpretation contended for by Hiscox would make its application highly uncertain.
      Just how local, limited or small-scale does an outbreak of disease have to be to fall
      within the scope of the cover? On the case advanced by Hiscox, the policy provides
      no answer to that question. Yet no reasonable insurer would leave the answer to that
      question at large. As can be seen from Hiscox 4 and all the disease clause wordings,
      where insurers are only willing to cover consequences of an occurrence of a
      notifiable disease which is local to the insured premises, they specify the requisite
      distance in the clause.


      105. Under the wording of Hiscox 1-3, we think it plain that Hiscox agreed to
      cover effects on the insured business of cases of a notifiable disease irrespective of
      where they occur. Hiscox did not agree, however, to cover all business interruption
      losses caused by any such occurrences of disease but only those which satisfy the
      further elements specified in the clause.


      The force of law point


      106. One of the further elements of the hybrid wording in Hiscox 1-3 and in
      Hiscox 4 is that the business interruption must be “due to restrictions imposed by a
      public authority”. An issue raised on the FCA’s appeal and by the Hiscox
      Interveners is whether the court below was correct to hold that the words
      “restrictions imposed” mean something which is both expressed in mandatory terms
      and has the force of law. On this basis the court held that the only relevant matters
      which constituted “restrictions imposed” are those which were promulgated by
      statutory instrument, and in particular regulation 2 of the 21 March Regulations and
      regulations 4 and 5 of the 26 March Regulations (see paras 266-267 of the
      judgment). Earlier instructions given by the UK Government which did not have the
      force of law do not fall within the description.


      107. A similar issue is raised by the FCA in relation to the requirements of
      “closure or restrictions placed” in RSA 1 (see para 294 of the judgment); “enforced
      closure” in RSA 4 (para 303); “action” preventing access in MSA 1 (para 434) and
      Zurich 1-2 (para 497); and a denial or hindrance in access “imposed” in the “Non-
      damage and denial of access” clauses in Hiscox 1, 2 and 4 (paras 407-408) and MSA
      2 (para 439).


      108. The significance of this issue lies in the fact that the FCA and the Hiscox
      Interveners wish to establish that cover was triggered before the 21 March
      Regulations and 26 March Regulations were issued so that losses sustained before
      those dates are capable of being recovered under the insurance. In particular, the
      FCA argues that cover was triggered by what it terms the “general measures” and
      the “specific measures”.

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      109.   The “general measures” are:


             i)     The “stay at home instruction” to stop all unnecessary travel and social
             contact, to work from home and avoid social venues, initially made by the
             Prime Minister in his announcements of 16 March 2020 and 18 March 2020,
             then contained in the document published by PHE on 23 March 2020 called
             “Keeping away from other people: new rules to follow from 23 March 2020”
             (see para 26 above), before being given statutory force by regulation 6 of the
             26 March Regulations;


             ii)     The “2 metre instruction” to stay more than two metres from others,
             initially contained in guidance dated 16 March 2020 and repeated
             subsequently, for example in the Prime Minister’s announcement on 22
             March 2020 and PHE’s “Keeping away from other people” document; and


             iii)  The prohibition against gatherings initially contained in guidance
             dated 16 March 2020 and repeated by the Prime Minister in his
             announcement on that day, repeated by PHE’s “Keeping away from other
             people” document, and given statutory force by regulation 7 of the 26 March
             Regulations.


      110.   The “specific measures” are:


             i)   The instruction to schools to close given by the Prime Minister on 18
             March 2020;


             ii)    The instruction to Category 1 and Category 2 businesses to close given
             by the Prime Minister on 20 March 2020; and


             iii)   The instruction to Category 6 businesses on 24 March 2020 that they
             “should now take steps to close for commercial use as quickly as is safely
             possible”.


      111. The main arguments may conveniently be addressed by considering the
      Hiscox 1-4 wordings. The wording of the public authority clause in these policies
      (ignoring for present purposes the one mile requirement in Hiscox 4) is as follows
      (with our emphasis):


                    “What is covered We will insure you for your financial
                    losses and other items specified in the schedule, resulting
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                    solely and directly from an interruption to your activities
                    caused by:


                    …


                    Public authority


                    13.     your inability to use the insured premises due to
                    restrictions imposed by a public authority during the period
                    of insurance following:


                           a.     a murder or suicide;


                           b.     an occurrence of any human infectious or
                           human contagious disease, an outbreak of which must
                           be notified to the local authority;


                           c.     injury or illness of any person traceable to food
                           or drink consumed on the insured premises;


                           d.    defects in       the   drains   or   other   sanitary
                           arrangements;


                           e.     vermin or pests at the insured premises.”


      112. The court’s reasons for holding that “restrictions imposed” means restrictions
      that have the force of law are set out in para 266 of the judgment. They are, first of
      all, that the natural meaning of the word “imposed” is something which is
      mandatory. Furthermore:


                    “… these words are used in the context of a resulting inability
                    on the part of the insured to use its own premises. That
                    reinforces the conclusion that what is being referred to is
                    something that has the force of law. Each of paragraphs (a) to
                    (e) of the ‘public authorities’ clause … is a case in which
                    mandatory action can be taken by relevant authorities in respect
                    of premises under identifiable legal or statutory powers, and the
                    reference to ‘restrictions imposed’ most naturally refers to the


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                    legally binding powers that can be exercised in relation to those
                    situations.”


      113. The FCA criticises this reasoning on the grounds that the natural meaning of
      the words “restrictions imposed” does not require them to be interpreted so narrowly
      that only measures that carry the force of law will qualify and that to do so involves
      reading a condition into the clause which it does not contain. The FCA also contends
      that the court’s interpretation is unrealistic and uncommercial. It submits that where,
      for example, a public authority directs businesses to close in mandatory terms that
      clearly expect immediate compliance, it is unrealistic to treat the restrictions as not
      being “imposed” simply because they do not have legally binding force. Such an
      interpretation also places an unrealistic and uncommercial onus on policyholders by
      requiring them to analyse the legal basis of a public authority’s instructions before
      complying with them in order to know whether the consequences of doing so will
      be covered by their insurance. Further, the court’s interpretation creates the
      anomalous prospect that a socially responsible policyholder who complies
      voluntarily with the instruction of a public authority may be put in a significantly
      worse position than one who refuses to comply unless the instruction is given legally
      binding force.


      114. For all these reasons, the FCA submits that the court ought to have concluded
      that the requirement of “restrictions imposed” can be satisfied by mandatory
      instructions or measures issued by a public authority without any additional
      requirement that the instructions must be legally binding, and that this criterion was
      satisfied by both the general and the special measures.


      115. The Hiscox Interveners make similar points to the FCA. They stress that the
      Hiscox policies are meant to be readily understandable by unsophisticated, small
      businesses. A policyholder would reasonably understand that Government
      instructions expressed in mandatory terms, such as the mandatory directions given
      by the Prime Minister to the British public on national television on 16, 20 and 23
      March 2020, are required to be complied with without first undertaking inquiries
      into their legal basis. They submit that a reasonable person listening to the Prime
      Minister’s announcements would not consider that they were being given a choice
      as to whether or not to comply with the directions given, which thus amounted to
      “restrictions imposed”.


      116. We agree with the court below that “restrictions imposed” by a public
      authority would be understood as ordinarily meaning mandatory measures
      “imposed” by the authority pursuant to its statutory or other legal powers. “Imposed”
      connotes compulsion and a public authority exercises compulsion through the use
      of such powers. We would not, however, accept that a restriction must always have
      the force of law before it can fall within this description.

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      117. Not uncommonly, a mandatory instruction may be given by a public authority
      in the anticipation that legally binding measures will follow shortly afterwards, or
      will do so if compliance is not obtained. We consider that that is capable of being a
      “restriction imposed”.


      118. For example, a public health officer who discovers vermin on inspection of a
      restaurant may issue an immediate instruction to close the restaurant, although the
      legal order to do so may only follow later. All concerned would expect such an
      instruction to be complied with forthwith, regardless of legalities, and would regard
      the “restriction” as being “imposed” there and then.


      119. A similar point was acknowledged by the court when addressing what is
      meant by “enforced closure” of premises in RSA 4 (see para 303 of the judgment).
      The court accepted that this would extend to a closure which is legally capable of
      being enforced and would include a case where “a governmental authority or agency
      or local authority directs that particular premises should be closed, and states that if
      they are not closed then a compulsory order for their closure will be obtained”.


      120. Whilst one would expect “restrictions imposed” generally to have the force
      of law or to carry the imminent threat of legal compulsion, we do not accept that the
      phrase is limited in its meaning to an exercise or threatened exercise of legal powers,
      as this case illustrates. When the Prime Minister in his statement of 20 March 2020
      instructed named businesses to close “tonight”, that was a clear, mandatory
      instruction given on behalf of the UK Government. It was an instruction which both
      the named businesses and the public would reasonably understand had to be
      complied with without inquiring into the legal basis or anticipated legal basis for the
      instruction. We consider that such an instruction is capable of being a “restriction
      imposed”, regardless of whether it was legally capable of being enforced.


      121. We agree with Hiscox that there would be greater certainty in the operation
      of the clause if “restrictions imposed” were required in every case to have the force
      of law. The line between what is permitted and what is legally prohibited is, in
      general, clear. That between whether or not an “objectively reasonable person”
      (Hiscox Interveners) or a “reasonable impartial observer” (FCA) would interpret an
      announcement as being “mandatory” is less so. Nevertheless, the test in interpreting
      the words used is how they would be understood by a reasonable person and we do
      not consider that a reasonable policyholder would understand the word “imposed”,
      without more, as making cover conditional on the existence or immediate prospect
      of a valid legal basis for the restriction. In particular, we consider that an instruction
      given by a public authority may amount to a “restriction imposed” if, from the terms
      and context of the instruction, compliance with it is required, and would reasonably
      be understood to be required, without the need for recourse to legal powers. This is
      likely to arise only in situations of emergency, as in the present case. Such an

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      instruction would need not only to be in mandatory terms, but also in clear enough
      terms to enable the addressee to know with reasonable certainty what compliance
      requires.


      122. We consider that in principle the same analysis applies to the other wordings
      in relation to which the FCA appeals, including RSA 1 (which refers to “closure or
      restrictions placed on the Premises”) and RSA 4 (“enforced closure of an Insured
      Location”). It is unnecessary, however, to address this issue separately or
      specifically in relation to clauses where the issue is academic because the court
      below held that, for other reasons, the clause does not cover losses arising from the
      COVID-19 pandemic and there has been no challenge to that decision on this appeal.
      Clauses which fall in this category are: the “Non-damage denial of access” clauses
      in Hiscox 1, 2 and 4; the “Action of competent authorities” clauses in MSA 1 and
      Zurich 1 and 2; and the “Prevention of access - non-damage clause” in MSA 2.


      123. In relation to those wordings where the appeal affects the outcome, we
      accordingly allow the appeal on this issue on the basis that “restrictions imposed”
      need not have the force of law in the limited circumstances set out above.


      124. Whether or not that approach encompasses the general or the specific
      measures should be left over for agreement or further argument, although the
      argument is clearly stronger in relation to the latter. We do, however, agree with the
      court’s conclusion in relation to RSA 4 that an “enforced closure of an Insured
      Location” would not include “advice or exhortations, or social distancing and stay
      at home instructions” (para 303).


      The nature of the “restriction”


      125. It is convenient at this stage also to address an issue raised by Hiscox as to
      whether regulation 6 of the 26 March Regulations was capable of being a “restriction
      imposed” within the meaning of the public authority clause in Hiscox 1-4.
      Regulation 6 prohibited people from leaving their homes without reasonable excuse.
      It is the FCA’s and Hiscox Interveners’ case that regulation 6 is a relevant
      “restriction imposed” in relation to businesses in Categories 3 and 5, which were
      permitted to remain open. Hiscox disputes this, arguing that on the proper
      interpretation of the clause “restrictions imposed” necessarily had to be directed to
      the policyholder or to its use of the insured premises.


      126. The court rejected Hiscox’s submission on this point (at para 269 of the
      judgment), giving as a hypothetical example a case where, by reason of a murder or
      suicide in the street outside a shop, the police put up a cordon which prevents the


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      public from entering the shop, leading to a complete inability to use the shop for
      business purposes. In the court’s view:


                    “… such a police cordon would constitute a ‘restriction
                    imposed’ in that it would be unlawful to cross it without proper
                    excuse. Its effect would be to keep the public away, but it would
                    not be directed either to the insured or to the insured’s use of
                    the premises.”


      127. Hiscox contends that the court’s conclusion is wrong for a number of reasons.
      In particular:


             i)    The context is that the business interruption insurance is being
             provided as an adjunct to property cover.


             ii)   The clause is directed at the use of the insured premises by the
             policyholder, not the use of the premises by anyone else, such as a customer.


             iii)   The other matters referred to in sub-clauses (a) to (e) of the public
             authority clause are events of a kind which give rise to a risk of restrictions
             directed at the premises and their use.


             iv)     The court’s police cordon illustration provides an example of a
             restriction which is not aimed specifically at the policyholder or its premises,
             but it is nevertheless one which is aimed at preventing use of any premises
             within the prescribed area.


             v)     It would never have been envisaged that an inability to use the
             premises would result from restrictions aimed at the public at large and
             hindsight should be avoided.


             vi)   On the court’s approach, any restriction, however remote from the
             policyholder’s use of the premises, would qualify and that would produce
             most surprising results.


      128. These are cogent arguments, but we are not persuaded that the court erred.
      The words “restrictions imposed” are general and unqualified. As the court
      recognised, in most cases the relevant restrictions would be directed at the insured
      premises or the use of the premises by the policyholder, but they are not required to
      be so. The court’s police cordon example is relevant as an illustration of an inability
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      to use the premises resulting not from a restriction directed at the premises or their
      use by the policyholder, but from a restriction which keeps the public out. Having
      full regard to context, we do not consider that the general words used should be read
      down in the way that Hiscox contends.


      Inability to use


      129. The public authority clauses in Hiscox 1-4 (set out at para 111 above) do not
      cover all business interruption due to “restrictions imposed” by a public authority
      following an occurrence of a notifiable disease. They apply only where the
      interruption is caused by the policyholder’s “inability to use” the business premises
      due to such restrictions.


      130. The court below held that the words “inability to use” in these clauses mean
      a complete inability to use the premises, save for use that is de minimis. The court’s
      reasoning is set out in para 268 of the judgment:


                    “In our view this [phrase ‘inability to use’] plainly does not
                    embrace any and every impairment of normal use. ‘Unable to
                    use’ means something significantly different from ‘hindered in
                    using’ or similar. Furthermore, the phrase is used in a context
                    which includes the various sub-clauses (a) to (e) (in Hiscox 1),
                    in each of which situations restrictions amounting to a complete
                    inability to use the premises for the purposes of the business
                    (albeit typically for a limited time) are readily foreseeable. We
                    agree with Hiscox that there will not be an ‘inability to use’
                    premises merely because the insured cannot use all of them;
                    and equally there will not be an ‘inability to use’ premises by
                    reason of any and every departure from their normal use.
                    Hiscox accepted, however, in our view correctly, that partial
                    use might be sufficiently nugatory or vestigial as to amount to
                    an ‘inability to use’ the premises. Whether that was so would
                    depend on the facts of a particular case.”


      131.   Both the FCA and the Hiscox Interveners appeal against this conclusion.


      132. The FCA contends that the court should have concluded that the requirement
      for an “inability to use” the business premises will be satisfied where the
      policyholder is able to demonstrate that it has suffered an inability to use the
      premises for the ordinary purposes of its business. In particular, there will be an
      inability to use premises for the ordinary purposes of the business where part or all
      of the premises have had to be closed in response to restrictions imposed.

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      133. The FCA gives an example of a bookshop which is required to close with the
      loss of all its walk-in customer business, representing some 80% of its income. The
      fact that it can continue to use the premises for telephone orders, representing 20%
      of its income, does not alter the fact that there is an inability to use its premises for
      a discrete part of its business activities. To hold that there is no cover available in
      those circumstances is unrealistic and uncommercial.


      134. The Hiscox Interveners submit that “inability to use” should “be read as
      referring to the material inability to use the premises for the insured’s normal
      business activities, which could be partial or total.” They submit that the word
      “inability” does not denote the specific extent to which the policyholder lacks the
      ability to use the premises or entail that the inability to use the premises must be
      complete. To the contrary, it is a perfectly acceptable and correct use of the term to
      state that a policyholder is unable to do something, to the extent of that inability.


      135. Hiscox contends that the court’s conclusion was correct for the reasons it
      gave. The question is a binary one. Can the insured use the premises for its business
      activities or not? Inability is not a matter of the extent to which someone is able or
      unable to do something. It means they cannot do it at all.


      136. We agree with the court and Hiscox that an inability of use has to be
      established; not an impairment or hindrance in use. On the other hand, we do not
      accept that the inability has to be an inability to use any part of the premises for any
      business purpose. The reference to “the business premises” is naturally read as
      including a discrete part of those premises which is capable of being used separately
      from other parts. Such an interpretation also makes commercial sense, as there may
      be little difference from a business point of view between the ability to use a small
      part of the premises for a limited purpose and closure of the whole premises.
      Furthermore, the language of the clause does not require there to be a complete
      inability to use the premises for all purposes. The court below appears to have
      accepted this, as it refers in the passage quoted above to “a complete inability to use
      the premises for the purposes of the business” (our emphasis). We agree that a
      qualification of this kind is implicit in the clause but again see no reason why
      different business purposes should not be distinguished if the relevant activities are
      capable of being conducted separately.


      137. We consider that the requirement is satisfied either if the policyholder is
      unable to use the premises for a discrete part of its business activities or if it is unable
      to use a discrete part of its premises for its business activities. In both those situations
      there is a complete inability of use. In the first situation, there is a complete inability
      to carry on a discrete business activity. In the second situation, there is a complete
      inability to use a discrete part of the business premises. To that extent the question
      is indeed binary.

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      138. Whilst all cases will be fact dependent, the FCA’s bookshop example would
      potentially be a case of inability to use the premises for the discrete business activity
      of selling books to walk-in customers. A department store which had to close all
      parts of the store except its pharmacy would potentially be a case of inability to use
      a discrete part of its business premises.


      139. The department store example also shows that the court was not correct to
      state that the other fortuities covered in sub-clauses (a) to (e) necessarily involve
      complete inability of use if by that it is meant inability to use any part of the premises
      for any purpose. A flood or a drains problem in a department store may well only
      affect a discrete part of that store.


      140. An example which potentially covers both cases would be a golf course
      which is allowed to remain open but with its clubhouse closed so that there is an
      inability to use a discrete part of the golf club for a discrete but important part of its
      business, namely the provision of food and drink and the hosting of functions.


      141. We should add that the FCA accepts that there is only cover for that part of
      the business for which the premises cannot be used. If, for example, a restaurant
      which also offers a takeaway service decides to close down the whole business it
      could only claim in relation to the restaurant part of the business. Equally, if there
      was a travel agent whose business was 50% walk-in customers, 25% internet sales
      and 25% telephone sales, it could only claim in relation to the loss of walk-in
      business, even though all parts of the business may have been depressed by the
      effects of COVID-19 and the governmental measures taken.


      142. The FCA and the Hiscox Interveners further criticise the court’s conclusion
      that regulation 6 of the 26 March Regulations was most unlikely to lead to any
      inability of use. Having accepted that there could be “restrictions imposed” which
      were not directed specifically at the policyholder or its use of the premises, the court
      went on to say (at para 270 of the judgment) that the restrictions on leaving home
      imposed by regulation 6 could not be said to have led to an “inability to use” the
      premises of all policyholders where the business had relied on the physical presence
      of customers. As the court explained:


                    “… ‘inability to use’ premises means what it says and is not to
                    be equated with hindrance or disruption to normal use. Given
                    the exceptions to regulation 6, which include the general
                    exception of ‘reasonable excuse’ and the specifically
                    enumerated exceptions including travel for the purposes of
                    work where it was not reasonably possible for the person to
                    work from home, and given the possibility (and reality) that
                    businesses could operate or come to operate by contacting
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                    customers at home, it appears to us that the cases in which
                    regulation 6 would have caused an ‘inability to use’ premises
                    would be rare. Whether there were such cases would be a
                    question of fact.”


      143. It is suggested by the FCA and the Hiscox Interveners that the court here
      wrongly confused the questions of how loss might be mitigated by, for example,
      working from home or contacting customers at home with the question of whether
      there was an inability to use the premises. They contend that an inability to use
      business premises can arise because of restrictions imposed on others, such as
      employees or customers, and that there is no basis for a conclusion that an inability
      to use by virtue of such restrictions would be rare.


      144. We do not accept that there was any such confusion. Nor do we consider,
      even taking into account the wider interpretation of the requirement which we
      consider to be appropriate, that the court was wrong to say that the cases in which
      regulation 6 would cause an “inability to use” premises are likely to be rare. As the
      court points out, it must be an inability of use rather than hindrance or disruption. It
      is likely that it will be difficult for Category 3 and Category 5 businesses which were
      allowed to remain open to demonstrate the requisite inability.


      145. In summary, we would allow the appeal of the FCA and the Hiscox
      Interveners on this issue on the ground that “inability to use” the business premises
      may include a policyholder’s inability to use either the whole or a discrete part of its
      premises for either the whole or a discrete part of its business activities.


      Prevention of access


      146. Similar issues arise in relation to whether only the total (as opposed to partial)
      closure of premises for the purposes of the existing business could qualify as
      “prevention” or “denial” of access to the premises under the prevention of access
      clauses in the Arch wording (see judgment at para 330), Hiscox 1, 2 and 4 (para
      407), MSA 1 and 2 (paras 431-432) and Zurich 1 and 2 (para 495).


      147.   The prevention of access clause in the Arch wording provides as follows:


                    “We will also indemnify You in respect of reduction in
                    Turnover and increase in cost of working as insured under this
                    section resulting from …



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                    Government or Local Authority Action


                    Prevention of access to The Premises due to the actions or
                    advice of a government or local authority due to an emergency
                    which is likely to endanger life or property …”


      148. The court held that anything short of complete closure would not constitute
      “prevention of access” to the premises. The court considered (at paras 326-327 of
      the judgment) an example of a restaurant which in addition to in-restaurant dining
      offers a takeaway collection or delivery service. Regulation 4 of the 26 March
      Regulations required the closure during the emergency period of any premises, or
      part of the premises, in which food or drink were sold for consumption on those
      premises; but it did not require the premises to close to the extent that they were
      used for the purposes of providing a takeaway service. The court considered that,
      while it could be said that the restaurant owner policyholder and its employees were
      impeded or hindered in their use of the premises because they could not operate the
      restaurant for in-house dining, the government action did not cause prevention of
      access, as they were not prevented from accessing the premises for the purposes of
      carrying on that part of the existing business which involved providing the takeaway
      service. By contrast, the court accepted that if the restaurant did not previously offer
      a takeaway service but started one during lockdown, the position would be different.
      In such circumstances there would be prevention of access for the purposes of the
      business as it had existed when the insurance policy was issued.


      149. It will be apparent that there is considerable overlap between both the
      arguments and the reasons for the court’s conclusions in relation to the “inability to
      use” and the “prevention of access” wordings. Mr John Lockey QC for Arch
      suggests that there is a significant difference between the clause in the Arch wording
      and the public authority clause in Hiscox 1-4 because the Arch wording focuses on
      access to the premises rather than use of the premises. Access refers to the means of
      entry to the premises. If the premises can be entered for the purpose of carrying on
      the business there, then there has been no prevention of access.


      150. In the present context we do not, however, consider that this provides a
      material distinction between the two wordings. As Mr Lockey accepts, the
      prevention of access does not have to be physical so that if, for example, the
      policyholder was able to and did enter the premises to carry out essential
      maintenance, that would not mean that the clause does not apply if access was
      prevented by law for the purposes of carrying on the business. Once, however, it is
      conceded - as is inevitable - that continued access to the premises for some purposes
      is compatible with there being cover, the question becomes: for what purposes?
      Furthermore, there is again no good reason to construe “the premises” as referring
      only to the entire premises rather than as encompassing part of the premises.

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      151. In our view, for essentially the same reasons as given in relation to Hiscox 1-
      4, the Arch wording may, depending on the facts, cover prevention of access to a
      discrete part of the premises and/or for the purpose of carrying on a discrete part of
      the policyholder’s business activities. We agree with Arch that prevention means
      stopping something from happening or making an intended act impossible and is
      different from mere hindrance. In both the situations contemplated, however, access
      to a discrete part of the premises or access to the premises for a discrete purpose will
      have been completely stopped from happening.


      152. The example of the restaurant which offers a takeaway service illustrates the
      commercial sense of this interpretation. The distinction drawn by Arch, and accepted
      by the court below, between continuing to operate such a service (where it is said
      that there would be no prevention of access or inability to use the premises) and
      starting a new takeaway service after closing the restaurant for dining is an
      unsatisfactory and arbitrary distinction. It is also illogical. If the premises can be put
      to such use, then it can be said that there is an ability to use them and that access to
      the premises for the purposes of carrying on the policyholder’s business is not
      prevented. A more realistic view is that there is prevention of access to (and inability
      to use) a discrete part of the premises, namely the dining area of the restaurant, and
      prevention of access to (and inability to use) the premises for the discrete business
      activity of providing a dining in service.


      153. The FCA further criticises the court’s conclusions (at paras 328-329 of the
      judgment) as to the limited relevance of regulation 6 to prevention of access. In
      essence, the court held that the restrictions on free movement imposed by regulation
      6 did not in themselves prevent access to premises which remained open; and to the
      extent that, in consequence of the regulation, fewer people went to the relevant shop
      or office or only did so for the purposes of buying essential supplies or transacting
      business which could not be carried out remotely from home, this amounted to
      hindrance in the use of the premises but not to “prevention of access to The
      Premises”.


      154. Whilst we accept that it is possible for regulation 6 to result in a prevention
      of access, we consider that such cases are likely to be rare for the reasons set out
      when addressing para 270 of the judgment in respect of the related issue of inability
      of use. As the court below stressed, a prevention needs to be established; hindrance
      does not suffice. We agree with the court below that the Prime Minister’s statement
      of 16 March 2020 did not cause prevention of access to the relevant insured business
      premises for the reasons given at para 328 of the judgment.


      155. We would therefore allow the FCA’s appeal on this issue in relation to the
      Arch wording on the ground that “prevention of access” may include prevention of


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      access to a discrete part of the premises or to the whole or part of the premises for
      the purpose of carrying on a discrete part of the policyholder’s business activities.


      156. We consider that in principle the same analysis applies to the other prevention
      or denial of access wordings in relation to which the FCA has raised a similar issue,
      but that - as with the force of law point - there is no sufficient reason to address this
      issue separately in relation to clauses in respect of which it is academic.


      The meaning of “interruption”


      157. Finally, Hiscox has raised a point about the meaning of the term
      “interruption” in the Hiscox wordings quoted at para 111 above, which refer to
      losses resulting from “an interruption to your activities …” The court below held
      that “interruption” in this context meant “business interruption generally” and
      included interference or disruption, not just a complete cessation of the
      policyholder’s business or activities (see paras 274 and 409-414 of the judgment).
      Hiscox disputes this conclusion, renewing its argument made below that the term
      “interruption” naturally means a stop or break and is different from “interference”,
      which refers to circumstances where something continues but cannot be carried on
      properly. Alternatively, it is said that the term “interruption” must involve a more
      demanding test than “interference” and cannot extend to any kind of disruption,
      however slight.


      158. We reject these arguments. The ordinary meaning of “interruption” is quite
      capable of encompassing interference or disruption which does not bring about a
      complete cessation of business or activities, and which may even be slight (although
      it will only be relevant if it has a material effect on the financial performance of the
      business). Furthermore, the possibility that interruption may be partial is inherent in
      the policy provisions which deal with the calculation of loss and which envisage that
      the business may continue operating during a period of interruption but with reduced
      income or increased costs of working. In addition, as the court below pointed out (at
      paras 409-414 of the judgment), the policies contain a number of heads of cover for
      perils causing “interruption to your activities” which are plainly intended to apply
      in circumstances where there is only limited interruption and not a complete
      cessation of activities. Examples given included clauses covering interruption
      caused by loss of attraction by reason of damage in the vicinity of the premises and
      interruption caused by damage at the premises of a particular customer or supplier.


      159. We accordingly see nothing wrong with the court’s reasoning and conclusion
      on this point.




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      VII    Causation


      160. We noted at para 59 above that, on the interpretation of the disease clause in
      RSA 3 (and most of the other sample wordings) accepted by the court below,
      questions of causation largely answered themselves. That is because, if the insured
      peril is COVID-19 (from the date when a case of the disease occurs within the
      specified distance of the insured premises), it follows that, from the date when such
      a case occurs, the policy covers all effects of COVID-19 on the policyholder’s
      business. It is not in dispute that the measures taken by the Government in response
      to the disease and the business interruption consequent on those measures were
      caused by COVID-19 whatever the precise nature of the required causal link. It
      makes no difference for these purposes whether the occurrence of the disease within
      the specified area is seen as part of an indivisible cause, constituted by COVID-19
      (the analysis preferred by the court below), or whether each of the individual cases
      of the disease is treated as a separate but equally effective cause of the actions taken
      by the Government and ensuing business interruption (the court’s alternative
      analysis).


      161. On what we consider to be the correct interpretation of the disease clauses,
      however, questions of causation are of crucial importance. We have concluded that
      the clauses cover only the effects of cases of COVID-19 occurring within the
      specified radius of the insured premises. On this basis, the question of what
      connection must be shown between any such cases of disease and the business
      interruption loss for which an insurance claim is made becomes critical.


      Proximate causation


      162. Many different formulations may be found in insurance policy wordings of
      the required connection between the occurrence of an insured peril and the loss
      against which the insurer agrees to indemnify the policyholder. This may be
      illustrated by the variety of phrases used in the sample wordings in the present case.
      We noted earlier that RSA 3 uses the word “following” to describe the required
      connection between occurrence of a notifiable disease and interruption of the
      business. So do MSA 1 and MSA 2. In the Argenta wording the phrase used is “as
      a result of”. In QBE 1, it is “arising from”; and in QBE 2 and QBE 3, it is “in
      consequence of”. We do not think it profitable to search for shades of semantic
      difference between these phrases. Sometimes the policy language may indicate that
      a looser form of causal connection will suffice than would normally be required,
      such as use of the words “directly or indirectly caused by …”: see eg Coxe v
      Employers’ Liability Assurance Corpn Ltd [1916] 2 KB 629. The same may
      arguably be said in the present case of the word “following”. But it is rare for the
      test of causation to turn on such nuances. Although the question whether loss has
      been caused by an insured peril is a question of interpretation of the policy, it is not

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      (unlike the questions of interpretation of the disease, hybrid and prevention of access
      clauses considered above) a question which depends to any great extent on matters
      of linguistic meaning and how the words used would be understood by an ordinary
      member of the public. What is at issue is the legal effect of the insurance contract,
      as applied to a particular factual situation.


      163. As a general approach to the question of causation in marine insurance cases,
      the common law developed the test of “proximate” cause. This is codified in section
      55(1) of the Marine Insurance Act 1906, which states that:


                    “… unless the policy otherwise provides, the insurer is liable
                    for any loss proximately caused by a peril insured against, but,
                    subject as aforesaid, he is not liable for any loss which is not
                    proximately caused by a peril insured against.”


      Like other provisions of the 1906 Act, this is treated by the courts as also stating the
      law applicable to non-marine insurance. As is clear from the words “unless the
      policy otherwise provides,” however, the rule is not inflexible. The requirement of
      “proximate” causation is based on the presumed intention of the contracting parties:
      see Reischer v Borwick [1894] 2 QB 548, 550; Leyland Shipping Co Ltd v Norwich
      Union Fire Insurance Society Ltd [1918] AC 350, 365 (Lord Atkinson); Becker,
      Gray & Co v London Assurance Corpn [1918] AC 101, 113-114 (Lord Sumner).
      But it is a presumption capable of being displaced if, on its proper interpretation, the
      policy provides for some other connection between loss and the occurrence of an
      insured peril.


      164. The expression “proximate” cause is somewhat misleading, as it is no longer
      used in its original sense. As Lord Sumner observed in Becker, Gray & Co at p 114:
      “It would be the better for a little plain English.” The term originates from Sir
      Francis Bacon’s Maxims of the Law (1596). His first maxim (Regula I) was “In jure
      non remota causa sed proxima spectatur”, which may be translated as “In law, it is
      not the remote cause but the near cause that is looked to”. Bacon’s explanation was
      that:


                    “It were infinite for the law to judge the cause of causes, and
                    their impulsions one of another; therefore it contenteth itself
                    with the immediate cause, and judgeth of the acts by that,
                    without looking to any further degree.”


      165. During the 19th century, however, a different concept derived from
      Aristotle’s notion of an “efficient” cause, meaning something that is the agency of
      change, became increasingly influential. Ultimately, this concept supplanted the

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      idea that the law is concerned with the immediate cause of loss, although in
      insurance law the expression “proximate cause” was retained. An important case in
      cementing this development was the decision of the Court of Appeal in Reischer v
      Borwick [1894] 2 QB 548. This concerned a claim under a marine insurance policy
      which covered loss or damage from collision with any object, but not loss from perils
      of the sea. The ship collided with an object floating in a river, which caused a leak.
      The ship was anchored and the leak temporarily repaired. A tug was sent to tow the
      ship to the nearest dock but, while the ship was being towed, the effect of the motion
      through the water was that the leak was re-opened and the ship began to sink. To
      save the lives of the crew, the ship was then run aground and abandoned. The Court
      of Appeal held that, notwithstanding the intervening events, the loss of the ship was
      proximately caused by the collision and was therefore covered by the policy.


      166. This decision was approved by the House of Lords in the leading case of
      Leyland Shipping Ltd v Norwich Union Fire Insurance Society Ltd [1918] AC 350.
      The facts were materially similar to those of Reischer v Borwick. A ship torpedoed
      by a German submarine was towed to the nearest port but had to anchor in the outer
      harbour exposed to the wind and waves. After three days the ship sank. The ship
      was insured against perils of the sea but there was an exception in the policy for “all
      consequences of hostilities or warlike operations”. The House of Lords affirmed the
      decision of the lower courts that the loss was proximately caused by the torpedo,
      which was a consequence of hostilities, and was therefore not covered by the
      insurance. By far the fullest discussion of the concept of proximate cause is
      contained in the speech of Lord Shaw of Dunfermline. He made it clear, first of all,
      that the test of causation is a matter of interpretation of the policy and that “[t]he
      true and the overruling principle is to look at a contract as a whole and to ascertain
      what the parties to it really meant” (see p 369). He went on to say:


                    “What does ‘proximate’ here mean? To treat proximate cause
                    as if it was the cause which is proximate in time is … out of the
                    question. The cause which is truly proximate is that which is
                    proximate in efficiency. That efficiency may have been
                    preserved although other causes may meantime have sprung up
                    which have yet not destroyed it, or truly impaired it, and it may
                    culminate in a result of which it still remains the real efficient
                    cause to which the event can be ascribed.”


      167. There are passages in the authorities which characterise the question whether
      a cause was, in Lord Shaw’s words, “proximate in efficiency” as simply a matter of
      applying common sense. This was the view expressed in Leyland Shipping by Lord
      Dunedin, who said (at p 362):




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                    “… I think the case turns on a pure question of fact to be
                    determined by common-sense principles. What was the cause
                    of the loss of the ship? I do not think the ordinary man would
                    have any difficulty in answering she was lost because she was
                    torpedoed.”


      The high water mark of this appeal to common sense is a passage that has often been
      quoted from the speech of Lord Wright in Yorkshire Dale Steamship Co Ltd v
      Minister of War Transport [1942] AC 691, 706:


                    “This choice of the real or efficient cause from out of the whole
                    complex of the facts must be made by applying common sense
                    standards. Causation is to be understood as the man in the
                    street, and not as either the scientist or the metaphysician,
                    would understand it. Cause here means what a business or
                    seafaring man would take to be the cause without too
                    microscopic analysis but on a broad view.”


      168. The common-sense principles or standards to be applied in selecting the
      efficient cause of the loss are, however, capable of some analysis. It is not a matter
      of choosing a cause as proximate on the basis of an unguided gut feeling. The
      starting point for the inquiry is to identify, by interpreting the policy and considering
      the evidence, whether a peril covered by the policy had any causal involvement in
      the loss and, if so, whether a peril excluded or excepted from the scope of the cover
      also had any such involvement. The question whether the occurrence of such a peril
      was in either case the proximate (or “efficient”) cause of the loss involves making a
      judgment as to whether it made the loss inevitable - if not, which could seldom if
      ever be said, in all conceivable circumstances - then in the ordinary course of events.
      For this purpose, human actions are not generally regarded as negativing causal
      connection, provided at least that the actions taken were not wholly unreasonable or
      erratic.


      169. Thus, on the facts of Reischer v Borwick it is apparent that the leak caused by
      collision with an object (an insured peril) would inevitably have led rapidly to the
      sinking of the ship if efforts had not been made to plug the leak. Those efforts merely
      delayed the occurrence of the loss. The leak was re-opened not as a result of any
      unusual weather conditions but simply through the ordinary motion of the water
      while the ship was under tow.


      170. On the facts of Leyland Shipping, the first causally relevant event which was
      an insured or excluded peril was the torpedoing of the ship by a German submarine.
      This was found without difficulty to fall within what amounted to an exception for
      “all consequences of hostilities”. The question whether this was the proximate cause
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      of the loss then essentially involved a judgment as to whether the torpedo damage
      led inexorably to the loss of the ship or whether anything that occurred between the
      time when the ship was struck by the torpedo and her subsequent loss was
      sufficiently abnormal to justify treating it as negativing the causal connection. The
      House of Lords considered that the answer to this was clear and that the subsequent
      events did not displace the damage inflicted by the torpedo as the proximate cause
      of the casualty.


      Concurrent causes


      171. Although in Leyland Shipping Lord Shaw referred to “the” proximate cause
      or “the” real efficient cause of loss, and other speeches also used the definite article,
      in Reischer v Borwick [1894] QB 548, 551, Lindley LJ had contemplated the
      possibility that the ingress of water when the vessel was under tow was a concurrent
      proximate cause but that this would not prevent the loss from being covered, as the
      policy did not require the loss to be exclusively caused by the collision. It has since
      become well established that, as Lord Buckmaster expressed the principle in Board
      of Trade v Hain Steamship Co Ltd [1929] AC 534, 539:


                    “it is no answer to a claim under a policy that covers one cause
                    of a loss that the loss was also due to another cause that was not
                    so covered.”


      172. In Heskell v Continental Express Ltd [1950] 1 All ER 1033, 1048, Reischer
      v Borwick was treated by Devlin J as authority for a more general principle,
      extending beyond the field of insurance, that “if a breach of contract is one of two
      causes, both co-operating and both of equal efficacy, … it is sufficient to carry
      judgment for damages”. (Like Allsop J in McCarthy v St Paul International
      Insurance Co Ltd [2007] FCAFC 28; (2007) 156 FCR 402, para 91, we do not read
      Devlin J’s later comments in West Wake Price & Co v Ching [1957] 1 WLR 45, 49-
      50; [1956] 2 Lloyd’s Rep 618, 624 as retracting his recognition of the possibility of
      two co-operating and equally effective causes).


      173. The leading modern authority which illustrates this possibility in the
      insurance field is JJ Lloyd Instruments Ltd v Northern Star Insurance Co Ltd (The
      Miss Jay Jay) [1987] 1 Lloyd’s Rep 32. This case concerned a yacht insured against
      loss caused by “external accidental means”. The yacht sank as a result of what was
      held to be a combination of causes which were “equal, or at least nearly equal, in
      their efficiency” (per Slade LJ at p 40). They were adverse sea conditions and design
      defects which rendered the yacht unseaworthy. The first of these causes fell within
      the scope of the insurance; the other, unseaworthiness, did not but nor was it an
      excluded peril. The Court of Appeal held that in these circumstances the loss was
      proximately caused by a peril insured against and was therefore covered. See also
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      ENE Kos 1 Ltd v Petroleo Brasileiro SA (No 2) [2012] UKSC 17; [2012] 2 AC 164,
      paras 12 and 74. As Lord Clarke of Stone-cum-Ebony stated in para 74: “where
      there are two effective causes, neither of which is excluded but only one of which is
      insured, the insurers are liable”.


      174. This situation is to be contrasted with one where there are two proximate
      causes of loss, of which one is an insured peril but the other is expressly excluded
      from cover under the policy. Here, although it is always a question of interpretation,
      the exclusion will generally prevail: see Wayne Tank and Pump Co Ltd v Employers
      Liability Assurance Corpn Ltd [1974] QB 57; Midland Mainline Ltd v Eagle Star
      Insurance Co Ltd [2004] EWCA Civ 1042; [2004] 2 Lloyd’s Rep 604; Atlasnavios-
      Navegação, LDA (formerly Bnavios-Navegação, LDA) v Navigators Insurance Co
      Ltd (The B Atlantic) [2018] UKSC 26; [2019] AC 136, para 49.


      175. In none of the cases in either of these categories that were cited in argument
      could it be said that either cause which was characterised as a proximate cause on
      its own rendered the loss inevitable in the ordinary course of events. In each case it
      was the combination of the two causes which together made the loss inevitable.
      Neither would have caused the loss without the other.


      176. There is, in our view, no reason in principle why such an analysis cannot be
      applied to multiple causes which act in combination to bring about a loss. Thus, in
      the present case it obviously could not be said that any individual case of illness
      resulting from COVID-19, on its own, caused the UK Government to introduce
      restrictions which led directly to business interruption. However, as the court below
      found, the Government measures were taken in response to information about all
      the cases of COVID-19 in the country as a whole. We agree with the court below
      that it is realistic to analyse this situation as one in which “all the cases were equal
      causes of the imposition of national measures” (para 112).


      The “but for” test


      177. The principal ground on which the insurers resist this analysis is that it cannot
      be said that, but for any individual case of illness resulting from COVID-19, the
      Government measures would not have been taken. The insurers argue, as a central
      plank of their case on these appeals, that whatever the exact nature of the causal link
      required by each sample policy wording it is a minimum requirement of any
      causation test that the occurrence of the insured peril made a difference to the
      occurrence of loss: in other words, it is necessary to show, at a minimum, that the
      loss would not have been sustained but for the occurrence of the insured peril. Thus,
      MS Amlin, whose submissions on this issue were adopted by the other insurers, said
      in their written case:

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                    “The basic, fundamental, threshold test for any factual
                    causation inquiry is the ‘but for’ test. X cannot be a cause of Y
                    if Y would in any event have occurred irrespective of - but for
                    - X.”


      178. MS Amlin sought to support this assertion by citing various judicial dicta that
      the “but for” test is an essential test which must be satisfied before a circumstance
      can be regarded as a cause in law or before, in the insurance context, the occurrence
      of an insured peril can be regarded as a proximate cause. In oral argument leading
      counsel for MS Amlin, Mr Gavin Kealey QC, sought to buttress this submission by
      the rhetorical use of emphasis and by pointing to the alleged failure of counsel for
      the FCA to find any insurance case which has held that a loss was caused by an
      insured peril that did not satisfy the “but for” test. Along with all the insurers’
      counsel, he also relied on the Orient Express case which we will consider later in
      this judgment.


      179. As the FCA has pointed out, the area described by the disease clauses which
      refer to a radius of 25 miles of the business premises is an area of a little under 2,000
      square miles. To put this in perspective, this is bigger than any city in the UK, more
      than three times the size of Surrey, roughly the combined size of Oxfordshire,
      Berkshire and Buckinghamshire, and around a quarter of the area of Wales. The
      FCA produced a map to show that the whole of England can be covered, more or
      less, by just 20 circles each with a 25 mile radius. Nevertheless, if - as the insurers
      submit - the relevant test in considering the Government measures taken in March
      2020 is to ask whether the Government would have acted in the same way on the
      counterfactual assumption that there were no cases of COVID-19 within 25 miles of
      the policyholder’s premises but all the other cases elsewhere in the country had
      occurred as they in fact did, the answer must, in relation to any particular policy, be
      that it probably would have acted in the same way. As already mentioned, the court
      below found as a fact (at para 112 of the judgment) that the Government response
      was a reaction to information about all the cases of COVID-19 in the country and
      that the response was decided to be national because the outbreak was so
      widespread. In these circumstances it is unlikely that the existence of an enclave
      with a radius of 25 miles in any one particular area of the country which was so far
      free of COVID-19 would have led to that area being excepted from the national
      measures or otherwise have altered the Government’s response to the epidemic. That
      in turn means that in the vast majority of cases it would be difficult if not impossible
      for a policyholder to prove that, but for cases of COVID-19 within a radius of 25
      miles of the insured premises, the interruption to its business would have been less.


      180. The facts of the present case are distinguishable in this respect from the facts
      of cases referred to above such as Wayne Tank and The “Miss Jay Jay” in which it
      has been held or recognised that an insured peril which acts in combination with
      other causes of equal efficacy to bring about loss is capable of being regarded as a

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      proximate cause. On the facts of those cases, although the insured peril was not
      sufficient on its own to cause loss, it was necessary in the sense that, but for the
      occurrence of the peril, the loss would not have been sustained. For example, in
      Wayne Tank the conduct of an employee who negligently left equipment switched
      on and unattended overnight before it had been tested, which was a risk insured
      against, would not have led to a fire which burnt down the factory if the equipment
      had not been defective. Equally, the fire would not have occurred if the equipment
      had been switched off. Each cause therefore satisfied the “but for” test.


      181. We agree with counsel for the insurers that in the vast majority of insurance
      cases, indeed in the vast majority of cases in any field of law or ordinary life, if event
      Y would still have occurred anyway irrespective of the occurrence of a prior event
      X, then X cannot be said to have caused Y. The most conspicuous weakness of the
      “but for” test is not that it wrongly excludes cases in which there is a causal link, but
      that it fails to exclude a great many cases in which X would not be regarded as an
      effective or proximate cause of Y. If, for example, a cargo is lost when a ship sinks,
      an unlimited number of circumstances could be identified but for which the loss
      would not have occurred. These will include some which may be plausible
      candidates for selection as a proximate cause - for example, the unseaworthy state
      of the vessel or exceptionally severe weather conditions. But they will also include
      an endless number of other circumstances. For example, it might equally be said that
      the loss would not have occurred but for the decision to manufacture the vessel, the
      decision of the owner or charterer to deploy the vessel on this particular route, the
      buyer’s decision to purchase the cargo and the seller’s decision to ship the cargo on
      that particular vessel, and so on. The main inadequacy, in other words, of the “but
      for” test is not that it returns false negatives but that it returns a countless number of
      false positives. That explains why it is often - and for most purposes correctly -
      described as a minimum threshold test of causation.


      182. It has, however, long been recognised that in law as indeed in other areas of
      life the “but for” test is inadequate, not only because it is over-inclusive, but also
      because it excludes some cases where one event could or would be regarded as a
      cause of another event. An example given by Hart and Honoré in their seminal
      treatise on Causation in the Law, 2nd ed (1985), p 206 is a case of two fires, started
      independently of each other, which combine to burn down a property: see
      Minneapolis, St P & S S M Ry Co, 146 Minn 430, 179 NW 45 (1920); Kingston v
      Chicago & NW Ry Co 191 Wis 610, 211 NW 913 (1927). It is natural to regard each
      fire as a cause of the loss even if either fire would by itself have destroyed the
      property so that it cannot be said of either fire that, but for that peril, the loss would
      not have occurred. Another example, adapted from the facts of the decision of the
      Supreme Court of Canada in Cook v Lewis [1951] SCR 830, is a case where two
      hunters simultaneously shoot a hiker who is behind some bushes and medical
      evidence shows that either bullet would have killed the hiker instantly even if the
      other bullet had not been fired. Applying the “but for” test would produce the result


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      that neither hunter’s shot caused the hiker’s death - a result which is manifestly not
      consistent with common-sense principles.


      183. In these examples each putative cause, although not necessary, was on the
      assumed facts sufficient to bring about the relevant harm. Such cases are thus often
      described as cases in which the result is causally “over-determined” or “over-
      subscribed”. There is, however, a further class of cases in which a series of events
      combine to produce a particular result but where none of the individual events was
      either necessary or sufficient to bring about the result by itself. A number of
      examples are given by Professor Jane Stapleton in her scholarly work on causation
      in law: see most recently J Stapleton, “Unnecessary causes” (2013) 129 LQR 39;
      and “An ‘extended but for’ test for the causal relation in the law of obligations”
      (2015) 35 OJLS 697.


      184. A hypothetical case adapted from an example given by Professor Stapleton,
      which was discussed in oral argument on these appeals, postulates 20 individuals
      who all combine to push a bus over a cliff. Assume it is shown that only, say, 13 or
      14 people would have been needed to bring about that result. It could not then be
      said that the participation of any given individual was either necessary or sufficient
      to cause the destruction of the bus. Yet it seems appropriate to describe each person’s
      involvement as a cause of the loss. Treating the “but for” test as a minimum
      threshold which must always be crossed if X is to be regarded as a cause of Y would
      again lead to the absurd conclusion that no one’s actions caused the bus to be
      destroyed.


      185. Other examples of a similar nature given by Professor Stapleton include a
      case where the directors of a company unanimously vote to put on the market a
      dangerous product which causes injuries, although the decision only required the
      approval of a majority. Again, it cannot be said that any individual director’s vote
      was either necessary or sufficient to cause the product to be marketed and yet it is
      reasonable to regard each vote as causative rather than to say that none of the votes
      caused the decision to be made. Another example is where multiple polluters
      discharge hazardous waste into a river. In all these cases each individual contribution
      is reasonably capable of being regarded as a cause of the harm that occurs, even
      though it was neither necessary nor sufficient to cause the harm by itself.


      The defence costs cases


      186. A leading modern case in the law of tort in which it was held that causation
      (in a case of successive conversions) did not require the “but for” test to be applied,
      at least in the ordinary way by asking whether the claimant would have suffered loss
      but for the defendant’s wrongful act, is Kuwait Airways Corpn v Iraqi Airways Co
      (Nos 4 and 5) [2002] UKHL 19; [2002] 2 AC 883 (see the opinion of Lord Nicholls
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      of Birkenhead at paras 72-83). Although such cases in any field of law are rare,
      counsel for the FCA were in fact able to point to a line of cases in the insurance field
      in which it has been held or accepted that policyholders are entitled to an indemnity
      even though the “but for” test of causation is not satisfied. These are cases
      concerning the recovery of defence costs.


      187. In McCarthy v St Paul International Insurance Co Ltd [2007] FCAFC 28;
      (2007) 157 FCR 402, a firm of solicitors engaged in mortgage-lending was sued by
      39 claimants who alleged that they were induced to lend by misrepresentations in an
      investment document. 36 of the misrepresentation claims against the firm succeeded
      and three failed. The firm claimed an indemnity under an insurance policy which
      provided cover for loss (including the costs of investigating and defending claims
      by third parties) “arising from any claim … in respect of any description of civil
      liability” but excluding liability brought about by fraud. It was held by the Federal
      Court of Australia that the firm was not entitled to an indemnity in relation to the 36
      claims as its liability had been brought about by fraud. However, the firm was
      entitled to be indemnified for the costs of defending the other three claims.
      Furthermore, as held by Allsop J (with whom Kiefel and Stone JJ agreed) at para
      119:


                    “… even if some investigation and defence costs can be seen
                    to be referable to both a claim in respect of which there is
                    indemnity and a claim in respect of which there is not, the
                    insureds are entitled to such costs because they fall into an
                    indemnity, otherwise untouched in its operation by any
                    exclusion.”


      In other words, costs that would have been incurred but for the insured claims
      because of the uninsured claims to which they were also referable were nevertheless
      held to constitute loss arising from an insured peril and were therefore recoverable.


      188. A similar approach was taken by the Privy Council in New Zealand Forest
      Products Ltd v New Zealand Insurance Co Ltd [1997] 1 WLR 1237. In that case
      costs were incurred in defending a claim brought against a company director who
      was insured against “all loss … which such officer has become legally obligated to
      pay on account of any claims made against him/her … for a wrongful act.” The
      claim was also brought against another person who was not insured. Both defendants
      were represented by the same lawyers. The issue was whether the insured director
      was entitled to an indemnity for defence costs which related at one and the same
      time to the defence both of the claim against him and of the claim against the
      uninsured third person. The Privy Council held that on the correct interpretation of
      the policy he was. Although the words “on account of” clearly required there to be
      a causal connection between the loss (comprising defence costs) and the claim

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      against the director for a wrongful act, the fact that the disputed costs would still
      have been incurred even if the director had not been legally obligated to pay them
      did not prevent their recovery. The wording did not confine the recoverable costs to
      those which related “solely and exclusively to the officer” (at p 1242). This decision
      was followed and its reasoning applied by the Supreme Court in International
      Energy Group Ltd v Zurich Insurance plc UK Branch (Association of British
      Insurers and another intervening) [2015] UKSC 33; [2016] AC 509, where Lord
      Mance (at para 37) described the costs covered by the indemnity in New Zealand
      Forest Products as arising “on a conventional causative basis” because of a claim
      made against the director for a wrongful act. As Lord Mance stated at para 38:


                    “Once it is shown that an insured has on a conventional basis
                    incurred defence costs which are covered on the face of the
                    policy wording, there is, as the New Zealand Forest case [1997]
                    1 WLR 1237 shows, no reason to construe the wording as
                    requiring some diminution in the insured’s recovery, merely
                    because the defence costs so incurred also benefited some other
                    uninsured defendant.”


      Multiple concurrent causes


      189. The question of causation becomes more difficult when the number of
      separate events that combine to bring about loss is multiplied many times over, so
      that, instead of there being two or 20 such events, there are, say, 200,000. Some
      scholars have contended that it is not appropriate to recognise trivial contributions
      as causes - for example, a teaspoon of water added to a flooding river or a match
      added to a raging forest fire. Others dispute this. Professor Richard Wright, another
      leading writer on causation in the law, has argued:


                    “Yet the teaspoon of water and the match contributed to and
                    are part of the flood and forest fire, respectively. What if the
                    same flood or fire were caused by a million (or many more)
                    different people all contributing a teaspoonful of water or a
                    single match? Denying that any of the teaspoonfuls or matches
                    contributed to the destruction of the property that was
                    destroyed by the flood or fire would leave its destruction as an
                    unexplained, non-caused miracle. As a pure matter of
                    causation, it cannot possibly matter whose hands supplied the
                    different bits of water, flame or fuel. What is driving the
                    intuition of no causation is the judgment regarding attributable
                    responsibility, which is especially brought to mind if the
                    question is posed as ‘Did the teaspoon of water or match
                    destroy the property?’ rather than ‘Did the teaspoon of water or

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                    match contribute, even if only extremely minimally, to the
                    flood or fire that destroyed the property?’ What is generally
                    agreed upon is that the trivial contributor should not be held
                    liable when her contribution was trivial in comparison to the
                    other contributing conditions and was neither strongly
                    necessary nor independently strongly sufficient for the injury
                    at issue, but this is a normative issue of attributable
                    responsibility rather than causal contribution.”


      See RW Wright, “The NESS Account of Natural Causation: A Response to
      Criticisms” in R Goldberg (ed), Perspectives on Causation (Hart 2011) 285 at pp
      304-305.


      190. We do not agree with Professor Wright in so far as he is suggesting in this
      passage that causation is a pure question of fact, albeit one that may be overlaid in
      areas such as tort and criminal law by questions of responsibility. Whether an event
      which is one of very many that combine to cause loss should be regarded as a cause
      of the loss is not a question to which any general answer can be given. It must always
      depend on the context in which the question is asked. Where the context is a claim
      under an insurance policy, judgements of fault or responsibility are not relevant. All
      that matters is what risks the insurers have agreed to cover. We have already
      indicated that this is a question of contractual interpretation which must accordingly
      be answered by identifying (objectively) the intended effect of the policy as applied
      to the relevant factual situation.


      191. For these reasons there is nothing in principle or in the concept of causation
      which precludes an insured peril that in combination with many other similar
      uninsured events brings about a loss with a sufficient degree of inevitability from
      being regarded as a cause - indeed as a proximate cause - of the loss, even if the
      occurrence of the insured peril is neither necessary nor sufficient to bring about the
      loss by itself. It seems incontrovertible that in the examples we have given there is
      a causal connection between the event and the loss. Whether that causal connection
      is sufficient to trigger the insurer’s obligation to indemnify the policyholder depends
      on what has been agreed between them.


      The causal link in the disease clauses


      192. We return to the disease clauses in the present case. We agree with Mr
      Kealey’s submission on behalf of MS Amlin that the right question to ask is: did the
      insured peril cause the business interruption losses sustained by the policyholder
      within the meaning of the causal requirements specified in the policy? Taking MSA
      1 as an example, the question is whether the interruption of the business carried on
      by the policyholder at the insured premises occurred “following” illness sustained
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      by any person resulting from COVID-19 within a radius of 25 miles of the premises.
      In particular, it is necessary to ask: would the causal requirement imposed by the
      word “following” be satisfied by showing that one or more cases of illness from
      COVID-19 had occurred within the specified radius before national restrictions
      which caused interruption of the insured business were imposed on the basis of those
      and all other cases of COVID-19 that had occurred by that date?


      193. The FCA submits that the causal requirement would be met in such
      circumstances, applying the alternative analysis of the court below that each
      individual case of illness from COVID-19 was an equally effective cause of the
      government measures and consequent business interruption. The insurers contend
      that a “but for” test should be applied or, alternatively, if that contention is rejected,
      that a single case of disease or a relatively small number of cases of disease
      occurring within the specified radius is not sufficient to satisfy the causal connection
      required by the policy.


      194. In deciding between these competing interpretations, we consider that the
      matters of background knowledge to which the court below attached weight in
      interpreting the policy wordings are important. The parties to the insurance contracts
      may be presumed to have known that some infectious diseases - including,
      potentially, a new disease (like SARS) - can spread rapidly, widely and
      unpredictably. It is obvious that an outbreak of an infectious disease may not be
      confined to a specific locality or to a circular area delineated by a radius of 25 miles
      around a policyholder’s premises. Hence no reasonable person would suppose that,
      if an outbreak of an infectious disease occurred which included cases within such a
      radius and was sufficiently serious to interrupt the policyholder’s business, all the
      cases of disease would necessarily occur within the radius. It is highly likely that
      such an outbreak would comprise cases both inside and outside the radius and that
      measures taken by a public authority which affected the business would be taken in
      response to the outbreak as a whole and not just to those cases of disease which
      happened to fall within the circumference of the circle described by the radius
      provision.


      195. We do not consider it reasonable to attribute to the parties an intention that
      in such circumstances the question whether business interruption losses were caused
      by cases of a notifiable disease occurring within the radius is to be answered by
      asking whether or to what extent, but for those cases of disease, business interruption
      loss would have been suffered as a result of cases of disease occurring outside the
      radius. Not only would this potentially give rise to intractable counterfactual
      questions but, more fundamentally, it seems to us contrary to the commercial intent
      of the clause to treat uninsured cases of a notifiable disease occurring outside the
      territorial scope of the cover as depriving the policyholder of an indemnity in respect
      of interruption also caused by cases of disease which the policy is expressed to
      cover. We agree with the FCA’s central argument in relation to the radius provisions

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      that the parties could not reasonably be supposed to have intended that cases of
      disease outside the radius could be set up as a countervailing cause which displaces
      the causal impact of the disease inside the radius.


      196. This conclusion is reinforced by the other matter to which the court below
      attached particular importance in interpreting the disease clauses. This is the fact
      that the relevant wordings do not confine cover to a situation where the interruption
      of the business has resulted only from cases of a notifiable disease within the radius,
      as opposed to other cases elsewhere. As leading counsel for the FCA, Mr Edelman,
      pointed out, to apply a “but for” test in a situation where cases of disease inside and
      outside the radius are concurrent causes of business interruption loss would give the
      insurer similar protection to that which it would have had if loss caused by any
      occurrence of a notifiable disease outside the specified radius had been expressly
      excluded from cover. If the insurers had wished to impose such an exclusion, it was
      incumbent on them to include it in the terms of the policy.


      197. We accordingly reject the insurers’ contention that the occurrence of one or
      more cases of COVID-19 within the specified radius cannot be a cause of business
      interruption loss if the loss would not have been suffered but for those cases because
      the same interruption of the business would have occurred anyway as a result of
      other cases of COVID-19 elsewhere in the country.


      The weighing approach


      198. The alternative argument cogently made by Mr Michael Crane QC, counsel
      for QBE, is that even if - as we have concluded - the policies on their proper
      interpretation do not require the “but for” test to be satisfied, it is still wrong to
      regard each of the individual cases of disease as a cause of the imposition of national
      measures and consequent business interruption losses. Rather than view each case
      individually, Mr Crane submits that the correct approach is to aggregate all the cases
      of disease which fall within the scope of the policy and to ask whether those cases,
      taken together, had an equal or similar causal impact when compared with the
      aggregate impact of all the cases of disease not covered by the policy. Wherever in
      the country a policyholder’s business is located, the answer to that question will
      almost certainly be no. That is because, by the time of the actions taken by the UK
      Government in March 2020, COVID-19 had spread across most of the country; and,
      wherever on a map of the UK a circle with a 25 mile radius was drawn, the number
      of cases which had occurred within that radius would have been relatively small
      compared with the total number of cases elsewhere. On this analysis, therefore, the
      overwhelmingly dominant cause of business interruption loss was occurrences of
      disease not covered by the insurance. Hence it cannot be said that the loss was
      proximately caused - or on a realistic view caused at all - by an insured peril.


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      199. Once again, the question is one of interpretation. We have concluded earlier
      that the word “occurrence”, as it is used in the disease clauses, bears its ordinary
      meaning of something which happens at a particular time, at a particular place and
      in a particular way; that each individual case of disease is properly regarded as a
      separate insured occurrence; and that those policies which do not use that term
      should nevertheless be interpreted similarly. The starting point for the analysis of
      causation is therefore that the occurrence of each case of illness sustained as a result
      of COVID-19 is a separate peril and thus potentially a separate cause of loss.


      200. This does not mean that cases of disease cannot combine to cause loss that
      would not have resulted from any individual case of disease had it occurred alone.
      That is what would normally be expected to happen and precisely what has happened
      in the present case, albeit on a far greater scale than might have been anticipated.
      We would accept that the language of the policies is not inconsistent with an
      interpretation whereby, when cases of disease combine to cause loss, an insured
      occurrence of disease is not to be regarded as a proximate cause unless the other
      insured cases of disease with which it has combined, taken together, are of similar
      causal potency as any uninsured cases of disease (also viewed together). We do not
      consider, however, that this interpretation is one that makes commercial sense of the
      disease clauses.


      201. An approach which involves weighing the relative potency of insured and
      uninsured causes in such a way might be appropriate if it were feasible to apportion
      the financial loss sustained by a policyholder’s business between different cases or
      groups of cases of disease. However, that is not a realistic possibility. Where
      interruption of a business is caused by an outbreak of an infectious disease, the
      situation is not one of discrete concurrent causes each of which, acting on its own,
      would have caused part of the loss but not the whole of it. Although we do not think
      that it was strictly accurate for the court below to describe all the cases of COVID-
      19 in the country as indivisible, what plainly is indivisible is the effect of such cases,
      via the measures taken by the UK Government, on any insured business. As the loss
      is indivisible, the question whether it was caused by an insured peril is an all or
      nothing one.


      202. To attempt to answer that question by weighing the relative potency of
      insured and uninsured cases of disease would in many situations be unworkable.
      Suppose, for example, that some local restrictions were imposed in response to an
      outbreak of disease occurring partly inside and partly outside the specified radius of
      the premises and the restrictions had a damaging effect on the insured business. It is
      difficult to see how the weighing approach could provide a rational basis for
      determining whether the cases within the radius should be regarded as causes of the
      business interruption within the meaning of the policy. In the first place, it would
      potentially involve a complex and costly factual inquiry to try to find out exactly
      where all the cases of disease had occurred and how many occurred within and

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      without the radius. Assuming that this information could be obtained, the next
      question would be what number or proportion of the cases is required to fall inside
      the radius in order for those cases to be regarded as causes of the business
      interruption for the purpose of the policy. Is it necessary, for example, to show that
      at least half of the cases to which the authorities were responding occurred inside
      the radius? Presumably not, since causes, in order to be regarded as proximate, do
      not have to be of precisely equal efficacy. So what lesser proportion would suffice?
      Is the threshold 40%, or 30%, or some other proportion, of the total number of cases?
      Or would even a small proportion count if the number of cases involved was in
      absolute terms sufficiently large? The policies provide no basis for answering these
      questions or for preferring any particular criterion to another.


      203. The still more fundamental objection to this approach is that again, as with
      the application of a “but for” test, it sets up cases of disease occurring outside the
      territorial scope of the cover in competition with the occurrences of disease within
      its scope in determining whether the policy will respond. Staying with the example
      of an outbreak of disease occurring partly inside and partly outside the specified
      radius which results in the imposition of restrictions over an area which includes the
      insured premises, suppose that the majority of cases (or whatever is the number or
      proportion which means there is no cover) have occurred outside the radius. Suppose
      also that the same restrictions would still have been imposed if the cases outside the
      radius had been somewhat fewer such that the majority of cases were inside the
      radius. On the weighing approach the slightly different incidence of cases outside
      the radius would nevertheless have the result that the insurers were not liable to pay.
      The policies could not rationally have been intended to operate in such a whimsical
      way.


      204. It is important to note that the irrational consequences of the weighing
      approach that we are considering are not simply the effects of applying a hard-edged
      rule. A speed limit of 30 mph is in one sense arbitrary in that someone driving at a
      speed of 31 mph commits an offence, whereas someone driving at a speed of 29
      mph does not, even though there may be no difference between them in terms of the
      danger actually posed to road users. Nevertheless, the benefits of having a clear rule
      which is relatively straightforward to apply far outweigh any objection based on its
      arbitrary effects. In a similar way, it is entirely reasonable for insurers to set a
      territorial limit to the scope of business interruption cover which is arbitrary in the
      sense that there is no particular logic for selecting a radius of 25 miles, rather than
      24 or 26, to define it and though the consequence of selecting a specific distance
      will inevitably be that there will be no cover for business interruption in some cases
      when on very slightly different facts there would have been cover.


      205. What is different about the weighing approach is, first of all, that it in fact
      defeats the intention apparent from the choice of a 25-mile radius that there should
      be a hard-edged rule. As we have noted, on the weighing approach the policy

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      provides no identifiable criterion, let alone a hard-edged one, for deciding what
      number or proportion of disease cases must fall inside the specified radius in
      comparison with the number or proportion occurring outside it in order to trigger
      cover. Secondly, making the availability of cover depend on the number or relative
      number of cases of disease occurring outside the territorial limit of the policy as well
      as on the number within it seems to us to introduce a different and further form of
      arbitrariness into the operation of the policy that - unlike the application of a clear
      rule - lacks a rational basis.


      The individual cause analysis


      206. By contrast, an interpretation that recognises the causal requirements of the
      policy wordings as being satisfied in circumstances where each case of disease
      informs a decision to impose restrictions and treats each such case as a separate and
      equally effective cause of the restrictions irrespective of its geographical location
      and the locations of other such cases avoids such irrational effects and the need for
      arbitrary judgments and is also clear and simple to apply. This accords with the
      presumed intention of the parties to an insurance product sold principally to SMEs
      and often with relatively low financial limits. (For example, under MSA 1 the
      maximum payable for any one loss is £100,000.) It also accords with the desire for
      certainty manifest in the definition of cover by reference to a specific radius of 25
      miles (or one mile) of the insured premises.


      207. This interpretation of the policies arrives at a broadly similar result to that
      reached by the court below, but by a different route. The court below interpreted the
      disease clauses as covering the effects of each case of disease wherever in the
      country it occurs, provided that at least one case occurs within the radius specified
      in the clause. On the interpretation that we think makes best sense, only the effects
      of any case occurring within the radius are covered but those effects include the
      effects on the business of restrictions imposed in response to multiple cases of
      disease any one or more of which occurs within the radius.


      208. Counsel for the insurers advanced an argument against the interpretation
      adopted by the court below which, if valid, would also apply to our preferred
      interpretation. The argument is that it leads to absurd results. Counsel for MS Amlin
      invited the court to take as an example the Scilly Isles, which they say did not have
      a single case of COVID-19 until September 2020. They submit that, if the
      interpretation were correct, it would mean that a policyholder located on the Scilly
      Isles would be entitled to an indemnity if it could be shown that a trawler sailed
      within 25 miles of the insured premises with a single person on board who had
      contracted COVID-19 (and even if the disease had not yet been diagnosed). Another
      similar example postulated by Mr Kealey in oral argument is one where someone


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      with COVID-19 passes within 25 miles of the insured premises while travelling on
      a train through the area.


      209. We do not accept the underlying premise of this argument that the radius
      provisions should be read in such a narrow and literal way. On a realistic view of
      what is meant by an occurrence of a notifiable disease within a 25 mile radius of the
      insured premises, we do not think that the insured peril would reasonably have been
      intended to include a person who is not even visiting let alone resident in the
      specified area and who merely passes through it on a journey which involves no
      contact with anyone living in the area and therefore no risk of transmitting the
      disease to any such person. Accordingly, we do not consider that these examples
      shed light on the correct interpretation of the policies.


      210. Although the court below concluded that each of the individual cases of
      COVID-19 which had occurred by any given date is properly regarded as a separate
      but equally effective cause of Government action taken at that date, it does not
      appear to have followed through the logic of its analysis. When considering the
      disease clause in QBE 2, which the court interpreted - correctly in our view - as
      covering only cases of a notifiable disease occurring within the specified radius of
      the premises, the court stated (at para 235 of the judgment):


                    “… it does not appear to us that the causation requirement
                    could be satisfied on the basis that the cases within the area
                    were to be regarded as … one of many independent causes each
                    of which was an effective cause, because this clause, in our
                    view, limits cover only to the consequences of specific events.”


      Declaration 12.1 of the court’s order, which relates to QBE 2, declares that there is
      cover “only if any interruption or interference was caused by such occurrence(s) [ie
      any occurrence(s) within the radius], as distinct from COVID-19 outside that area”.


      211. This conclusion, in our respectful view, overlooks the point previously
      described by the court (at para 102 of the judgment) as fundamental that the radius
      provisions do not limit cover to a situation where the interruption of the business
      was caused only by cases of disease occurring within the area, as distinct from other
      cases outside the area.


      212. We conclude that, on the proper interpretation of the disease clauses, in order
      to show that loss from interruption of the insured business was proximately caused
      by one or more occurrences of illness resulting from COVID-19, it is sufficient to
      prove that the interruption was a result of Government action taken in response to
      cases of disease which included at least one case of COVID-19 within the

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      geographical area covered by the clause. The basis for this conclusion is the analysis
      of the court below, which in our opinion is correct, that each of the individual cases
      of illness resulting from COVID-19 which had occurred by the date of any
      Government action was a separate and equally effective cause of that action (and of
      the response of the public to it). Our conclusion does not depend on the particular
      terminology used in the clause to describe the required causal connection between
      the loss and the insured peril and applies equally whether the term used is
      “following” or some other formula such as “arising from” or “as a result of”. It is a
      conclusion about the legal effect of the insurance contracts as they apply to the facts
      of this case.


      Prevention of access and hybrid clauses


      213. The above analysis is also applicable to those hybrid clauses which contain,
      as one element, an occurrence of an infectious disease within a specified distance of
      the insured premises. For example, the relevant clause in RSA 1 covers “loss as a
      result of … closure or restrictions placed on the Premises as a result of a notifiable
      human disease manifesting itself at the Premises or within a radius of 25 miles of
      the Premises”. In order to show that business interruption loss is covered by this
      clause, it will be sufficient to prove that the interruption was a result of closure or
      restrictions placed on the premises in response to cases of COVID-19 which
      included at least one case manifesting itself within a radius of 25 miles of the
      premises.


      214. As noted earlier, however, unlike the disease clauses, the hybrid and
      prevention of access clauses specify more than one condition which must be
      satisfied in order to establish that business interruption loss has been caused by an
      insured peril. Furthermore, the structure of these clauses is that the elements of the
      clause are required to operate in a causal sequence. A good example is the public
      authority clause in Hiscox 1-3 (set out more fully at para 111 above), which covers
      financial losses “resulting solely and directly from an interruption to your activities
      caused by … your inability to use the insured premises due to restrictions imposed
      by a public authority during the period of insurance following … an occurrence of
      any human infectious or human contagious disease, an outbreak of which must be
      notified to the local authority” (our emphasis).


      215. The first of these causal links - between financial losses and an interruption
      to the policyholder’s activities - is of less significance than the others. That is
      because, although the FCA has suggested otherwise, we think it clear that the
      interruption is not part of the description of the insured peril. The concept of business
      interruption in insurance of this kind was in our view correctly analysed by Mr
      Simon Salzedo QC in his submissions on behalf of Argenta. It is a description of the
      type of loss or damage covered by the policy, in the same way as the type of loss or

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      damage covered by, for example, a buildings insurance policy is physical destruction
      or damage. Thus, in a buildings insurance policy, unless the policy otherwise
      provides, the insurer is liable for the contractual measure of (i) destruction of or
      physical damage to the insured buildings, which is (ii) proximately caused by (iii) a
      peril insured against under the policy (such as fire, storm etc). In business
      interruption insurance an interruption to the policyholder’s business or activities is
      the counterpart of the first of these elements. It describes the nature of the harm to
      the policyholder’s interest in the subject matter of the insurance for which an
      indemnity is given if it is proximately caused by an insured peril.


      216. In the Hiscox clause quoted above the first causal link is therefore concerned
      with the pecuniary measure of the interruption caused by an insured peril.
      Nevertheless, the peril covered by the clause is itself a composite one comprising
      elements that are required to occur in a causal sequence in order to give rise to a
      right of indemnity. Setting out the elements of the insured peril in their correct causal
      sequence, they are: (A) an occurrence of a notifiable disease, which causes (B)
      restrictions imposed by a public authority, which cause (C) an inability to use the
      insured premises, which causes (D) an interruption to the policyholder’s activities
      that is the sole and direct cause of financial loss. Counsel for Hiscox in their
      submissions on this issue usefully represented the structure of the clause in a
      symbolic form as                                                     causal connection.


      217. An important question which divides the parties is how in these
      circumstances the elements of the clause interact with each other in determining
      whether or to what extent loss has been proximately caused by an insured peril.


      The approach of the court below


      218. The court below approached this question on the basis that it requires an
      application of the “but for” test by ascertaining what the financial position of the
      policyholder’s business would have been but for the occurrence of the insured peril.
      This must then be compared with the actual financial position of the business to
      establish the extent of the indemnity. The court considered that where, as in the case
      of the Hiscox clause, the peril is a composite one requiring a series of elements to
      be established, this “but for” test should be applied by asking what the position of
      the insured business would have been if none of the elements had occurred. The
      court explained this approach “as a matter of application of the insuring clause” in
      the following passage (at para 278 of the judgment):


                    “… we consider that the exercise must give effect to the
                    insurance effected. This means assuming that the insured peril
                    did not occur. The insured peril is a composite one, involving
                    three interconnected elements: (i) inability to use the insured
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                    premises (ii) due to restrictions imposed by a public authority
                    (iii) ‘following’ one of (a) to (e), relevantly (b) an occurrence
                    of an infectious or contagious disease. What the insured is
                    covering itself against is, we consider, the fortuity of being in
                    a situation in which all those elements are present. In answering
                    the counterfactual question as to what would have been the
                    position of the insured’s business but for the occurrence of the
                    insured peril, it is accordingly necessary to strip out all three
                    interconnected elements, including in this instance the national
                    outbreak of COVID-19.”


      219. Hiscox criticises this reasoning, pointing out that, if correct, it would mean
      that, where all the elements of the insured peril are present, Hiscox would be liable
      to indemnify the policyholder against all the effects on its business of the national
      outbreak of COVID-19. This, however, is manifestly not what Hiscox has agreed to
      cover. More generally, the court’s approach would have the result that, however
      many the elements of the causal combination in a composite peril and however
      narrow in consequence the insured peril, once all elements are acting in combination
      such that the insured peril has occurred, the insurer becomes liable for all the
      consequences of the first element of the causal chain. Using the Hiscox symbols, on
      the court’s approach, once the                    causal chain is established, all the
      consequences of A are recoverable under the insurance. Logically, Hiscox submits,
      the position should be the reverse: the narrower the insured peril, the narrower the
      consequences for which the policyholder is entitled to an indemnity.


      220. These points are well made. It seems to us that, having correctly identified
      the fortuity covered by the insurance as a situation in which all three interconnected
      elements are present, the court erred by adopting a test which does not reflect that
      fortuity. The effect of “stripping out” all three elements in considering what the
      position of the business would have been but for the occurrence of the insured peril
      is to ask what its position would have been if none of those elements had occurred -
      including, as the court said, the national outbreak of COVID-19. That, however, is
      to treat the insured peril as being, not the risk of all three elements occurring (in
      causal sequence), but the risk of any one or more of the elements occurring. That
      would include a situation where there was an outbreak of a notifiable disease which
      caused interruption and loss to the business but which did not lead to any restriction
      being imposed that resulted in inability to use the premises. That is not the indemnity
      which the insurer agreed to give.


      The insurers’ approach


      221. Although, for these reasons, we consider that the court’s analysis was
      mistaken, so too in our opinion is the alternative approach for which Hiscox (and

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      the other insurers for whom this question is relevant) contend. Counsel for Hiscox
      assert that the “core” or “essence” of the peril insured against by the public authority
      clause in the Hiscox policies is “restrictions imposed by a public authority”. From
      this, they invite the inference that the relevant counterfactual question to ask is what
      would the financial position of the business have been if the public authority had not
      imposed the restriction(s) which resulted in inability to use the insured premises.
      This should then be compared with the actual financial position of the business to
      determine the scope of the indemnity.


      222. The first difficulty with this approach is the internally inconsistent way in
      which Hiscox has sought to define the relevant counterfactual scenario. In oral
      argument leading counsel for Hiscox, Mr Jonathan Gaisman QC, took as an example
      a nail salon which was forced to close by regulation 4 of the 26 March Regulations,
      as nail salons were one of the businesses listed in Part 2 of Schedule 2. He submitted
      that the relevant counterfactual is one in which nail salons were allowed to stay open
      but everything else which happened as a result of the COVID-19 pandemic
      happened as it actually did. The indemnity is therefore limited to such additional
      loss of business as was suffered as a result of nail salons being forced to close
      compared with the loss that would have been suffered anyway in a world in which
      nail salons had been permitted to stay open but all other restrictions such as the other
      closures and restrictions imposed by regulations 4 and 5 and the prohibition in
      regulation 6 against leaving home without reasonable excuse, along with all other
      consequences of the pandemic, were the same as in the real world.


      223. There is no logical reason, however, why in this example the “restriction
      imposed” should be characterised as the inclusion of nail salons in Part 2 of Schedule
      2, rather than, say, the whole of regulation 4 or the whole of the 26 March
      Regulations or, more narrowly, regulation 4 in so far as it resulted in inability to use
      the insured premises. Indeed, the logic of Hiscox’s approach indicates that the last
      of these scenarios is the correct counterfactual. That is because - as Hiscox submits,
      in our view correctly - the protection which it agreed to provide is against all the
      elements specified in the clause acting in causal combination to cause interruption
      of the business. One of those elements is inability to use the insured premises. Each
      additional element in the causal chain narrows the consequences for which the
      policyholder is entitled to an indemnity. Thus, the final link narrows the
      consequences covered by the policy from all the consequences of the “restriction
      imposed” to only those consequences which result from the policyholder’s inability
      to use the insured premises. If, therefore, the correct approach is - as Hiscox submits
      - to determine what the position of the business would have been but for the
      occurrence of (all the elements of) the insured peril, the appropriate assumption to
      make is that everything would have happened as it did except for the last link in the
      causal chain. In other words, the actual position of the business should be compared
      with what its position would have been if there had been a national outbreak of
      COVID-19 which led to the imposition of all the restrictions which were in fact


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      imposed by the Government, including the restriction which required nail salons to
      close, but this restriction did not apply (uniquely) to the policyholder’s business.


      224. This conclusion may not be an attractive one for Hiscox as in this
      counterfactual scenario - in which the insured business is assumed to have been the
      only nail salon in the country permitted to stay open - it seems plausible that, in the
      absence of any competition, the turnover of the business during the indemnity period
      might well have been higher than it in fact was.


      225. Hiscox seeks to avoid this conclusion by its argument that “restrictions
      imposed by a public authority” is the “core” or “essence” of the peril insured under
      the clause. This is then relied on as a justification for ignoring the final element in
      the causal chain (inability to use the insured premises) in framing the relevant
      counterfactual question. However, we can see no warrant for such an approach. The
      last element in the causal chain is just as much part of the insured peril as the other
      elements. Using the Hiscox symbols, leaving it out of account in framing the
      counterfactual question involves treating the insured peril as if it were not
                                                                                  the court’s
      approach, involves an impermissible recasting of the parties’ bargain.


      226. Hiscox did not agree to indemnify the policyholder against all business
      interruption resulting from restrictions imposed by a public authority but only
      against interruption resulting from the policyholder’s inability to use the insured
      premises due to such restrictions. At various points in their submissions counsel for
      Hiscox recognised the logic of their analysis - for example, when stating in their
      written case (at para 42) that “what one strips out of the counterfactual is COVID-
      19 insofar as it leads to restrictions imposed causing an inability to use causing an
      interruption … Otherwise, COVID-19 and its effects and consequences remain in
      the counterfactual.”


      227. Once it is recognised that the approach for which Hiscox contends logically
      requires assuming in the counterfactual scenario the imposition of all the restrictions
      which were in fact imposed by the Government but that those restrictions did not
      require the insured premises to close, it can readily be seen that this approach is just
      as open to criticism as that of the court below. That is because it treats the insured
      peril as the risk that, if there was an outbreak of a notifiable disease sufficiently
      serious to lead a public authority to impose restrictions, the only effect of those
      restrictions (and of the outbreak of disease) would be to cause business interruption
      through inability to use the insured premises. On Hiscox’s interpretation of its policy
      wording, to the extent that the imposition of the restrictions and/or the outbreak of
      disease would have caused business interruption anyway even if the policyholder
      had remained able to use the premises, the interruption is not covered by the policy.
      In the present case the indemnity is thus confined on this interpretation to loss that

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      would have been avoided if COVID-19 and its consequences, including the
      imposition of the Government restrictions, had all occurred as they actually did save
      that the policyholder had (uniquely) been allowed to keep its premises open. No
      reasonable policyholder would have understood the insurance cover which it was
      getting to be insurance against such a narrow and fanciful risk. If Hiscox’s
      interpretation were correct, it would make the public authority clause in the Hiscox
      policies a wholly uncommercial form of insurance which we cannot imagine that
      any insurer would see any sense in offering or that anyone running a business would
      see any sense in buying.


      The “but for” test again


      228. In our view, where both the analyses that we have so far been considering go
      wrong is in their initial assumption that the correct counterfactual question to ask is:
      what would the financial position of the business have been but for the occurrence
      of the insured peril? The effect of applying that test is to limit the indemnity to
      business interruption loss which is solely and exclusively caused by the insured peril
      and has no other concurrent proximate cause. However, whilst the wording does
      include the words “solely and directly”, those words (as noted earlier) form part of
      the description of the loss; they do not restrict the scope of the indemnity to
      interruption of the business which is proximately caused by an insured peril and has
      no other concurrent proximate cause. In so far, therefore, as Hiscox seeks to rely on
      the words “solely and directly” as one of its grounds of appeal to argue that the
      extent of the indemnity provided is only in respect of losses proximately caused by
      the insured peril alone and nothing else, its argument is misplaced. In any event, it
      would in our view take clearer words than these to justify an interpretation which
      would treat the cover as so limited and uncommercial in its scope.


      229. To illustrate this further, we can take the example of a restaurant (with no
      takeaway or delivery service) forced to close pursuant to the 21 and 26 March
      Regulations. The effect of closing the restaurant would be to reduce the turnover of
      the business to nil. We do not consider that it would be consistent with the intended
      scope of the cover for the insurer to reject a claim for the resulting loss on the basis
      that the turnover would have been reduced anyway because of other consequences
      of national measures taken in response to COVID-19, such as the prohibition on
      leaving home without reasonable excuse. Such matters might have been sufficient
      to cause business interruption loss in the absence of the insured peril. To that extent,
      the losses covered by the public authority clause include losses which would have
      occurred even without the public authority restrictions. But it does not follow that
      the losses are irrecoverable.


      230. Hiscox invited the court to regard the FCA’s submission to this effect as
      obviously fallacious. Mr Gaisman described it as a “thirteenth chime” - by which

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      we understood him to mean an assertion which “like the thirteenth stroke of a crazy
      clock … not only is itself discredited but casts a shade of doubt over all previous
      assertions”: see Lord Light LCJ in the fictional case of Rex v Haddock in AP
      Herbert, Uncommon Law (1935), p 28. In our view, however, Hiscox has
      miscounted. The reason why such losses would have occurred in any event is that
      there are two (or more) causes each of which would by itself have inevitably brought
      about the loss without the other(s). The case is therefore one where the loss is “over-
      determined”. It is analogous to the example discussed earlier of two fires which
      combine to burn down a house although each would have done so even without the
      other. The fact that (because of the other fire) neither fire satisfies the “but for” test
      does not mean that in identifying each fire as a cause of the loss anything has gone
      wrong with the clock mechanism.


      231. It is not every concurrent cause of loss, however, which (although not an
      expressly excluded peril) would not reasonably be regarded as limiting the scope of
      the indemnity provided by the public authority clause. Continuing with the
      restaurant example, counsel for the FCA postulated a case where the restaurant had
      a star chef who was due to leave on 1 April 2020 for reasons unrelated to the
      pandemic. In this case it would be unreasonable to require the insurer to indemnify
      the policyholder for loss of turnover resulting from inability to use the premises in
      so far as such turnover would have been reduced in any event by reason of the chef’s
      departure.


      232. The distinction between the departure of the chef and the consequences of
      COVID-19 which would have reduced the turnover of the restaurant in any event is
      in our view to be found in other parts of the judgment under appeal.


      The court’s alternative reasoning


      233. In addition to the reasoning in para 278 of the judgment (quoted at para 218
      above) which we cannot support, the court below gave other reasons for leaving out
      of account all the elements of the insured peril when assessing what loss is covered
      by the insurance.


      234. The main thrust of these reasons is that, in a situation where loss is caused by
      a composite peril - such as inability to use the insured premises caused by
      restrictions imposed by a public authority caused by an occurrence of a notifiable
      disease - the concurrent consequences of the different elements are “inextricably
      linked” and to attempt to separate them would be “artificial and unrealistic”. This
      point is made in a number of places in the judgment. For example, in discussing the
      prevention of access clause in the Arch wording (which we consider below), the
      court said (at para 348 of the judgment):

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                    “… the approach advocated by the insurers of stripping out the
                    government restrictions etc and their immediate effect …
                    whilst leaving the pandemic and its economic and social effects
                    is entirely artificial and ignores the inextricable connection
                    between the various elements of the insured peril, both as a
                    matter of legal analysis and as a matter of practical reality,
                    given the nature of the pandemic emergency.”


      235. The phrase “inextricable connection”, as we read the judgment, is used by
      the court in two different senses. One point made is that different effects of the
      pandemic and Government restrictions may be extremely difficult or impossible to
      disentangle. The court did not consider it a reasonable interpretation of the policies
      that the policyholder can only recover such loss as would have occurred in the
      absence, for example, of Government restrictions when the very effect of the
      restrictions will almost inevitably be to make it impossible to say with certainty what
      the position would have been in that event (see para 280 of the judgment).


      236. We do not consider this argument to be a strong one. We agree with counsel
      for Hiscox that it is in the nature of business interruption claims that they can give
      rise to difficult questions of quantification, often concerning what would have
      happened in hypothetical circumstances. That might be so, for instance, in the case
      of the restaurant with a famous chef who was due to leave on 1 April. It might be
      very difficult and uncertain to estimate what the effect on turnover of the chef
      leaving would have been if the restaurant had not been required to close on 21
      March. Yet such difficulty of proof is not a sufficient reason to ignore the effects of
      the chef’s departure.


      237. The other sense in which the elements of the insured peril are inextricably
      connected is that those elements and their effects on the policyholder’s business all
      arise from the same original cause - in this case the COVID-19 pandemic. It is
      inherent in a situation where the elements of the peril insured under the public
      authority clause occur in the required combination to cause business interruption
      that there has been an occurrence of a notifiable disease which has led to the
      imposition of restrictions by a public authority. It is entirely predictable and to be
      expected that, even if they had not led to the closure of the insured premises, those
      elements of the insured peril would have had other potentially adverse effects on the
      turnover of the business. We have already expressed our view that it would
      undermine the commercial purpose of the cover to treat such potential effects as
      diminishing the scope of the indemnity. The underlying reason, as it seems to us, is
      that, although not themselves covered by the insurance, such effects are matters
      arising from the same original fortuity which the parties to the insurance would
      naturally expect to occur concurrently with the insured peril. They are not in that
      sense a separate and distinct risk.


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      238. The court below (at para 281 of the judgment) discussed an example, based
      on a different limb of the Hiscox public authority clause wording, of inability to use
      restaurant premises due to restrictions imposed by the local authority following the
      discovery of vermin dislodged from a nearby building site. The court said that, to
      interpret the indemnity as limited to loss that would not have been suffered but for
      the forced closure of the premises “would render the cover largely illusory, as
      insurers would argue that, as no one is likely to want to eat at a restaurant infested
      by vermin, all or most of the business interruption loss would have been suffered in
      any event.” The court considered that such cover “cannot have been intended and is
      not what we consider would reasonably be understood to be what the parties had
      agreed to”.


      239. We agree and consider the underlying explanation to be that, where insurance
      is restricted to particular consequences of an adverse event (such as in this example
      the discovery of vermin in the premises) the parties do not generally intend other
      consequences of that event, which are inherently likely to arise, to restrict the scope
      of the indemnity.


      240. This principle is not limited to a situation where a causal chain is specified in
      the insuring clause, as it is in the Hiscox clause. It applies equally to an originating
      cause of loss covered by the policy which is not expressly mentioned. In the case of
      the Hiscox 4 wording, for example, the first element in the specified causal chain is
      an occurrence of a notifiable human disease within one mile of the insured premises.
      Where there is such an occurrence, the disease is very likely also to have occurred
      elsewhere. In the present case the originating cause of any local occurrence of
      disease is the global COVID-19 pandemic. In circumstances where the policy does
      not exclude loss arising from such an event, other concurrent effects of the pandemic
      on an insured business do not reduce the indemnity under the public authority clause.


      241. An analogy is provided by the facts of IF P & C Insurance Ltd v Silversea
      Cruises Ltd [2003] EWHC 473 (Comm); [2004] Lloyd’s Rep IR 217. That case
      concerned a cruise operator’s claim for business interruption losses from a downturn
      in bookings arising from US State Department warnings issued following the 9/11
      terrorist attacks. The insured peril was the State Department warnings regarding
      terrorist activities rather than the terrorist activities themselves. It was common
      ground that the 9/11 attacks and the warnings were concurrent causes of the
      downturn in bookings. An argument that the causative effects of the terrorist attacks
      and the State Department warnings could be separated out was rejected by
      Tomlinson J on the grounds that “[i]t is simply impossible to divorce anxiety derived
      from the attacks themselves from anxiety derived from the stark warnings issued in
      the immediate aftermath” (para 68). He further held that “since the consequences of
      the events of September 11 are not … excluded from the ambit of the cover, as
      opposed to being simply not covered, a claim under the policy must lie” (para 69).


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      242. On appeal the insurers raised a new argument that the 9/11 events themselves
      were an excluded peril. The Court of Appeal at [2004] EWCA Civ 769; [2004]
      Lloyd’s Rep IR 696 rejected this argument. Rix LJ (with whom the other members
      of the court agreed) held that, on the proper interpretation of the policy, at para 104:


                    “There is no intention under this policy to exclude loss directly
                    caused by a warning concerning terrorist activities just because
                    it can also be said that the loss was also directly and
                    concurrently caused by the underlying terrorist activities
                    themselves.”


      Conclusion on the Hiscox wording


      243. The conclusion we draw is that, properly interpreted, the public authority
      clause in the Hiscox policies indemnifies the policyholder against the risk (and only
      against the risk) of all the elements of the insured peril acting in causal combination
      to cause business interruption loss; but it does so regardless of whether the loss was
      concurrently caused by other (uninsured but non-excluded) consequences of the
      COVID-19 pandemic which was the underlying or originating cause of the insured
      peril.


      244. This interpretation, in our opinion, gives effect to the public authority clause
      as it would reasonably be understood and intended to operate. For completeness, we
      would point out that this interpretation depends on a finding of concurrent causation
      involving causes of approximately equal efficacy. If it was found that, although all
      the elements of the insured peril were present, it could not be regarded as a proximate
      cause of loss and the sole proximate cause of the loss was the COVID-19 pandemic,
      then there would be no indemnity. An example might be a travel agency which lost
      almost all its business because of the travel restrictions imposed as a result of the
      pandemic. Although customer access to its premises might have become impossible,
      if it was found that the sole proximate cause of the loss of its walk-in customer
      business was the travel restrictions and not the inability of customers to enter the
      agency, then the loss would not be covered.


      The Arch prevention of access clause


      245. The “Government or Local Authority Action” clause in the Arch wording
      indemnifies the policyholder in respect of reduction in turnover resulting from:




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                    “Prevention of access to The Premises due to the actions or
                    advice of a government or local authority due to an emergency
                    which is likely to endanger life or property.” (Our emphasis)


      As Arch correctly submits, under this clause the policyholder is only entitled to
      recover those business interruption losses which are the product of the specified
      causal sequence: that is to say, losses which are caused by (i) prevention of access
      to the premises, which is caused by (ii) the actions or advice of a government or
      local authority, which in turn is caused by (iii) an emergency which is likely to
      endanger life (or property).


      246. Mr John Lockey QC for Arch further submits - again, in our view, clearly
      correctly - that the Arch clause does not cover loss of turnover caused by an
      emergency or by Government actions or advice in response to an emergency but
      which is not brought about by prevention of access to the premises. It is only loss
      occasioned by prevention of access to the premises that is covered by the clause. He
      then, however, goes on to submit that in assessing that loss the correct comparison,
      to reflect the agreement to indemnify, is between the actual turnover of the business
      and what the turnover would have been on the assumption that the premises had
      been required to close but everything else had remained the same, including the
      COVID-19 pandemic (which Arch accepts is an “emergency which is likely to
      endanger life”).


      247. In our view, this contention involves the same error as the case put forward
      by Hiscox. It incorrectly treats the indemnity as confined to loss which would not
      have occurred but for the operation of the insured peril. In the restaurant example
      discussed earlier, it may very well be true that, if the premises had not been forced
      to close, turnover would have been reduced in any event as a result of other effects
      of the emergency, including Government actions and advice. But it is also true that,
      if there had been no other effects of the emergency, or of Government actions and
      advice, this turnover would still have been lost as a result of the premises being
      forced to close. To this extent, there were concurrent causes of loss, each sufficient
      to cause loss without the other. Furthermore, these concurrent causes arose out of
      the same underlying or originating cause, namely the COVID-19 pandemic. As with
      the Hiscox policies, on the correct interpretation of the Arch wording, such loss is
      in our view covered by the policy.


      RSA 1


      248. In the Hiscox clauses there are four causally connected elements in the
      description of the insured peril and in the Arch clause there are three. In the hybrid
      clause in RSA 1 there are only two such elements, namely (i) closure or restrictions
      placed on the premises as a result of (ii) a notifiable human disease manifesting itself
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      at the premises or within a radius of 25 miles of the premises. The number of
      elements in the clause, however, makes no difference in principle to the analysis.


      249. In its written case RSA submitted that, in determining whether business
      interruption loss is covered by the clause, it is appropriate to compare the actual
      position of the business with a counterfactual situation in which there was no case
      of the disease within 25 miles of the premises. In oral argument Mr Turner corrected
      this to align RSA with Hiscox’s case by submitting that it is necessary to assume
      only that there was no closure or restriction placed on the premises as a result of any
      such case(s) of the disease. For the reasons already given in discussing the
      arguments made on behalf of Hiscox, we do not consider this to be the correct
      approach. Rather, properly interpreted, the clause covers loss caused by the two
      elements of the insured peril operating in the required causal sequence, but does so
      regardless of whether any other (uninsured but non-excluded) consequences of the
      same underlying fortuity (the COVID-19 pandemic) were concurrent causes of the
      loss.


      Other wordings


      250. It is unnecessary to address other hybrid and prevention of access clauses in
      relation to which, as noted earlier, this issue does not affect the outcome of the
      proceedings. In principle, however, a similar analysis must apply to those clauses as
      to the clauses which we have specifically addressed.


      VIII The trends clauses


      251. All the sample policy wordings considered in these proceedings contain
      clauses of a kind generally known as trends clauses. Such clauses are part of the
      standard method used in insurance policies that provide business interruption cover
      for quantifying the policyholder’s financial loss. All of the insurers who appeal
      against the decision of the court below do so on the issue of how the trends clauses
      apply in the circumstances of the present case. It is the insurers’ contention that the
      trends clauses have the effect that they are not liable to indemnify policyholders for
      losses which would have arisen regardless of the operation of the insured perils by
      reason of the wider consequences of the COVID-19 pandemic.


      252. In so far as such an argument is relied upon as excluding the loss from cover
      as a matter of “but for” causation it has been addressed above. The remaining
      question is whether, and if so how, the trends clause in the policies affects the
      position.



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      The function and wording of the clauses


      253. The standard method used in business interruption insurance to quantify the
      sum payable under the policy takes an earlier period of trading for comparison
      purposes. In most wordings this is the calendar year preceding the operation of the
      insured peril. A “standard turnover” or “standard revenue” is derived from the
      turnover of the business in this period. This figure is then compared with the actual
      turnover or revenue during the indemnity period. The results of the business in the
      comparator period are also used to derive a percentage of turnover that represents
      gross profit. The rate of gross profit is then applied to the reduction in turnover to
      calculate the recoverable loss. Increase in the cost of working during the indemnity
      period is also typically covered.


      254. Whilst the basic comparison between the turnover of the business in the prior
      period and in the indemnity period will produce a rough quantification of the lost
      revenue, there may be specific reasons why a higher or lower figure would be
      expected for the indemnity period apart from the operation of the insured peril. For
      example, the general trend in the business may be such as to make it likely that there
      would have been increased or decreased turnover during the indemnity period in any
      case compared with the previous year. Equally, there may be specific reasons why
      the turnover during the prior year was depressed, such as a strike that affected the
      business, or why it would be expected to have been depressed anyway during the
      indemnity period, such as a scheduled strike. The purpose of the trends clause is to
      provide for adjustments to be made to reflect “trends” or “circumstances” such as
      these. The aim is to achieve a more accurate figure for the insured loss than would
      be achieved merely by a comparison with the prior period and to seek to arrive at a
      figure which, consistently with the indemnity principle, is as representative of the
      true loss as is possible. The adjustment may work in favour of either the policyholder
      or the insurer, but it is meant to be in the interests of both.


      255. As an example, the relevant clause in the Hiscox 3 wording provides as
      follows:


                    “Business trends


                    The amount we pay for loss of gross profit will be amended to
                    reflect any special circumstances or business trends affecting
                    your business, either before or after the loss, in order that the
                    amount paid reflects as near as possible, the result that would
                    have been achieved if the damage had not occurred.”




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      256. The MSA, QBE and RSA 3 wordings require adjustments to be made to
      provide “for the trend of the business and for variations in or other circumstances
      affecting the business” and the Argenta wording is to like effect. The Arch wording
      refers to “any trends or circumstances”. Having required the adjustment for such
      trends, variations or circumstances, all the clauses refer to the aim being to represent
      “as near as possible” or “as nearly as may be reasonably practicable” the results
      which would have been achieved “but for the damage” or “if the damage had not
      occurred”.


      257. The reference to “damage” is inapposite to business interruption cover which
      does not depend on physical damage to insured property such as the cover with
      which these appeals are concerned. It reflects the fact that the historical evolution of
      business interruption cover was as an extension to property damage insurance. It
      was held by the court below, and is now common ground, that for the purposes of
      the business interruption cover which is the subject of these appeals, the term
      “damage” should be read as referring to the insured peril.


      258. The Arch trends clause, as applied to the peril insured under the Arch
      prevention of access clause by substituting the words of that clause (in italics) for
      the word “damage” would accordingly read as follows:


                    “Rate of Gross Profit and Standard Turnover may be adjusted
                    to reflect any trends or circumstances which


                           (i)     affect The Business before or after the
                           Prevention of access to The Premises due to the actions
                           or advice of a government … due to an emergency which
                           is likely to endanger life [or]


                           (ii)    would have affected The Business had the
                           Prevention of access to The Premises due to the actions
                           or advice of a government … due to an emergency which
                           is likely to endanger life not occurred.


                    The adjusted figures will represent, as near as possible, the
                    results which would have been achieved during the same period
                    had the Prevention of access to The Premises due to the actions
                    or advice of a government … due to an emergency which is
                    likely to endanger life not occurred.”




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      Approach to interpretation


      259. In considering the proper interpretation of the trends clauses, we would
      emphasise the following points.


      260. First, the trends clauses are part of the machinery contained in the policies
      for quantifying loss. They do not address or seek to delineate the scope of the
      indemnity. That is the function of the insuring clauses in the policy.


      261. Second, in accordance with the general principle referred to earlier (see para
      77 above), the trends clauses should, if possible, be construed consistently with the
      insuring clauses in the policy.


      262. Third, to construe the trends clauses consistently with the insuring clauses
      means that, if possible, they should be construed so as not to take away the cover
      provided by the insuring clauses. To do so would effectively transform
      quantification machinery into a form of exclusion.


      263. A similar point was made by the court below (at para 121 of the judgment)
      when discussing the trends clause in RSA 3, where the court stated that the clause
      is:


                    “… part of the machinery for calculating the business
                    interruption loss on the basis that there is a qualifying insured
                    peril. Where the policyholder has therefore prima facie
                    established a loss caused by an insured peril, it would seem
                    contrary to principle, unless the policy wording so requires, for
                    that loss to be limited by the inclusion of any part of the insured
                    peril in the assessment of what the position would have been if
                    the insured peril had not occurred.”


      264. In the present case that means that, unless the policy wording otherwise
      requires, the trends clauses should not be construed so as to take away cover for
      losses prima facie covered by the insuring clauses on the basis of concurrent causes
      of those losses which do not prevent them from being covered by the insuring
      clauses.




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      Proper interpretation of the trends clauses


      265. As the insuring clauses in the various wordings were interpreted by the court
      below, no problem of inconsistency with the trends clauses arose. In the case of the
      disease clauses, the insured peril was identified as the notifiable disease or all
      individual cases of the disease. That meant that the relevant counterfactual for the
      purpose of making adjustments under the trends clause was what results would have
      been achieved by the business during the indemnity period but for COVID-19. In
      relation to the prevention of access and hybrid clauses, the court held that the correct
      approach is to seek to ascertain what the results of the business would have been if
      none of the elements of the insured peril had occurred. So, for example, in relation
      to the Arch wording set out above, this would require the assumption to be made
      that there had been (i) no emergency likely to endanger life; (ii) no consequent
      Government action or advice; and (iii) no consequent prevention of access to the
      premises. Since the emergency was the COVID-19 pandemic, this meant assuming
      that it had not occurred. The loss which would have occurred but for the insured
      peril therefore did not include the wider consequences of the COVID-19 pandemic.


      266. On what we consider to be the proper interpretation of the disease clauses,
      however, the counterfactual question raised by the trends clauses cannot be so
      answered. The trends clauses call for an inquiry into what the financial results of the
      business would have been if the insured peril had not occurred. We have held the
      insured peril to be each case of the disease within the radius rather than each case of
      disease wherever it occurs. Although we have rejected the applicability of the “but
      for” causation test as a matter of interpretation of the disease clauses, such a test is
      expressly called for under the trends clauses.


      267. Equally, in relation to the prevention of access and hybrid clauses, we have
      held that the composite peril involves interconnected elements and that the court
      below was wrong to treat the insured peril, not as the risk of all the elements
      occurring (in causal sequence), but as if it were the risk of any one or more of the
      elements occurring. This means that one cannot apply the “but for” counterfactual
      under the trends clause on the basis that none of the individual elements of the
      insured peril occurred.


      268. How then are the trends clauses to be construed so as to avoid inconsistency
      with the insuring clauses? In our view, the simplest and most straightforward way
      in which the trends clauses can and should be so construed is, absent clear wording
      to the contrary, by recognising that the aim of such clauses is to arrive at the results
      that would have been achieved but for the insured peril and circumstances arising
      out of the same underlying or originating cause. Accordingly, the trends or
      circumstances referred to in the clause for which adjustments are to be made should


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      generally be construed as meaning trends or circumstances unrelated in that way to
      the insured peril.


      History of trends clauses and market practice


      269. To construe trends clauses in this way is consistent with the historical
      evolution of such clauses which shows that their focus has been on trends or
      circumstances unconnected with the insured peril.


      270. The first edition of Macken, Insurance of Profits published in 1927 considers
      an early form of trends clause which provided for adjustments in turnover to be made
      “for all extraordinary and other circumstances of the business”. In discussing the
      rationale of such clauses, Macken stated at p 35 (with emphasis added):


                   “… the whole basis of our scheme consists of a comparison of
                   the abnormal with the normal. And the only abnormality with
                   which we are concerned is that brought about by the fire. It may
                   be that the period which we select as representative of the
                   normal is itself abnormal from circumstances unconnected
                   with the fire. Similarly, the depletion of turnover after the fire
                   may have been aggravated or partially hidden by factors quite
                   independent of the fire. Any untoward event, such as a
                   breakdown of machinery, a flooding of works, or a strike of
                   employees, whether it occurs before or after the fire, may have
                   the effect of upsetting our calculations.”


      271. A clause closely resembling the modern trends clause was discussed in the
      third edition of Insurance of Profits published in 1939. The clause provided that:


                   “… such adjustments shall be made as may be necessary to
                   provide for the trend of the business and for variations in or
                   special circumstances affecting the business either before or
                   after the damage or which would have affected the business had
                   the damage not occurred, so that the figures thus adjusted shall
                   represent as nearly as may be reasonably practicable the results
                   which but for the damage would have been obtained during the
                   relative period after the damage.”


      272. Macken explained that “trends” and “variations” reflected the natural growth
      or contraction of the business and changes to it, and “special circumstances”
      reflected specific occurrences, such as strikes. As he stated at p 86:

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                   “[The clause] takes in not only special circumstances affecting
                   the business (such as strikes and other spectacular occurrences)
                   but ‘the trend of the business’ - its natural growth or diminution
                   - and any variations in it, either before or after the damage.”


      273. The same clause was discussed in the first edition of Riley, Consequential
      Loss Insurances and Claims (1956) in which the examples he gave of circumstances
      for which an adjustment should be made included matters such as: a trade recession;
      an industrial dispute; a special advertising campaign; a large new contract; new
      plant; the vagaries of weather and a general upward trend.


      274. In the fourth edition of Riley published in 1977, by which time the standard
      wording discussed referred to “other circumstances” rather than “special
      circumstances”, the author commented as follows at para 36 (with emphasis added):


                   “It is important to bear in mind that the indemnity in respect of
                   reduction in turnover is qualified by the words ‘in consequence
                   of the damage.’ If, therefore, the reduction is attributable
                   wholly or in part to causes not connected with the damage
                   which would have affected turnover irrespective of the damage
                   having taken place, an adjustment must be made to the figure
                   of standard turnover in order to reflect as accurately as possible
                   the loss solely due to the damage.”


      Riley then gave an example of a reduction in turnover caused both by insured
      damage and by an “extraneous circumstance such as a strike” (our emphasis) and
      explained that an appropriate adjustment must be made to the figures for standard
      turnover to reflect the effect of the strike.


      275. In Hickmott, Interruption Insurance: Proximate Loss Issues (1990) an
      example is given of “what is considered to be the UK market intention of the cover”
      in a situation where there is damage both to the insured premises and to the
      surrounding area. The example is a case where both a hotel and a necessary access
      bridge (not owned by the hotel) are damaged by a storm. Had there been no damage
      to the hotel, it would have had no business anyway because of the damage to the
      access bridge until the bridge had been repaired. The author expresses the opinion
      that the business interruption loss would nevertheless be assessed on the basis of
      turnover that would have applied if the access bridge had not been damaged for such
      time as the damage to the hotel on its own would have affected the trading of the
      business: see para 35 at p 28 and Case Study IV at p 50.




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      276. In the most recent, tenth edition of Riley on Business Interruption Insurance
      (2016) at para 15.21, reference is made to the approach adopted by the UK market
      in settling claims for business interruption following floods in Cockermouth in
      Cumbria in November 2009. The flooding was such that all the shops on Main Street
      were flooded to a depth of many feet and, after the water subsided, the street
      effectively became a building site for the next six months. If the trends clause had
      been treated as requiring an adjustment to be made to reflect what the turnover of
      each individual shop would have been but for the damage to that particular shop, the
      insurance recovery would have been substantially reduced on the basis that the
      business would have suffered a severe downturn in any event by reason of the wide
      area damage that affected other businesses. That was not, however, the approach
      taken by the market. Instead, claims were met up to the level that would have applied
      had the damage been restricted solely to the insured premises.


      277. The tenth edition of Riley (written by Mr Harry Roberts, an experienced loss
      adjuster) also discusses the decision in the Orient-Express case, which we review
      below, and doubts “whether it is actually a satisfactory outcome for either insurers
      or policyholders.” It is also said that the Orient-Express case “has served to highlight
      a potential difference between the wording of the policy and the original intention
      of insurers” and that the conclusion reached leads to “a potentially counter-intuitive
      result which is not likely to leave the insurance industry in a good light” (see pp 407-
      408).


      US case law


      278. Our interpretation of the trends clauses is also consistent with the approach
      of the US courts. In US policy wordings it appears that the counterfactual is
      generally expressed in terms of what would have happened “had no loss occurred”.
      Where the underlying cause of the loss is a hurricane, it has been held that this
      requires the assumption to be made that the hurricane would not have occurred.
      Thus, in Catlin Syndicate Ltd v Imperial Palace of Mississippi Inc, 600 F 3d 511
      (2010) the Fifth Circuit Court of Appeals had to decide how to determine loss under
      the business interruption provision of an insurance policy issued to the Imperial
      Palace casino in Mississippi. The casino was damaged by Hurricane Katrina which
      also caused damage to the surrounding area. When the casino re-opened, its revenue
      was much greater than before the hurricane as many nearby casinos remained closed
      and people who wanted to gamble had few choices. The casino argued that, in
      quantifying its business interruption loss, the requirement to consider what would
      have happened “had no loss occurred” meant assuming that no damage to the casino
      had occurred, but not that the hurricane had not occurred. This argument was
      rejected by the court (at pp 515-516) in the following terms:




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                    “Imperial Palace asserts that Catlin asks us to interpret the
                    business interruption provision in such a way that the phrase
                    ‘had no loss occurred’ morphs into ‘had no occurrence
                    occurred’. Imperial Palace argues that instead, we should
                    disentangle the loss from the occurrence and determine loss
                    based on a hypothetical in which Hurricane Katrina hit
                    Mississippi, damaged all of Imperial Palace’s competitors, but
                    left Imperial Palace intact: the occurrence occurred, but the loss
                    did not. While we agree with Imperial Palace that the loss is
                    distinct from the occurrence - at least in theory - we also believe
                    that the two are inextricably intertwined under the language of
                    the business-interruption provision. Without language in the
                    policy instructing us to do so, we decline to interpret the
                    business-interruption provision in such a way that the loss
                    caused by Hurricane Katrina can be distinguished from the
                    occurrence of Hurricane Katrina itself.”


      279. To similar effect is the decision of the Fourth Circuit Court of Appeals in
      Prudential LMI Commercial Ins Co v Colleton Enterprises Inc 976 F 2d 727 (1992)
      which concerned damage to a motel in South Carolina caused by Hurricane Hugo.


      280. The US cases illustrate that the suggested construction avoids the problem of
      what have been termed “windfall profits”. In both the Catlin case and the Prudential
      case the argument of the insured was that the loss should be adjusted by comparing
      the actual results of the business with what they would have been if there had been
      no damage to the casino/motel, but the hurricane had nevertheless occurred causing
      all the other damage that was in fact caused to the surrounding area. Adopting this
      basis of adjustment would have put the casino/motel in a position to claim increased
      “windfall” profits as a result of being the only undamaged casino/motel in the area.


      An example


      281. A further consequence of our interpretation of the insuring clauses is that, in
      calculating the amount which the insurer is liable to pay, the calculation must be
      confined to those activities of the business which were interrupted by the operation
      of the insured peril. Where a discrete part of the business was not interrupted by the
      insured peril, the relevant comparison is therefore between the actual turnover and
      the adjusted standard turnover only of the interrupted activities.


      282. To illustrate how this works in practice, we can take an example of a
      fashionwear business insured under the Arch wording which has a shop but also
      makes sales through a website. The effect of regulation 5(1) of the 26 March
      Regulations was to compel such a business to close its shop to customers but to
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      allow it to carry on the part of its business which involved selling through its
      website. We may suppose that demand for fashionwear and hence turnover from
      orders placed though the website nevertheless fell as a result of the national
      lockdown. As discussed earlier (at para 141 above), we consider that in such a
      situation the policy covers the interruption of the business caused by the prevention
      of access to the shop premises even though it does not cover any effects of COVID-
      19 and the Government restrictions on business transacted through the website.


      283. In assessing the amount which the insurer is liable to pay, the first step is to
      identify which activities of the business were interrupted by the insured peril. In this
      example, the business activity interrupted by the operation of the peril insured under
      the prevention of access clause was opening the shop to customers. On the other
      hand, selling through the website was not interrupted by the occurrence of the
      insured peril.


      284. The next step is, for those activities interrupted by the insured peril, to
      identify the income actually earned from those activities during the period of
      interruption. This amount is then compared with the standard turnover, adjusted to
      reflect any trends or circumstances which affected those activities before the
      occurrence of the insured peril or which would have affected them had the insured
      peril not occurred. As discussed, for this purpose the trends or circumstances for
      which adjustments should be made do not include trends or circumstances arising
      out of the same underlying or originating cause as the insured peril, namely the
      COVID-19 pandemic. In the same way, the aim of the adjustments is to arrive at
      figures which represent, as near as possible, the results that would have been
      achieved during the relevant period but for the prevention of access to the premises
      due to Government actions due to an emergency likely to endanger life and any
      consequences of the COVID-19 pandemic which affected the relevant part of the
      business concurrently with the insured peril.


      285. In the example given, this requires adjusting the turnover from sales in the
      shop during the equivalent period in the previous year only to reflect trends or
      circumstances unrelated to the COVID-19 pandemic. The insurer will be liable to
      indemnify the policyholder for loss calculated by reference to the difference between
      the adjusted figure and the actual turnover from such sales during the period of
      interruption (which, as the shop was closed, would be nil).


      286. The result will be that the amount recoverable by the policyholder will not be
      reduced if, had the shop not been compelled to close, its turnover would have been
      lower in any event as a result of other consequences of the pandemic. Nor will it be
      increased if, had the shop been allowed to remain open in circumstances where all
      its competitors were forced to close, its turnover would have been higher. At the


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      same time the policyholder will not be able to recover any loss caused by a fall in
      website orders as such loss is not covered.


      Conclusion


      287. For the reasons given, we consider that the trends clauses in issue on these
      appeals should be construed so that the standard turnover or gross profit derived
      from previous trading is adjusted only to reflect circumstances which are
      unconnected with the insured peril and not circumstances which are inextricably
      linked with the insured peril in the sense that they have the same underlying or
      originating cause. Such an approach ensures that the trends clause is construed
      consistently with the insuring clause, and not so as to take away cover prima facie
      provided by that clause.


      288. We therefore reach a similar conclusion to the court below, by a slightly
      different route. We consider, as they did, that the trends clauses do not require losses
      to be adjusted on the basis that, if the insured peril had not occurred, the results of
      the business would still have been affected by other consequences of the COVID-
      19 pandemic.


      IX     Pre-trigger losses


      289. In one respect, however, the court below did not carry through the logical
      implications of this analysis. As recorded in Declaration 11.4(c) and (d) of its order,
      the court held that:


                    “If there was a measurable downturn in the turnover of a
                    business due to COVID-19 before the insured peril was
                    triggered, then it is in principle appropriate … for the
                    counterfactual to take into account the continuation of that
                    measurable downturn and/or increase in expenses as a trend or
                    circumstance (under a trends clause or similar) in calculating
                    the indemnity payable in respect of the period during which the
                    insured peril was triggered and remained operative.”


      This was subject to qualifications that:


             i)      “the downturn will only apply to the extent that as a matter of fact the
             downturn would have continued during the indemnity period if the insured
             peril had not been triggered”; and

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             ii)    “[a]ny such continuation must be at no more than the level at which it
             had previously occurred.”


      290. The significance of this point depends upon the extent to which there was “a
      measurable downturn in the turnover of a business due to COVID-19 before the
      insured peril was triggered.” It may be illustrated by an example of a claim under
      the Arch wording by the owner of a pub to which access was prevented when the
      Prime Minister announced the closure of various businesses, which included pubs,
      on the evening of 20 March and the 21 March Regulations then required these
      businesses to close. Suppose that, as a result of public concern about contracting
      COVID-19 and the advice given by the UK Government before 20 March 2020, the
      turnover of the pub in the week ending on 20 March was only 70% of its turnover
      in the equivalent week of the previous year. On the approach accepted by the court
      below, in estimating what the turnover of the business would have been during the
      indemnity period had the insured peril not occurred, account should be taken of this
      downturn. Assuming that the downturn would have continued during the indemnity
      period if access to the pub had not been prevented, the standard turnover used to
      calculate the loss should be adjusted downwards under the trends clause to 70% of
      what it would otherwise have been. It is this adjusted figure which should then be
      compared with the actual turnover of the business while the pub was closed in
      assessing the sum payable under the policy.


      291. The FCA and the Hiscox Interveners appeal against the court’s decision on
      this point, arguing that it is inconsistent with the court’s own conclusion (discussed
      earlier and recorded in Declaration 11.2 of its order) that “the correct counterfactual
      when calculating an indemnity is to assume that once cover under the policy is
      triggered none of the elements of the insured peril were present” - which in the case
      of the Arch prevention of access clause, for example, means assuming no prevention
      of access, no Government action and no emergency.


      292. Arch and the other insurers argue that making a downwards adjustment under
      the trends clause to reflect the results of the business before cover was triggered does
      not involve assuming that the emergency caused by COVID-19 or Government
      action taken in response to the emergency would have caused a reduction in turnover
      after access to the premises was prevented. It merely involves taking account of a
      measurable downwards trend in turnover which existed before cover was triggered
      and which therefore was not caused by the operation of the insured peril. Counsel
      for Arch submit that the effect of the FCA’s argument is to compensate the
      policyholder for uninsured loss which began before the insured peril operated and
      which would have continued during the indemnity period.


      293. The court below accepted this submission and also held (at para 351 of the
      judgment) that any downturn in turnover before the date(s) when businesses closed

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      pursuant to Government actions or advice was a trend or circumstance which
      affected the business before the occurrence of the insured peril for which an
      adjustment was required by the express words of the Arch trends provision (quoted
      at para 258 above).


      294. We cannot agree that such a downturn in turnover is a trend or circumstance
      for which an adjustment is permitted let alone required by the Arch trends clause (or
      any of the other trends clauses in issue on the present appeals). As we have
      interpreted the trends clauses, the trends or circumstances for which adjustments
      may be made do not include trends or circumstances caused by the insured peril (or
      its underlying or originating cause). Furthermore, the aim of any adjustment is to
      seek to ensure that the adjusted figures will represent as nearly as possible the results
      which would have been achieved during the indemnity period had the insured peril
      (and its underlying or originating cause) not occurred.


      295. Contrary to the insurers’ submissions, making a downwards adjustment to
      reflect the effects on the business of the COVID-19 pandemic before cover was
      triggered plainly does involve assuming that those effects would have continued
      after the occurrence of the insured peril. It involves assuming that, even if there had
      been no prevention of access, turnover during the indemnity period would have been
      reduced as a result of other effects of the emergency. The fact that those effects were
      being felt before cover was triggered makes no difference in this regard. Nor is it
      correct that, as counsel for Arch submit, leaving such effects out of account in
      calculating the indemnity amounts to compensating the policyholder for uninsured
      loss which began before the insured peril operated. On the contrary, to reduce the
      indemnity to reflect a downturn caused by other effects of the pandemic, whenever
      they began, would be to refuse to indemnify the policyholder for loss proximately
      caused by the insured peril on the basis that the loss was also proximately caused by
      uninsured (but non-excluded) perils with the same originating cause. As discussed
      earlier, that is not permissible.


      296. Accordingly, we consider that the court below was wrong to hold that the
      indemnity for business interruption loss sustained after cover was triggered should
      be reduced to reflect a downturn in the turnover of the business due to COVID-19
      which would have continued even if cover had not been triggered by the insured
      peril. The court had correctly concluded that losses should be assessed on the
      assumption that there was no COVID-19 pandemic. Consistently with that
      conclusion, the court should have held that, in calculating loss, the assumption
      should be made that pre-trigger losses caused by the pandemic would not have
      continued during the operation of the insured peril.




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      X      The Orient-Express case


      297. Orient-Express Hotels Ltd v Assicurazioni Generali SpA [2010] EWHC 1186
      (Comm); [2010] Lloyd’s Rep IR 531 concerned a claim for business interruption
      loss arising from damage to a hotel in central New Orleans from wind and water as
      a result of Hurricanes Katrina and Rita in the autumn of 2005. The insurance policy,
      which was governed by English law, provided cover against physical damage to the
      property on an all risks basis. It also provided cover for loss due to interruption or
      interference with the business “directly arising from Damage”. The trends clause
      was in similar terms to those in the present case and provided that the adjusted
      figures “shall represent as nearly as may be reasonably practicable the results which
      but for the Damage would have been obtained during the relative period after the
      Damage”. The term “Damage” was defined in the policy to mean “direct physical
      loss destruction or damage” to the hotel.


      298. As a result of the damage to the hotel it was closed throughout September
      and October 2005. The surrounding area of New Orleans was also devastated by the
      hurricanes and there was a mandatory evacuation of the city. The city was only re-
      opened at the end of September and the beginning of October 2005. The hotel re-
      opened on 1 November 2005, although not yet fully repaired. Its business was
      severely affected both by the physical damage to the hotel and by the general impact
      of the hurricanes on the city. A dispute arose about the amounts which the insured
      (“OEH”) was entitled to recover which the parties agreed to submit to arbitration in
      London. A central issue was whether OEH could recover business interruption
      losses which resulted not only from the physical damage to the hotel but also from
      the wider damage to the city.


      299. Before the arbitrators the insurer submitted that OEH could only recover loss
      that it would not have suffered but for the physical damage to the hotel and not loss
      of business which the hotel would have suffered even if it had not been damaged at
      all (because of the effects of the hurricanes on the city). The arbitrators accepted the
      insurer’s case, observing that counsel for OEH “did not, in the view of the tribunal,
      ever supply a convincing answer to this submission”. The tribunal held that the
      language of the policy:


                    “… requires OEH to establish that the cause of the loss claimed
                    is the Damage to the Hotel. It is not necessary or relevant for
                    this purpose to go behind the Damage and consider whether the
                    event which caused the Damage also caused damage to other
                    property in the City: the fact that there was other damage which
                    resulted from the same cause does not bring the consequences
                    of such damage within the scope of the cover.”


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      300. The tribunal also rejected an argument based on concurrent causation, stating
      that:


                    “… the language of the Trends clause is, the Tribunal thinks,
                    conclusive. This clause specifically requires the business
                    interruption loss to be assessed by reference to the results
                    which ‘but for the Damage’ (ie the damage to the Hotel) would
                    have obtained during the relevant period. It is accordingly
                    irrelevant whether there was a concurrent cause of any such
                    losses.”


      301. OEH obtained permission to appeal under section 69 of the Arbitration Act
      1996 on two questions of law:


                    “(1) Whether on its true construction, the policy provides
                    cover in respect of loss which was concurrently caused by: (i)
                    physical damage to the property; and (ii) damage to or
                    consequent loss of attraction of the surrounding area;


                    (2)    Whether on the true construction of the policy, the same
                    event(s) which cause the damage to the insured property which
                    gives rise to the business interruption loss are also capable of
                    being or giving rise to ‘special circumstances’ for the purposes
                    of allowing an adjustment of the same business interruption
                    loss within the scope of the ‘Trends clause’.”


      302. On the appeal OEH were represented by different counsel who, in relation to
      question (1), argued that on the correct interpretation of the insuring clause the “but
      for” causation test should not be applied because this was one of those “very
      occasional” cases where “fairness and reasonableness require a relaxation in the
      standard” (para 24). This had not been argued before the arbitrators. The court
      recognised that there was “considerable force” in the argument (para 33), but pointed
      out that what “fairness and reasonableness” require “is very much a matter for the
      tribunal of fact, rather than for this court on an appeal limited to questions of law”
      (para 36). The court also observed that the issue was one on which no findings had
      been made by the arbitral tribunal since the argument was not put to it (para 37). In
      any event, the court concluded that it had “not been established that the tribunal
      erred in law in adopting the ‘but for’ approach to causation which they did” (para
      40).


      303. In relation to question (2) and the proper interpretation of the trends clause,
      the court rejected all of the nine arguments made on behalf of OEH and agreed with

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      the conclusion reached by the tribunal. The court concluded as follows (at paras 57-
      58):


                    “57. I agree with the tribunal that the clause is concerned
                    only with the damage, not with the causes of the damage. What
                    is covered are business interruption losses caused by damage,
                    not business interruption losses caused by damage or ‘other
                    damage which resulted from the same cause’. Nowhere in the
                    Trends clause does it state that ‘variations or special
                    circumstances affecting the Business either before or after the
                    Damage or which would have affected the Business had the
                    Damage not occurred’ has to be something completely
                    unconnected with the damage in the sense that it had an
                    independent cause to the cause of the damage. The assumption
                    required to be made under the Trends clause is ‘had the
                    Damage not occurred’; not ‘had the Damage and whatever
                    event caused the Damage not occurred’.


                    58.    I agree with Generali that OEH’s construction
                    effectively requires words to be read into the clause or for it to
                    be re-drafted. Further, such a re-drafting of the Trends Clause,
                    which would allow OEH to recover for the loss in gross
                    operating profit suffered as a result of the occurrence of the
                    insured event (ie the hurricanes) as opposed to the loss suffered
                    as a result of the damage to the hotel, is inconsistent with the
                    causation requirement of the main insuring clause which OEH
                    accepts requires proof that the losses claimed were caused by
                    damage to the hotel.”


      304. There are a number of general observations to be made about the Orient-
      Express decision.


      305. First, as with all cases, the decision and reasoning of both the arbitral tribunal
      and the court was framed by the arguments advanced by the parties. On these appeals
      we have had the benefit of far more detailed and wide-ranging argument than at the
      arbitration hearing or on the one-day arbitration appeal in the Orient-Express case.


      306. Second, the context of the decision was an appeal under section 69 of the
      Arbitration Act 1996, which is limited to questions of law “arising out of an award”.
      As illustrated by the argument raised on the appeal as to what “fairness and
      reasonableness” requires, this limits the permissible scope of argument.



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      307. Third, unusually for an appeal under the Arbitration Act 1996, the court gave
      permission for a further appeal to the Court of Appeal and granted the requisite
      certificate that the appeal raised a point of law of general importance. The court
      thereby recognised that OEH’s case on causation was well arguable and indeed had
      a real prospect of success. In the event the case settled before an appeal was heard.


      308. In the present case the court below considered that the Orient-Express
      decision was distinguishable but, if necessary, would have reached the conclusion
      that it was wrongly decided and would have declined to follow it. For reasons
      already given in addressing the causation and trends clauses issues, on mature and
      considered reflection we also consider that it was wrongly decided and conclude that
      it should be overruled.


      309. The main error occurred at the first stage of the analysis when considering
      causation under the insuring clause. Applying the analysis set out earlier under the
      heading “Causation”, business interruption loss which arose because both (a) the
      hotel was damaged and also (b) the surrounding area and other parts of the city were
      damaged by the hurricanes had two concurrent causes, each of which was by itself
      sufficient to cause the relevant business interruption but neither of which satisfied
      the “but for” test because of the existence of the other. In such a case when both the
      insured peril and the uninsured peril which operates concurrently with it arise from
      the same underlying fortuity (the hurricanes), then provided that damage
      proximately caused by the uninsured peril (ie in the Orient-Express case, damage to
      the rest of the city) is not excluded, loss resulting from both causes operating
      concurrently is covered. In the Orient-Express case the tribunal and the court were
      therefore wrong to hold that the business interruption loss was not covered by the
      insuring clause to the extent that it did not satisfy the “but for” test.


      310. If the tribunal or the court had held that the loss concurrently caused by both
      the damage to the hotel and the damage to other parts of the city was covered by the
      insuring clause, that would have fundamentally affected the approach to the
      interpretation of the trends clause. In any event, for the reasons set out above under
      the heading “The trends clauses”, we consider that the correct approach in the
      Orient-Express case would have been to construe the trends clause so as to exclude
      from the assessment of what would have happened if the damage had not occurred
      circumstances which had the same underlying or originating cause as the damage,
      namely the hurricanes.


      311. In reaching a different conclusion now to that which we both reached over
      ten years ago we would refer to what Justice Jackson said in McGrath v Kristensen,
      340 US 162, 177-8 (1950), concurring in a decision which contradicted an opinion
      he had given when Attorney General:


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                    “Precedent, however, is not lacking for ways by which a judge
                    may recede from a prior opinion that has proven untenable and
                    perhaps misled others. See Chief Justice Taney, License Cases,
                    5 How 504, recanting views he had pressed upon the Court as
                    Attorney General of Maryland in Brown v Maryland, 12 Wheat
                    419. Baron Bramwell extricated himself from a somewhat
                    similar embarrassment by saying, ‘The matter does not appear
                    to me now as it appears to have appeared to me then.’ Andrew
                    v Styrap, 26 LTR (NS) 704, 706. And Mr Justice Story,
                    accounting for his contradiction of his own former opinion,
                    quite properly put the matter: ‘My own error, however, can
                    furnish no ground for its being adopted by this Court. ...’ United
                    States v Gooding, 12 Wheat 460, 25 US 478. Perhaps Dr
                    Johnson really went to the heart of the matter when he
                    explained a blunder in his dictionary - ‘Ignorance, sir,
                    ignorance.’ But an escape less self-depreciating was taken by
                    Lord Westbury, who, it is said, rebuffed a barrister’s reliance
                    upon an earlier opinion of his Lordship: ‘I can only say that I
                    am amazed that a man of my intelligence should have been
                    guilty of giving such an opinion.’ If there are other ways of
                    gracefully and good naturedly surrendering former views to a
                    better considered position, I invoke them all.”


      312. We likewise invoke whatever ways by which we may “gracefully and good
      naturedly” surrender “former views to a better considered position.”


      XI     Conclusion


      313. Although we have accepted some of the insurers’ arguments on their appeals,
      in no case has that affected the outcome of the appeal. It follows that the insurers’
      appeals are dismissed. We allow the FCA’s appeal on grounds 1 and 4, and on
      grounds 2 and 3 in the qualified terms set out in the judgment and in relation to those
      wordings where the appeal affects the outcome. We allow the Hiscox Interveners’
      appeal on ground 1 and on grounds 2 and 3 in the qualified terms set out in the
      judgment. The parties are encouraged to agree appropriate declarations and orders
      to be made in the light of the judgment.


      LORD BRIGGS: (with whom Lord Hodge agrees)


      314. I have read in draft, with admiration, the joint judgment of Lord Hamblen
      and Lord Leggatt, with which Lord Reed agrees. I will refer to them as the majority.
      I agree with all the conclusions to which the majority have come. Subject to one
      major and one minor point, I also agree with their reasoning. The practical effect of
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      their analysis is that all of the insuring clauses which are in issue on the appeal to
      this court (not including those clauses where the issues appealed by the FCA are
      academic) will provide cover for business interruption caused by the COVID-19
      pandemic, and that the trends clauses will not cut it down in the calculation of the
      amounts payable.


      315. The contrary view, contended for by most of the insurers, was in the main
      that, either because of the narrow geographical limit of cover imposed by the radius
      limitations, or because of the express “but for” provision in most of the trends
      clauses, there was little or no effective cover for business interruption caused by the
      national response to COVID-19. This was not, of course, a disease which anyone
      could have had specifically in mind when the policies in issue were written and
      marketed. But it is clear from the use of the definition of a “Notifiable Disease” in
      most of the relevant clauses, and equivalent wording in the remainder, that COVID-
      19 (when it appeared) fell squarely within the types of disease for which all the
      relevant disease and hybrid clauses provided cover: see in particular paras 51 to 53
      of the majority judgment. Thus it cannot be said that cover for business interruption
      attributable to the reaction to a disease like COVID-19 lay outside the purview of
      the policies in issue.


      316. The consequence therefore is that, on the insurers’ case, the cover apparently
      provided for business interruption caused by the effects of a national pandemic type
      of notifiable disease was in reality illusory, just when it might have been supposed
      to have been most needed by policyholders. That outcome seemed to me to be
      clearly contrary to the spirit and intent of the relevant provisions of the policies in
      issue. It therefore comes as no surprise to me that all the judges who have considered
      these issues have been unanimous in rejecting that outcome, albeit that this court has
      done so, rightly in my view, more comprehensively than did the court below. This
      is not to mis-use the dubious benefit of hindsight when applying an insuring clause
      to events which could not have been contemplated by the parties at the time of their
      bargain. As the majority show, there were a number of well-known notifiable
      diseases (such as cholera, plague, typhus, yellow fever and SARS) to which the
      relevant clauses clearly applied, all of which were capable of spreading rapidly and
      widely, so as potentially to cause a threat to health on a national scale, and to threaten
      a national reaction by the responsible authorities, leading to business disruption on
      a national scale.


      317. The major point on which, left alone, I would have reached the same
      conclusion as the majority but by a different route concerns the construction of what
      I shall label the “radius limitations”, both in the disease clauses and in the hybrid
      clauses. By that I mean the provisions which delimit cover for the effects of a
      notifiable disease (in this case COVID-19) by reference to its incidence within a
      circle defined by a 25 mile or 1 mile radius from the insured premises (“the radius”).
      The insurers’ case was that (i) the radius limitations meant that only occurrences of

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      COVID-19 within the radius were within the insured peril and (ii) that the
      application of a “but for” causation test to identify the loss for which compensation
      was payable would be bound to produce a nil return, because the national response
      to the pandemic would have been exactly the same even if there had been no
      outbreak within the radius.


      318. The preferred response of the judges in the court below was to treat the radius
      limitation not as defining the insured peril, which they identified as the COVID-19
      pandemic (at least within the whole of the UK), but as a condition for cover which
      required the disease first to have spread within the radius. In the rare cases where
      there was no such spread (probably confined to insured premises in the Isles of Scilly
      and possibly parts of the Western Isles of Scotland), there would be no cover at all
      even if those premises suffered serious business interruption because of national
      restrictions on movement. In relation to the overwhelming majority of premises the
      radius limitation would merely define the date from which business interruption
      could constitute the basis for a claim. But the court below adopted as a fall-back
      analysis the identification of every case of COVID-19 as a separate insured peril,
      each just as causative of the national reaction, and leading thereby to consequential
      business interruption, as any other.


      319. In this court the majority have rejected the primary analysis of the court
      below, but in substance accepted and applied the alternative. They have, in effect,
      rescued the policyholders from the at first sight sombre consequences of a narrow
      definition of the insured peril by a principled application of the doctrine of
      concurrent cause, where (in settled insurance law) the existence of one or more
      concurrent causes of loss, other than the insured peril itself, does not prevent cover
      provided that the concurrent causes are not themselves expressly excluded.
      Encouraged by the court below they have done so, rightly in my view, by overruling
      the only reported case on comparable facts, namely the Orient-Express case. What
      is striking about the present case is that each and every separate case of COVID-19
      is identified as an equally operative concurrent cause of the national response to the
      pandemic, so that the typical number of concurrent causes in the authorities, say two
      or three, is increased by orders of magnitude to something approaching, or even
      exceeding, a million. But there is no reason why the essential logic of concurrent
      cause cannot be scaled up in that way.


      320. That is not to say that the majority have insulated policyholders from the
      unfortunate consequences of a bad bargain (properly construed) by the healing balm
      of purely legal rules of causation. On the contrary, and again rightly in my view, the
      majority ground their treatment of concurrent causation firmly within the process of
      construction. The question whether particular consequential harm to a policyholder
      is subject to indemnity is as much a part of the process of interpreting their bargain
      as is the identification of the insured peril. It is therefore a quite distinct process
      from, for example, applying the law about causation and remoteness of loss for the

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      purpose of identifying the harm liable to be made good by tortfeasors to their
      victims. In terms intelligible to non-lawyers, the question is: for what loss have the
      parties agreed that the insurers should compensate the policyholders as the result of
      the occurrence of the insured peril? Both the insured peril and the covered loss lie
      at the very heart of the contract of insurance, and the process of construction requires
      that they be addressed together.


      321. Left to myself I would not have departed from the adoption of both these two
      alternatives by the court below save that, since they both lead to the same
      conclusion, it is not necessary to prefer one over the other. As already noted, the
      underlying driver for some workable analysis is the need to avoid a conclusion that,
      as the insurers contend, clauses with radius limitations are a completely illusory
      form of cover for a pandemic type of disease falling clearly within the covered class.
      I recognise the force of the linguistic analysis by the majority which leads them to
      reject, as outwith the insured peril, any occurrence of COVID-19 outside the
      specified radius. I accept that the use of “occurrence” and similar words may lend
      some weight to a conclusion that every individual case, rather than the outbreak of
      the disease as a whole, is a separate insured peril. I acknowledge that the recognition
      of a million concurrent causes of equal potency is consistent with established
      authority, although an extension of it into new territory.


      322. My main reasons for thinking that the alternative construction, which treats
      COVID-19 as a whole as falling within the insured perils once it spreads within the
      specified radius, is as persuasive as that of the majority, are as follows. First,
      construction requires the court to put itself into the mind of the reasonably informed
      reader of the contract in issue, so as to understand what that hypothetical person
      (rather than an insurance lawyer) would think that the parties meant by the words
      which they have used, in the relevant context. To my mind, that person would ask:
      do clauses with the radius limitations provide cover for the adverse business
      consequences of a national reaction to a national pandemic disease? They would
      likely answer yes or no. But I am less confident that they would answer: No, there
      is cover only for the consequences of individual cases within the radius, but since
      they are each as causally potent as any other case or cases, cover is in practice
      provided for the national consequences of a national outbreak, because of the law
      about non-excluded concurrent cause. They might find it as easy to conclude that
      the parties meant that cover for the national disease was there, provided it reached,
      spread, encroached or extended (call it what you will) within the radius.


      323. Secondly, I would not be confident that the hypothetical reader would
      necessarily attribute the case by case specificity to the word “occurrence” or its
      synonyms given to it by the majority. Depending upon context, the word
      “occurrence” can properly be applied to happenings which do not take place at a
      single specified time, in a particular way and at a particular location. Thus a
      hurricane, a storm or a flood may properly be described as an occurrence even

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      though each may take place over a substantial period of time, and over an area which
      changes over time. It is not in my view an inappropriate word to use about a
      pandemic disease as a whole, although I accept that it may be a pointer of some
      weight to an individual case analysis.


      324. Thirdly, the reasoning adopted by the majority might be regarded by the
      hypothetical reader as somewhat circuitous. Its end product is, as already noted, that
      cover is effectively provided for business interruption caused by a national reaction
      to a national pandemic, provided that it extends within the radius. If so, the reader
      might ask, why not interpret it as doing so directly? An illustration of the length of
      that journey may be provided by reading the majority judgment, but stopping at para
      95. At that point in the analysis, the reader might think that the policyholders with
      radius-limited disease clauses had lost.


      325. None of this means that I consider that the analysis of the majority is not a
      readily available construction of clauses which contain a radius limitation. If it were
      the only means of giving those clauses real rather than illusory cover for diseases of
      a type which they clearly comprehend, then I would agree with the majority without
      qualification. It is often said that there can only ever be one “true” construction of
      any contractual provision. Where different constructions produce different results it
      may well be necessary to choose between them. But where, as here, the practical
      outcome is the same, there is to my mind no such necessity.


      326. I can deal with my one minor point of departure from the majority very
      briefly. It is that I would be cautious about treating the cases about defence costs
      (dealt with by the majority at paras 186 to 188) as of any general application outside
      their specific field. In my view, and notwithstanding that they can be viewed as
      consistent with a concurrent cause analysis, cases about insurance cover for costs
      are better regarded as sui generis.




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                                       APPENDIX 1


       1.   The Prime Minister’s statement of 16 March 2020 included the following:


                  “Last week we asked everyone to stay at home if you had one
                  of two key symptoms: a high temperature or a new and
                  continuous cough. Today, we need to go further, because
                  according to SAGE it looks as though we’re now approaching
                  the fast growth part of the upward curve. And without drastic
                  action, cases could double every five or six days.


                  So, first, we need to ask you to ensure that if you or anyone in
                  your household has one of those two symptoms, then you
                  should stay at home for 14 days. That means that if possible
                  you should not go out even to buy food or essentials, other than
                  for exercise, and in that case at a safe distance from others. If
                  necessary, you should ask for help from others for your daily
                  necessities. And if that is not possible, then you should do what
                  you can to limit your social contact when you leave the house
                  to get supplies. And even if you don’t have symptoms and if no
                  one in your household has symptoms, there is more that we
                  need you to do now.


                  So, second, now is the time for everyone to stop non-essential
                  contact with others and to stop all unnecessary travel. We need
                  people to start working from home where they possibly can.
                  And you should avoid pubs, clubs, theatres and other such
                  social venues. It goes without saying, we should all only use
                  the NHS when we really need to. And please go online rather
                  than ringing NHS 111. Now, this advice about avoiding all
                  unnecessary social contact, is particularly important for people
                  over 70, for pregnant women and for those with some health
                  conditions …


                  So third, in a few days’ time - by this coming weekend - it will
                  be necessary to go further and to ensure that those with the most
                  serious health conditions are largely shielded from social
                  contact for around 12 weeks …


                  And it’s now clear that the peak of the epidemic is coming
                  faster in some parts of the country than in others. And it looks

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                  as though London is now a few weeks ahead. So, to relieve the
                  pressure on the London health system and to slow the spread in
                  London, it’s important that Londoners now pay special
                  attention to what we are saying about avoiding non-essential
                  contact, and to take particularly seriously the advice about
                  working from home, and avoiding confined spaces such as
                  pubs and restaurants.


                  Lastly, it remains true as we have said in the last few weeks
                  that risks of transmission of the disease at mass gatherings such
                  as sporting events are relatively low. But obviously, logically
                  as we advise against unnecessary social contact of all kinds, it
                  is right that we should extend this advice to mass gatherings as
                  well. And so we’ve also got to ensure that we have the critical
                  workers we need, that might otherwise be deployed at those
                  gatherings, to deal with this emergency. So from tomorrow, we
                  will no longer be supporting mass gatherings with emergency
                  workers in the way that we normally do. So mass gatherings,
                  we are now moving emphatically away from.”


       2.   The Prime Minister’s statement of 18 March 2020 included the following:


                  “I want to repeat that everyone - everyone - must follow the
                  advice to protect themselves and their families, but also - more
                  importantly - to protect the wider public. So stay at home for
                  seven days if you think you have the symptoms. Remember the
                  two key symptoms are high temperature, a continuous new
                  cough.


                  Whole household to stay at home for 14 days if one member in
                  that household thinks he/she has the symptoms. Avoid all
                  unnecessary gatherings - pubs, clubs, bars, restaurants, theatres
                  and so on and work from home if you can. Wash your hands.
                  …


                  And we come today to the key issue of schools where we have
                  been consistently advised that there is an important trade off.
                  …


                  So looking at the curve of the disease and looking at where we
                  are now - we think now that we must apply downward pressure,

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                  further downward pressure on that upward curve by closing the
                  schools.


                  So I can announce today and Gavin Williamson making
                  statement now in House of Commons that after schools shut
                  their gates from Friday afternoon, they will remain closed for
                  most pupils - for the vast majority of pupils - until further
                  notice. I will explain what I mean by the vast majority of pupils.


                  The objective is to slow the spread of the virus and we judge it
                  is the right moment to do that.


                  But of course, as I’ve always said, we also need to keep the
                  NHS going and to treat the number of rising cases. So we need
                  health workers who are also parents to continue to go to work.


                  And we need other critical workers with children to keep doing
                  their jobs too - from police officers who are keeping us safe to
                  the supermarket delivery drivers, social care workers who look
                  after the elderly and who are so vital. We will be setting out
                  more details shortly about who we mean in these groups.


                  So we therefore need schools to make provision for the children
                  of these key workers who would otherwise be forced to stay
                  home. And they will also need to look after the most vulnerable
                  children.


                  This will mean there will of course be are far fewer children in
                  schools and that will help us to slow the spread of the disease.
                  …


                  So we are simultaneously asking nurseries and private schools
                  to do the same, and we are providing financial support where it
                  is needed. …”


       3.   The Prime Minister’s statement of 20 March 2020 included the following:


                  “… I want to thank everyone for following the guidance we
                  issued on Monday:

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                         To stay at home for seven days if you think you have the
                         symptoms, for 14 days if anyone in your household has
                         either of the symptoms - a new continuous cough or a
                         high temperature.


                         To avoid pubs bars, clubs and restaurants.


                         To work from home if at all possible.


                         Keep washing your hands …


                  … I am confident that, in time, the UK economy is going to
                  bounce back.


                  Of course it is.


                  But I must be absolutely clear with you: the speed of that
                  eventual recovery depends entirely on our ability, our
                  collective ability, to get on top of the virus now.


                  And that means we have to take the next steps, on scientific
                  advice and following our plan, we are strengthening the
                  measures announced on Monday which you will remember.


                  And of course people have already made a huge effort to
                  comply with those measures for avoiding unnecessary social
                  contact.


                  But we need now to push down further on that curve of
                  transmission between us.


                  And so following agreement between all the formations of the
                  United Kingdom, all the devolved administrations, we are
                  collectively telling, telling cafes, pubs, bars, restaurants to
                  close tonight as soon as they reasonably can, and not to open
                  tomorrow.



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                  Though to be clear, they can continue to provide take-out
                  services.


                  We’re also telling nightclubs, theatres, cinemas, gyms and
                  leisure centres to close on the same timescale.


                  Now, these are places where people come together, and indeed
                  the whole purpose of these businesses is to bring people
                  together. But the sad things [sic] is that today for now, at least
                  physically, we need to keep people apart.


                  And I want to stress that we will review the situation each
                  month, to see if we can relax any of these measures.


                  And listening to what I have just said, some people may of
                  course be tempted to go out tonight. But please don’t. You may
                  think you are invincible, but there is no guarantee you will get
                  mild symptoms, and you can still be a carrier of the disease and
                  pass it on to others. So that’s why, as far as possible, we want
                  you to stay at home, that’s how we can protect our NHS and
                  save lives.”


       4.   Regulation 2 of the 21 March Regulations provided as follows:


                  “Requirement to close premises and businesses during the
                  emergency


                  2(1) A person who is responsible for carrying on a business
                  which is listed in Part 1 of the Schedule must -


                         (a)    during the relevant period -


                                (i)   close any premises, or part of the
                                premises, in which food or drink are sold for
                                consumption on those premises, and


                                (ii)  cease selling food or             drink   for
                                consumption on its premises; or

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                         (b)    if the business sells food or drink for
                         consumption off the premises, cease selling food or
                         drink for consumption on its premises during the
                         relevant period.


                  (2)     For the purposes of paragraph (1)(a), food or drink sold
                  by a hotel or other accommodation as part of room service is
                  not to be treated as being sold for consumption on its premises.


                  (3)    For the purposes of paragraph (1)(a)(ii) and (b), an area
                  adjacent to the premises of the business where seating is made
                  available for customers of the business (whether or not by the
                  business) to be treated as part of the premises of that business.


                  (4)     A person responsible for carrying on a business which
                  is listed in Part 2 of the Schedule must cease to carry on that
                  business during the relevant period.


                  (5)    If a business listed in the Schedule (‘business A’) forms
                  part of a larger business (‘business B’), the person responsible
                  for carrying on business B complies with the requirement in
                  paragraph (1) if it closes down business A.


                  (6)     The Secretary of State must review the need for
                  restrictions imposed by this regulation every 28 days, with the
                  first review being carried out before the expiry of the period of
                  28 days starting with the day after the day on which these
                  Regulations are made.


                  (7)     As soon as the Secretary of State considers that the
                  restrictions set out in this regulation are no longer necessary to
                  prevent, protect against, control or provide a public health
                  response to the incidence or spread of infection in England with
                  the coronavirus, the Secretary of State must publish a direction
                  terminating the relevant period.


                  (8)   A direction published under paragraph (7) may
                  terminate the relevant period in relation to some of the
                  businesses listed in the Schedule, or all businesses listed in the
                  Schedule.

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                  (9)    For the purposes of this regulation -


                         (a)   ‘coronavirus’ means severe acute respiratory
                         syndrome coronavirus 2 (SARS-CoV-2);


                         (b)    a ‘person responsible for carrying on a business’
                         includes the owner, proprietor, and manager of that
                         business;


                         (c)    the ‘relevant period’ starts when these
                         Regulations come into force and ends on the day
                         specified in a direction published by the Secretary of
                         State under paragraph (7).”


       5.   The Prime Minister’s statement of 23 March 2020 included the following:


                  “it’s vital to slow the spread of the disease ... And that’s why
                  we have been asking people to stay at home during this
                  pandemic. And though huge numbers are complying - and I
                  thank you all - the time has now come for us all to do more.
                  From this evening I must give the British people a very simple
                  instruction - you must stay at home. Because the critical thing
                  we must do is stop the disease spreading between households.
                  That is why people will only be allowed to leave their home for
                  the following very limited purposes:


                         -      shopping for basic necessities, as infrequently as
                         possible;


                         -     one form of exercise a day - for example a run,
                         walk, or cycle - alone or with members of your
                         household;


                         -     any medical need, to provide care or to help a
                         vulnerable person; and


                         -      travelling to and from work, but only where this
                         is absolutely necessary and cannot be done from home.


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                  That’s all - these are the only reasons you should leave your
                  home.


                  You should not be meeting friends. If your friends ask you to
                  meet, you should say No. You should not be meeting family
                  members who do not live in your home. You should not be
                  going shopping except for essentials like food and medicine -
                  and you should do this as little as you can. And use food
                  delivery services where you can. If you don’t follow the rules
                  the police will have the powers to enforce them, including
                  through fines and dispersing gatherings.


                  To ensure compliance with the Government’s instruction to
                  stay at home, we will immediately:


                        -      close all shops selling non-essential goods,
                        including clothing and electronic stores and other
                        premises including libraries, playgrounds and outdoor
                        gyms, and places of worship;


                        -     we will stop all gatherings of more than two
                        people in public - excluding people you live with;


                        -      and we’ll stop all social events, including
                        weddings, baptisms and other ceremonies, but
                        excluding funerals. Parks will remain open for exercise
                        but gatherings will be dispersed.


                  No Prime Minister wants to enact measures like this.


                  I know the damage that this disruption is doing and will do to
                  people’s lives, to their businesses and to their jobs.


                  And that’s why we have produced a huge and unprecedented
                  programme of support both for workers and for business.


                  And I can assure you that we will keep these restrictions under
                  constant review. We will look again in three weeks, and relax
                  them if the evidence shows we are able to.”

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       6.   Regulations 4 and 5 of the 26 March Regulations provided as follows:


                  “Requirement to close premises and businesses during the
                  emergency


                  4(1) A person responsible for carrying on a business which
                  is listed in Part 1 of Schedule 2 must -


                         (a)    during the emergency period -


                                (i)   close any premises, or part of the
                                premises, in which food or drink are sold for
                                consumption on those premises, and


                                (ii)  cease selling food          or   drink    for
                                consumption on its premises;


                         or


                         (b)   if the business sells food or drink for
                         consumption off the premises, cease selling food or
                         drink for consumption on its premises during the
                         emergency period.


                  (2)     For the purposes of paragraph (1)(a), food or drink sold
                  by a hotel or other accommodation as part of room service is
                  not to be treated as being sold for consumption on its premises.


                  (3)    For the purposes of paragraph (1)(a)(ii) and (b), an area
                  adjacent to the premises of the business where seating is made
                  available for customers of the business (whether or not by the
                  business) is to be treated as part of the premises of that
                  business.


                  (4)    A person responsible for carrying on a business or
                  providing a service which is listed in Part 2 of Schedule 2 must
                  cease to carry on that business or to provide that service during
                  the emergency period.

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                   (5)    Paragraph (4) does not prevent the use of -


                          (a)     premises used for the businesses or services
                          listed in paragraphs 5, 6, 8, 9 or 10 of that Part to
                          broadcast a performance to people outside the premises,
                          whether over the internet or as part of a radio or
                          television broadcast;


                          (b)    any suitable premises used for the businesses or
                          services listed in that Schedule to host blood donation
                          sessions.


                   (6)    If a business listed in Part 1 or 2 of Schedule 2 (‘business
                   A’) forms part of a larger business (‘business B’), the person
                   responsible for carrying on business B complies with the
                   requirement in paragraph (1) if it closes down business A.”


       Further restrictions and closures during the emergency period


                   “5(1) A person responsible for carrying on a business, not
                   listed in Part 3 of Schedule 2, of offering goods for sale or for
                   hire in a shop, or providing library services must, during the
                   emergency period -


                          (a)    cease to carry on that business or provide that
                          service except by making deliveries or otherwise
                          providing services in response to orders received -


                                 (i)  through a website, or otherwise by on-line
                                 communication,


                                 (ii)  by telephone, including orders by text
                                 message, or


                                 (iii)   by post;




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                        (b)    close any premises which are not required to
                        carry out its business or provide its services as permitted
                        by sub-paragraph (a);


                        (c)    cease to admit any person to its premises who is
                        not required to carry on its business or provide its
                        service as permitted by subparagraph (a).


                  (2)   Paragraph (1) does not apply to any business which
                  provides hot or cold food for consumption off the premises.


                  (3)    Subject to paragraph (4), a person responsible for
                  carrying on a business consisting of the provision of holiday
                  accommodation, whether in a hotel, hostel, bed and breakfast
                  accommodation, holiday apartment, home, cottage or
                  bungalow, campsite, caravan park or boarding house, must
                  cease to carry on that business during the emergency period.


                  (4)    A person referred to in paragraph (3) may continue to
                  carry on their business and keep any premises used in that
                  business open -


                        (a)    to provide accommodation for any person, who -


                               (i)    is unable to return to their main residence;


                               (ii)   uses that accommodation as their main
                               residence;


                               (iii) needs accommodation while moving
                               house;


                               (iv)   needs accommodation to attend a funeral;


                        (b)     to provide accommodation or support services
                        for the homeless,


                        (c)    to host blood donation sessions, or
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                         (d)     for any purpose requested by the Secretary of
                         State, or a local authority.


                  (5)     A person who is responsible for a place of worship must
                  ensure that, during the emergency period, the place of worship
                  is closed, except for uses permitted in paragraph (6).


                  (6)    A place of worship may be used -


                         (a)    for funerals,


                         (b)    to broadcast an act of worship, whether over the
                         internet or as part of a radio or television broadcast, or


                         (c)    to provide essential voluntary services or urgent
                         public support services (including the provision of food
                         banks or other support for the homeless or vulnerable
                         people, blood donation sessions or support in an
                         emergency).


                  (7)    A person who is responsible for a community centre
                  must ensure that, during the emergency period, the community
                  centre is closed except where it is used to provide essential
                  voluntary activities or urgent public support services (including
                  the provision of food banks or other support for the homeless
                  or vulnerable people, blood donation sessions or support in an
                  emergency).


                  (8)    A person who is responsible for a crematorium or burial
                  ground must ensure that, during the emergency period, the
                  crematorium is closed to members of the public, except for
                  funerals or burials.


                  (9)     If a business referred to in paragraph (1) or (3)
                  (‘business A’) forms part of a larger business (‘business B’),
                  the person responsible for carrying on business B complies
                  with the requirement in paragraph (1) or (3) to cease to carry
                  on its business if it ceases to carry on business A.”



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       7.   Schedule 2 to the 26 March Regulations stated as follows:


                  “PART 1


                  1.     Restaurants, including restaurants and dining rooms in
                  hotels or members’ clubs.


                  2(1) Cafes, including workplace canteens (subject to sub-
                  paragraph (2)) but not including -


                         (a)    cafes or canteens at a hospital, care home or
                         school;


                         (b)    canteens at a prison or an establishment intended
                         for use for naval, military or air force purposes or for the
                         purposes of the Department of the Secretary of State
                         responsible for defence;


                         (c)    services providing food or drink to the homeless.


                  (2)    Workplace canteens may remain open where there is no
                  practical alternative for staff at that workplace to obtain food.


                  3.     Bars, including bars in hotels or members’ clubs.


                  4.     Public houses.


                  PART 2


                  5.     Cinemas.


                  6.     Theatres.


                  7.     Nightclubs.


                  8.     Bingo halls.
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                  9.    Concert halls.


                  10.   Museums and galleries.


                  11.   Casinos.


                  12.   Betting shops.


                  13.   Spas.


                  14.   Nail, beauty, hair salons and barbers.


                  15.   Massage parlours.


                  16.   Tattoo and piercing parlours.


                  17.   Skating rinks.


                  18.     Indoor fitness studios, gyms, swimming pools, bowling
                  alleys, amusement arcades or soft play areas or other indoor
                  leisure centres or facilities.


                  19.   Funfairs (whether outdoors or indoors).


                  20.   Playgrounds, sports courts and outdoor gyms.


                  21.   Outdoor markets (except for stalls selling food).


                  22.   Car showrooms.


                  23.   Auction Houses.




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                  PART 3


                  24.   Food retailers, including food markets, supermarkets,
                  convenience stores and corner shops.


                  25.    Off licenses and licensed shops selling alcohol
                  (including breweries).


                  26.   Pharmacies (including non-dispensing pharmacies) and
                  chemists.


                  27.   Newsagents.


                  28.   Homeware, building supplies and hardware stores.


                  29.   Petrol stations.


                  30.   Car repair and MOT services.


                  31.   Bicycle shops.


                  32.   Taxi or vehicle hire businesses.


                  33.   Banks, building societies, credit unions, short term loan
                  providers and cash points.


                  34.   Post offices.


                  35.   Funeral directors.


                  36.   Laundrettes and dry cleaners.


                  37.    Dental services, opticians, audiology services,
                  chiropody, chiropractors, osteopaths and other medical or
                  health services, including services relating to mental health.

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                  38.   Veterinary surgeons and pet shops.


                  39.   Agricultural supplies shops.


                  40.   Storage and distribution facilities, including delivery
                  drop off or collection points, where the facilities are in the
                  premises of a business included in this Part.


                  41.   Car parks.


                  42.   Public toilets.”




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